Case 01-01139-AMC     Doc 22814-28    Filed 08/14/09   Page 1 of 48




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MONTANA

                               MISSOULA DIVISION




MILDRED E.     JOHNSON,

                  Plaintiff,

      -vs-                                       Civil Docket
                                                 No. 88—145—M—HP
W.   R.   GRACE AND COMPANY,

                  Dfndent.                       (?J’ 3’ FIf
                TRANSCRIPT OF JURY TRIAL PROCEEDINGS

                           Heard in the Courtroom
                          United States Courthouse
                             Missoula, Montana
                              August 23, 1990




                  BEFORE THE HO?WRABLE HARRY PREGERSON

                 UNITED STATES NINTH CIRCUIT COURT JUDGE




                         TINA C. BRILZ, RPR
                       Official Court Reporter
                     United States District Court
                     301 South Park   Drawer 10122
                                        —




                        Helena, Montana  59626




                               TTWA     P?TT.7
                  0                                              01
                  cn
                                                                 0z
                                                                 Z’-3
                   0                                               0
                   z                                               z
                         QtI
                                                                              Case 01-01139-AMC




k-’”  ‘(t1         W     i  t1rFI                  t10rtI          W
(O0irt             tI    (DQC)rt.                  (DOrt
(fl• t0                  •                            a
0     4MG’)              rt1I-3
                          ijc                fli
-0G(DI                   01<                 i     ‘ji0

-      0           0                                               0
o-          dt*          U)()t1jr-
00                       -                         -

                               (J-1ttxi
rt     0O)I                                                        ti
                                                                              Doc 22814-28




c                        0                         OWZW
                   ci                  (I)                         •11
       21     :                  Ui                cu-       N
                   Ui    S       0                 1         -     i-i
(3’                Z             t-1                               Z
to     0                                               i
                                 z                           i
0                        (31                       CJlrt
                   ‘-3   tO                        OCD                   0
       (I
       0                 0                         0()                   N
                                                                              Filed 08/14/09




                                                       0’)         1—)   U)
                                                                   ci
                                                                   ttI
                                                                   ci
                                                                   Ui
                   C•)
                   N
                                                                              Page 2 of 48




                   ci
t,)    r)      t\)   J             )     H      H      H      H     H     H     H     H       H     H
Ui     $..     (*)   3      -‘     0     (C)    OD    4       cn    V     4     ()    C’3      -    0       (C)   o     -i    O      Ui      $     C,)   ‘J   H




Dl             S     rt     U)     U)    r      T             l-.   rt          CT    rt      U)    rt      +     (1)   0            C)                       ‘-3
               Di    3’     rt     rt    J      C)                        P3    (TI           C)            1j    H     0            0
                     CD     P1     Di    CD                          ‘1   <           CD      s     ‘             CD                                          Cl)
Di             CD           ‘+     t                                 0    CD    Di            CD     0      H     C)    d
H                    ‘ii    CD     (1)   ‘(I    rt            0      C          CT    U)      0      C      i     rt    C            Ct                       t1
Cl     Z       Di    H      S      S     H            Z       ‘1    (Cl   Dl    H              1    (C)    (C)    Fl    rt                                    0
       0       )     Di     CD     CD    TI)     -‘   0                   C)    (I)    CD     CD                  0     CD                                    H
rt                                              U)            (0          C)          ‘C)                   Ct    3     1                                     H
       E                                                                                                                             H                        0
0               0    i      Ct     Ct                         *     Ct    CD    Ct     (0           (U      0     H
               ‘Cl   rt                         C)                        Cl)   0                                 0     T            Ct
Ci      0       CD          0            l-’•   Dl    H             CD    UI                  0     CL      ‘1          CT)   ‘-3    J                        H
5      ‘CI                                      (I)     -                                                   H     5     Fl                   ‘-3   1
        (Ti    H     t-,                 )1     CD    S             C)    rt    H     0             ‘Cl    (C)    Di    CD    N                               (Cl
                I           S                                       0     0     C)    5       Cl)   ‘-            I—    -             J      CD    U.
CD       1
Fl      i-     (C)   ‘tI    Di     Cl    rt           LI.           5                 C)      TI)   0       -‘    H           C)     CD            Cl         ‘Cl
                                                                                                                                                   Fl
                                                                                                                                                                    Case 01-01139-AMC




U)      i             Cl    ‘4                  Cl)    Cl           ‘Cl   Di          (TI     Z     it)     it          Dl    0              M                ‘-C
it     (C)     U)    it            Ct    ‘-I           U)           Cl           ci                  ii           Di    l     C     ‘—‘.     0     ‘4         0
TI)            it    Cl)    Fl     T     0      (Cl    rt           it    4     ‘Cl           ‘l    CU      Cl    5     £1    )      Cl      H                C)
       (0      P1           CD     CD     Cl    0                   Ct)   Lii         CD      i-C   5      C)                 -3     Fl      H                (I)
Cl      it     rt    0      U)      )    (C)    H     (C)           ‘I    U)    Lii           Lii   5                   0           ‘4       0     1)1        CD
        Li)    CD           CD                                                  H                                 C)                               (I)        Cl
 I      ci-    5            Fl     ci-          (C)   H             C))         H     C))     C)     1      CD    0     Fl          ‘Ci      H                H
(C)            Cl)   i-i.                              I            ‘4    H           rt      H             i-    4           Fri    Fl       5    Cl
        CD                  4
        5      I     ci-    CD     CD    CD     rt    (C)           U)    H     rt            U)           ID     CD    C)    H      Cl)    ‘.Q    Cl
rt      CD     rt    (0                  Fl     0                   it    CT          i.-’.   C)    i—’.   -      Fl    0     CD     U)            H          (I)
                            S      t3                 ct            CD    Fl    CD    it      0     rt                  Cl    1      CD     ‘Ti    ‘4
CD      ci-    Lii   C)     Di     CD    P1     ‘0     0            5     Lii                       -       Di    Di    Fl    (0     i       ‘-C
        U)     it    Di            Fli   it      Fl                       lj    S                           tI    i-’   it    CD     ci-     0     H          CD
                                                                                                                                                                    Doc 22814-28




U)                   U)     ‘-“,   CD    cC-     0     CT                 ‘4    Di    0        Y    (I)     Cl    H     U)                   C)     S         Fl
H       (U     ci-   CD      1     1     0       C)    Fl                       H     0       0     0                         CT             CT)   ‘0         CD
(C)     ‘1     T     -      (Cl    Cl    Fl      CD    i-’          H     0     H     S        -                  rt    Di    CT)    CT      CD    Lii
 i      (T)    H                   CU     1      CD    CD           ci-               CD      CO    S       CD     J    Fl           CD      Cl    i
H              (0    ‘CI    Dl      1    CD      Cl    i-ti           -         CD    Cl            ‘4       -    CT)   CD    U)    (C)      i—    CD         Ci)
i-ti    5             Fl    i      rt    ‘4            H            U)    CT    H                           Fl                CD     H       I     H          Cl
H       0      ci-    0                               ‘4                  0     CD     Cl     Lii   H       CD          Li)   CU      i     (C)    Ct)
C)      it     H      CT     0     5     5                          Lii   0     0     ‘0      H     P1            Ct)   H     ci-     i      U)    (1
Di             S      Di    ‘Ti    Di    Di           (C)                 7     ci-   -                           CO    I-’   CD     H
I       CT)    CD     CT     CD    ‘4           CT)    H                  U)    Fl            l-            Dl    ci-         (1     l             CU
C)      4            H       I           H        -   4             Dl          0     ri-      l    C)      4     CD    it          (C)      CD
CD      H            ‘4     H      5      I     Fl    CD            S     Ci)   tl            (C)   H       H     Fl    H                    ‘1    Cl
        Cl                   1     Di    (CC    CD                  TI’    1    H     CD            CD      i     I     CD           Di      CD
                                                                                                                                                                    Filed 08/14/09




0       CD           ci-    (C)                       ‘4            N     CL    0                   ‘I     (C)          Cl    (1)    it            (0
lti     I                          (P    Di     CC)   0             H           0)            H                   U)          CD
        C)           CD     (I)          i       0    C.             l    Ii    H             S            ‘0     cC-   H     CD     H       li    0
ci-     CD                  ci-    (1)                              (CT   CD    H     CD                   Fl     P1    i            0       Cl    Fl
       -             0      Di     i      0      i    Di                  U)    ‘4        -   ci-   (0     0      ci-         H
CD                   CD     it           ‘0     CC)   I             (C)   0     -     H                    CT     CD                 it)’    H
        ci-          i-h    CD      0     CD                         0)   Cl          H        Fl          H      (/)   H      3     (C)     i
CD       Y           CD     S      ‘Cl    1     ct    0              Cl   Fl    CT             0    0      Ct)          ci-   TI)
<       CD           i      CT)     CD   H      0      Cl           CC)   C)    $1             Cl   Fl     S                  <      Di      0
H      ‘4            Cl      1       1    i           ci-           CT)   CD    ci-   0       (C)          (1)    U)          CD            ‘CS
CL         -         C))    rt     H     (Q     U)    H             it    U)          ci-      T     H            C)                 S       Ct)
                                                      H                         ci-                  1     (C)                (U             Z
                                                                                                                                                                    Page 3 of 48




CD      ‘I                          1           ci-
 i      CD           it     Cl     (C)          Di     i                  Cl)   Y     C)      Cli   (C)     CT)   H
                             1                  Fl     CD                 H     CD     1      H             ri-    -          H
0
CD      -i.                 ci-                 rt                  CD    H     l     H       H            ci-    5           Ci)
        Cl           )-‘.   H                          0            i                 ‘4            H      H                  ‘0
        U)           H      H                   CT    i-ti                                          ci-     i
        ci-          H                          ‘4                              CD                         (C)
ro      t’3      ro       tO     t\.)   t’)    —       S—      S—     S—      S—’    S—’      S—i    l—      S--         5_i
                 C.       tO     i-i    0      D       CD             0)      Us     4        C.i    tO      I-          0                         .-.J    0)       (yr              UI      pj



c—s     (I)                                            (I)                           CD       Di     Si      t3      rt        ‘Ti                 rt      CD       U)      CU      CD
o       CD       r—•                                   r-                                     Z      CD      CD      Y                             0       <                        rt        Di      J
        Dl       s        CD                           Di                            cr       Cl     cr      Mi      Si        Di                 ‘0       s-       Cl               Di      ‘CI      CD
3                5.—.                                  rt                                                    51)     0         5-..                Cl)     Cl       Cl)     0       rt
U)      CD       i-..    U.                            CD                            I-”     ‘<      rt      l       C                             rt      CD               <        (U
o       Cl       CD      IC)                                                         r5.      0      .-t-    Cl      (C)       rt                                   CU      CD
                         Si                            CD                     I-’    r               Di      Ci      Y         I-..        1       CD      C)       S       SC)      Cl)     5_)      rt
         J       c       <                                                    i—’    CD         -    5.--.   3                 -h          Cl              CD       Cl               I
        CD       0        •                                                          Cl       s              rt      .         i’i,                                         5.-”    rt        ID      C)
        :        r                                     -                      SC)             5.-i           U)      1                     Di              C)       r-ti    CD                        0
o       rt        1                                                                  H’              Di              H’                    Mi              0        Si                        CD
                 (I)             C)     X                             CJ     (1)     0                               Si        I-’.        H’                       0                5-”      <       CD
S-a-    H’       0       ‘<      •      t’I            Si      tXI                            CD     Cl      ..      0         S--.’       CD              CC)              0        5_i      5-i.    C))
U)      0        Z                                                            ci’             Di             5-’     Cl                    Si              U)               Mi       i--’     0.’
                             i   UI     C)     tO              C)     CO      •      0        ‘1     ci’     I-.’    SC)                                            ci’                       CD      .
                                                                                                                                                                                                             Case 01-01139-AMC




                                  1,    0          z   CO      0                                                     C-)       .                           I.-,                      -

S..’.   CD                       s-i    c      S-f     Dl      C      5.-I                    Di     CD      ‘ti     5-’-      3                              1     CD               5-.’.    C),
5-.’    Si       (I)      (V     N      1      N       5--     J      N       5-i    5-h      S-I             (       1        H’          Cl)            -                 Di      1         Cl)
I-.’                                                   N       ‘-3            U)     0       ‘.1)             H’     (C)       Si                                   C)      ci’     51
5--     5-       CD       5-’                          ‘..)    •.                    Si              rf                        0        C)                          Cl)                      C)       ‘-1
CD      C))          -    C))                                                 C)                      3’     0           3’    11      ‘ti                 0        Mi      ci’     0        0        J
  -              (I)                                                  <       0      0.’      CD     CD              CD                 CD                 5i       CD              Mi                CD
U)      5-                       (U     <      CD              ‘<     CD      (      CD        i                     Si        C)       i                      -.   i       CD                CU      ‘<
        o        ci’     0       ‘<     CD     U)              0      U)      i      5.-.’    ci’    C)      H’                CD          5-’-            p—’      Cl               Di       (1)
                                               -                      -       U)     5-.             0        3’     CD                                             CU      C)       S-I              SC)
                 CD              s-.                             -            ID     0’       0      SC)     CD      <         CD      (C)                          1       CU       C)               CD
U)                       CO      H’            I—i             Si     ‘-<     I-’    CD       Mi     ‘C)     5-.’.   5-                                    13’      ci’     CD        3        1
CT      CD       ‘TI     Di                                    CD     0              Si              ci’     S-1     Cl        s--         U)              CD           -   CD                        S-I
                                                                                                                                                                                                             Doc 22814-28




Di               s--’    5--     ‘Ci    CD     Di                     Ci      ‘C)    Dl       C)                     CD        Cl          ci’                      CD               0       ‘TI      CD
        5--      Di      N       s-.’   I—.’                  CO      Si      CC)    ci’      0      E       CD      I         CD          Di              CU               5-’.     <        5-’     Cl)
51      CD       I-.’.   •       CD     i-.’   -               0              01     1-.’.    5i     5-’.    <       C)         Z          ci-             0’       (Cl     C))      CD       CD      -‘

        •         3              Di     •                      5--            Cl     0        3      5-.’    I-.’.   CD        C)          Cl)             5-.’     5--              Si       C)      5—.’
U)               ci’             CD                            1      0      ‘<      S        U)     5-’     Cl      -         CD                          (1)      Cl      C))               CD      <
                         (I)     CD            0              CC)     I                       (V             CD                •           CD                       CD      U’       Di
ci-     S-<      Mi      CD                    Ci                     0       ci’    Dl      I—’     -        1      ci-                    1              ci-      -       C)       I-’      CD      (U
ci’     0        Mi      Di      -t            Ii              i-i-   Si     0       3               I       C)      r                     ci-             0                Ci       i-’      01
5-.                      ci-                                   0                     P.’     Cd      U)      CD      CD                    U)                       (Cl     rt                5--.’
            -
                 S-.’.   CD      (U                                          ‘C)                     ci-             I         V                           ‘-h      0                0                0
CO      5-.’             51                    0                              Si     Mi      51      ‘1      Cd      -         (U          Di              5-’.             Mi       Mi
        I—’                      C)                            Di             0      0               Ci      3                  1          Si              H’       ci’     51                        CD
                 ci-     Di      0             0                              C’)    Ii      H’      C)      51      0                     CD                           J   0       ci-      ‘—3      51
                                                                                                                                                                                                             Filed 08/14/09




        Di               ci’     (3            51              (C)            CT)             Y      ci-             5-h       H-                          (1)      Di               3’      3’       <
        5—.’     1-.’.           51                                           CD     <       CD              ci’                                           0        ci’             (U       CD       5—..
ci-     (Cl      U)      C)      ri’                           ci’            Cl     0               ‘i       3’     C)        CD      Cs)                                  ci-     ci-               CD
Z       0                0       -                                            “3     Ci      ()      0       Cl)     0                 0.’                 CD               3’      -         0
CD               Di      (3                                    CD                    Si      Di      Si      Si      Ci        ‘TI     CT)                           3’     CD               ‘CI
            J’   0                                                                           (Cl             ID      Ii        s--     -
                                                                                                                                                          0         CD              CU        CD      0
rt,     CD       ci’     (Cl     CD                            0                     Cl      CD      0               (0        (si                        Mi                tJ      Z          J      ‘-I
        Di       s-’.    CD                                   ‘CS            Si      CD              i               CD        s-’.    ci-                                  5-.’    0.       5-
                         5—’                                                                                         ‘
Si      51       0               cr                            (1)           •       0                       Di                                           ci-       ci’     0)                1       Di
U)                               CD                                                          5-’     H’                        H’      Cl)                                  5-’     CC)      (C)
i-I-    5-h      •       ci-     Si                            5-.               5   U)      s-’     3               ci’       5-’.                       (1)       Cl)      )       5-.              51
                                                                                                                                                                                                             Page 4 of 48




        Si               (51     (1)                                             I   I-’-    I—.’    (U      CT      3’        5-11                                         ci-     <3                0
51      0                0’-                                  SQ                     0                       CD      CD        Mi                         ‘CI               5.-’-   CD                Di
0                        5—.’    0                                                   1       CT      5—.’                                                 5-.               5-h                       Cl
                         CD      Mi                                                  •       CD      Di      (Cl               s-’.                       CD                Mi      <
        C)                                                                                                   0                 U)                         0                   -     0
        0                5-.’-                                                                                                                            Ct)               (I)     (3
                         (I)                                                                                 CD                                           U)
        ‘J    r)     r\)     to      t3     )-    -       l—              )—     -.     -      i-           l-
 U)           ()     C.)             0      D     C))     s—)     0’)     U)            C)     C)     )-    0      (0


 CC)    Cl    CD     Cl      0)             i-V   C)      H-      •       i-V    U)            S     ‘TI    (I)    U)     CC)     ft     ti    U)                    ft     CT
                     CD      (0             0     C                               —                   ‘1    (0     (1)    <       CC)     )i   rt            )-‘-    V)     Cl)
1       (ft   (0     <       CT                   Cl)     CD              Cl)                  )—     CD     1     cr     )-      U)      N    U)            H-      )—-    C)
        CD     0     CD      CD             Q             ‘.      1-1                                        Cl)   Cl)
                                                  C)                             a)                   Cl                  Cl      ft     N     t-t-          T       U)     c
 Mi     )      U)            U)             CD    CD      *i      --      0      ‘-<                  CD     CU    C))    (1)     )-.    1_    CD
 1      (I)    C     0       H-                     -             CT      )-‘    (0            Mi     C)     Cl    H-      i      S      C))   5       )—4                  H
 0      CD    )-     (0      0       (1)    CD    U)      Mi      CT       -‘.                 0      CD     --    0      C)      0            CD      Mi    C))
 S            Cl)    -       U)      CT     )-            U)      <       H-     (I     CD     1      U)      5    (0     Cl)                                               CD
                             *
                                     CD     0     rt      S               Cl)    Cl)                  (1)   (0                           -     i-V           CL      Cl)    ‘1
 U)           Mi     (0              (0     (0     -C     )-      r       •      CD     <      5      0            Cl     l-                           0     C       T      CD
 i      U)    0      0               i-t-           p        -i                  i      CD     C))    F’    i-V    C                     l-    k-      Ci    ‘i      CD
              Vi     S       z       0      w     s          --   )                     -i     i            o                     U)           U)
 •      i-V          CD      I       (I)    (I)   0       CD              N      C)     S                          CV     ft      <                                         U)
              U)     i-V     CL      -      CT    I-”     (0      5       X      0      )-‘           N                   T       CD     0     CC)     0     (0      Ci)    Z
 Cl     .     )      i-.*-           (0     CD    i-..    •       CD     (0      )      C)     <      0     -      ft     1-•            0             0                    Cl
                                                                                                                                                                                   Case 01-01139-AMC




        i-V          S       I—’-           Ci)   ft              U)      C)     H-     (      CD     1     CT     Vi     (I)     CT                         ft      U)
         -    )--    CD      H-      •      H-    C))                     Cl)    U)            CC)    0     CT     U)             CD            0
        U)    tS     (I)         -   (I)    0                     i-V     Ci     S             Vi           <      l--    C)      CD           (0      Cl)   --      )-     0
 Cl           Cl             U)             (ft   Cu      1                       --    H-     Cl)    —•           I’-    0)       1     )*.   ‘CI     i-V   (ft     Cl)    $
 Ci     )            i-V             U)     C-”   (ft     Cl      Cl      C))    1      CD     •     H-                   (ft                   0                   (0       -
 Ui                  CC)     U)             U)    CT              CD             U)                  CD            (ft    CD      ‘TI    CD     Vi     Cl)   ft      CC)    1—
 )-     Cl    C-”                    Cl           CD     -        U)      ft     ‘-t    0            -      0      H-                           ft           VI      C-     )—‘
   -     —    Cl     P-’•    C-’     I-’.         (ft    i-V      i-C’           CD     Vi                         CC)            ft     0             H-    -‘.
                                                                          0                                                                    Ci
(0      U)    Ci         1   Ci      (I)          i-C’                           Cl     CD                  i-V    ‘i     C-’*           I     l       VI    U)      CD     (ft
        CD    Cl)    (0       I      CD           0      (1)              i-V                         Li)   C’)    H-     C-’     ft     C)    i-’•    C-”   i-      (1)    CD
I-’     CC)   C-”            (0      U)           U)              Li)     Vi                                1      i-”-   C-’      0     CD    ft      CC)   -       (U     CD
 Ci     (I)          l)              (I)                 H-       Z       CD     C-’-    Y            CD    U)      1             (C)                  C—’           C-’
  i     CD    H-     0       Cl      CD                  T        Cl      S      H-     C-                         (0     C—’      CD    ft                          U)     ti
                                                                                                                                                                                   Doc 22814-28




(0            0              i-’-                        C))              0      T      C)            0                   CD       H-    J     Mi      C))           H-     CD
 (ft    H-           ft      U)      C)           C--    i-V      Cl      C-.                        ‘Cl           0      CC)       3    CD    0       (ft           U)     CT
              Cl)    0       CD      U)           C)              1-’-    C-’.   C’)                  CT)   T      i      Cl       (I)         Vi                           CT
        Cl)   H-             CC)     Ci                  (I)      (ft     ft      1     C-’-          Vi    CD                     Vi    (0            CU           i-V     I-”-
        i-V   U)             (I)     U)                  U)       CD      C))           U)            C))   Vi     H-     ‘<             C-    5                    -       CD
              Vi     0       CD      CD                  S        CU             U)                   i-V   CD     T      0              CD    CD     ‘Cl
        I—’   i-C’                   Cl           U)     CD       (I)     U)     (ft    S            CD            CD     )              C)                          Cl)    C’)
                                                  U)              CD      U)     CT     C--          Cl     E                            CD    ft      N
        H-    (C)    CD      J       CT                  CD               CT     CD      1                  •      CD     Cl      T      U)    0       N             Cl     VI
        CD    1’     U)      C--     <            C)     X        H-      CD     (0     CD           Cl)           U)     0       CD                   I—’
        ‘-1   0      Vi      C)                   Cl)    tl       0       Cl)    i-t’   Cl                  Cl     (I)                   0     U)     Cl)            Cl)    H-
        U)           (I)     T        CD          $i      0               H-     0                          •      H-     1       H-     Mi           -
        C-”   C--                                 (I)     U)
                                                                                                                                                                                   Filed 08/14/09




                                      X                            5      0      Ci)    U)           CD                           CD           0                     CD
        C-’          CC)     C-”-    (0           CD      Ci       CU     U)            H-           Vi     C)     C)     E       (0     CD            ft             -     U)
              (0             U)       0           Cl     Vi         1            Mi                  S      VI     0      •       i-V    <                           C-”
                     ft              (ft                  CD      ‘<      CC)    i-’                 C--    CC)    CU             C-’-   C--   ‘<      CD            I—”    C-”
        Ci)   (1)    CD      <       Ci                                   H-     CT                  C)     C)     U)     i       S      Cl    0                            0
       (0            Vi      CD      VI           C--    i-V                     CD     CT           Ci     CD     i-f’           0      CD    (i      0            CT      ft
        Ci    S              VI      CD           C--’   0        0       H-     V)     0”           C--’                         l      i            ‘Cl           CD
        CD    (0     r’i’.   <                    i--’            VI                                 C--    C))    C))    C)      <      C)            CT)                  CL
        ID     H-    I—-             H-           C-”-             ‘‘     U)      “                  H-     l      1      VI             CD    T
        N      0     Vi      (ft     0            Ct)    -        CD      H-            C--          CD     0.     Cl     U)      CU           U)      C--          0      VI
        CD    5      (ft     C-”                                  Vi             0      U)                                C)       1     0)    H-      1            VI     C-
        (ft   C))    i-V     0                    (-     fl       (I)     Mi                         S      C--           CD      Cl     1            (C)
                                                                                                                                                                                   Page 5 of 48




                                                  0      •                Cl)    i      C))          -      H-                -          Cl    ft                   C--    (C)
        H-    0                                                   U)      C)                         I      U)            U)
              Mi             H-                   I               1       C—’-   CC)    Cl           CD                                        CD                   (C)    ft
        CD                   0                    (I)             Cl      C-”    (I)
              H-                                  0                       1-”-                       Cl)                                                                   C-
                                                                  ft      H-            CC)          1                                                                     (ft
              CD                                                  C)     ‘<             U)           Cl
C.   C.                 t.                I              L




     10    19      19   (9     19   10    ‘a       p-’       ‘a     ‘a    ‘a    ‘a    ‘a    ‘a    ‘a   ‘a
     c,p       .   ca   to     ‘a                  ci        .4     01    ((P     .   (0    tO    ‘a   o      o    ci    .4    a     ci    ii’     Ca)


     a’    S       0           ‘a   ao    0        C)        >‘     a     10          ‘a    5          a     a’    ‘S          5     a     0       Cl    x
     a     a’      a                a     “        ‘S                     a           ao    a     ‘a   a’    a     a           a     a     ‘s      ‘S    ‘a
     s     ‘a      e           a                   a         a      •                 Cs          ‘a   a     n     a           a     a             0     ‘a
     ,1    a       a           ‘a   ‘4    a’       a                a     ‘4          ci    t’    ‘a   ‘s          pa          a’          Zn            ‘a
           a       a           a    a     a        a         .4     o     a                 ‘a    ‘a   a           a           a     a     •       a     ‘a
     ‘a    a’      a    H      •    0     N                         Ia                       -    a    •     a     a     z     n     a’             -    a         ‘-3
     a     o       o    a           ‘s    a        a                ‘a    ‘1    ‘S          e                a     a     ‘a    a     a             a
           e       a                a     ‘S                        a     a     o           ‘4    X          a’    a     ‘a
     a     a       ‘a   a                 a        a         S      a           a     a     •     a    m     a           ‘a          a’            a     0
     a’                 a’                a        n         ‘a                                   a    a     ‘s    o     ‘a          a     C)      ‘S    a’        a
     ‘a                                                      .-.                                                   lb                a     n       a
           a a•         a           a                               a     w     a     a           a                      a                               a         a
      a                             o     o        ‘a        ‘a           o     a’     a’   ci               a                       ‘a    a       a     a         a

           a                        a     n                                            a    a’    a    0     4      t’               a     a       0     o         a
                                                                    aa’   a     a
      a            ‘                                                                                   n     a      ‘a   o                 a       ‘a
                        a0                         aas       a’     a                 ‘4    o     a                                  a’
      a    ‘az                      c.,   0        0                      c,    p’          •1         s     a      a’   a’                    —   (a
                                                                                                                                                                              Case 01-01139-AMC




     a                                    a                                                       a    a                             a     a
                   a
                         n‘a        o              ‘i
                                                             aS     aa    0     0      4-   a                       0’   a                         a     ‘a        0
           ‘a           ‘4          a’         ‘   a         ‘*      0    a’    a     a     ‘a    a    a     5     ‘4    a           a             a     a.        a
                                                                                                                                                              •:
                                    a     a                               a                 ‘4    a’         0           o           a     e
     a•    a a’                                    a                 a          a
           0       a    ‘a          a     a        a         as           a           n           0    a     ‘S          a                 as
           a   -                    o     a                  ‘i     a     0     0     0     a     0    a’    ,i’   Z                  S    a       a               a
     >     o       a    ci                0        a         0      4     a     as    ‘a    a’    ‘a               o     ‘a                a       a’    a         a
           ‘a                                      o                                                                     a                         a     o         a
                        a                 a                                           a                an    aa                      a‘a   ‘S
     aa    o       a’   a           a’    -        Z
                                                             a      a‘S   S     a     a
                                                                                            an
                                                                                                        a          aa                lb            a     a
           ‘a      a    •           0                        a’     ‘4    0     a’                                       ci          a     a       a     0         a
                                                                                      a           aa          a
     am            a                a     a        La        ‘a                                                          Ca          n     ‘a      0     ‘a
                                                                          a     a            a0        as    a
                                                                                                                    aa                                             4
     ‘s    a       a    a                          0         5                  ‘a    a     as    t’   0             0               a             a     ‘a        ‘a
                                                                          a                                                                                        a
                                                                                                             a
                                                                                                                                           a‘S
     •     a            0                 a4       a’               0           n     a’    a     ‘a   n                 ‘4                              ‘4
                   as                                        0      ‘s                a     a     a’         a’           a          o     a       a               a
                                    a0
                                                                                                                                                                              Doc 22814-28




           ‘a      o
                        a                 a        a
                                                   a         a’     r           a     ‘a    ‘i    a’   a     a            0          nfl           a     ‘a        a
           a       ‘a               ‘a                       o      a           a     n                a’          a     .5            a           a     a         a
                                          a        0
                                                                          40                      ‘4
     ‘a            ‘as              a     a’       a         0       0    a                       -    o     4     g     a           ‘ ‘S                          a
           ci                                                             a                                                                a
     a             o a              a     0                                           as    aa’              a     ‘i                a             0
                                                                                                                                                         a0
                                                             a      .4
                                                                            nn
           ‘a      z                s     e        0                      a  ‘a       0      a    C    a     P.S   ‘a    oas         a             a     a         ‘a
                                                   as        a      a        a                    ‘s                                       as
     aa’    0      a    a                 C                                                                  a  a
     o      w      a    ‘a          z     a’                 a’     a’    am          n      a    a    .s    ‘am                     5     0       ‘a
     0      0           0           a’             a         a      ‘i    0     a           a     a    ‘a    a           a          •o     n       a     a         a
                   em                     a        a’        a      o                 en          0    4     0     a’    C           ‘S            a               a’
                   ‘<                     a’                 •      g     C     0      0    Ii    0          ‘a          a           w     a’      0     4         ‘a
     aa
                                                                                                       a
           aa                       a
                        a0                a
                                                   a                ‘a    n     U     ‘4    ‘a    a          ‘a
                                                                                                                   an                a             a     ‘a        a
     a                                             a                      a                                              a           n             a     a
                        a                                                                              0
                                                                                                                                           a‘i
           as      a                a’    ‘<                        a’          a     a     a     a          a
     a     n       n    a           a              a         z      o     a                 a     a    n     a     a                                               a
                                                                                                                                                                              Filed 08/14/09




                                                                                ‘a                                       a           a             a     a
     4     0       •    a                          a         o      0     a     ‘a    ‘a                                 a                 a’      a     ‘a        a

     ‘as                            S                               a                 a     a     .s         a     ‘i                a     a             a         a

                                                                                                                         a           a     a       c
                        a           a
                                          Ua       a         a        a         ‘-‘         0     ‘S
                                                                                                       a‘a   ‘a     ‘a                                             a
           S       ‘a   a           a              ‘S        a      aS          aD          a     o    as    a     ‘<                a     ‘a      ‘a    0
     aa
                                          S                                                                              ‘a
     a     a’      ‘a                              a         a      a’    0     ci    ‘a          5          a                             a       a     as        S
           0       a    a’          a     a                         a     0     ‘a    a’    ci         .4          a     ‘a          a     a’      a               ‘a
     a     a       a    a           0     a’       0         0            a                 0     a’   a     0     a’    as          a’            ‘a    S         ‘a
     0                  4           ‘a    a        lb        a      19    a           .2’         ‘a   a     a     ‘a    a           a             a     •         ‘a
     a                  ‘a          a     a                         a     a     o     •     ‘     a    n     a     ‘a    ‘a          ‘a    aa
           ‘            a           ‘a    •        a         z                              a     a’   a           a     0           ‘S    a       a               a
           1.           ‘a                         a         •      .4    0                 0          •     S     a’    a.                        a     •         a’
                                                                                                                                                                              Page 6 of 48




     ‘                              a              a’               a     as    S                 a          ‘a          C           as    S                       0
           ‘a                                      a                            ‘                 a          ‘a    0                 a     a       S               S
     ‘a    ‘a                             o        a         •      .5                      ‘a    a’         ‘a    a                 a     ‘a      a
     ‘0                             a’             a               .a           a           a     0    a           -                 ‘a    as      ‘a              a
     ci                             ‘a    as       o                •                             0    a                             ‘a    a       ‘a              a’
     ‘a                             a     0        a                            ‘a                ‘a                                                               S
                                          ‘s                                    a                                                                                  a     a.
 t\)   (‘3    s)     t)         t’      (‘3                 I—.                   I—                  _


 U)           C..)   (‘)                0      (0     0)            U)     01           (3     (‘3    i-     0     (0      0)     .-.)    01     01            C.)    t’J



       o      (I)    S          Mi      rt     5     j      U                     C)    (ft    rF     M                                          CU     Cl    )       CC)       r
       C      0      CU         CC)     3      C      0     1       0     0             rt            CD     0             (0     1              CE)    1            tt
              S      C)         S       CD     C)     0     Cl            5       0            CD    (0            (1)            CL.                   CU    Cl                CC)
              CD     T                                               i     (0     rt’   C)                   -     it      Mi                     -     (0     CU    it         it
       o      it                                      CD    it      (ft                                      (1            1      it             <      it    ‘<
       Mi      -.                       CU     C)     it    r       0             CD           (0     (0                   0      r                                  CD
              S          CT)      -     (ft    Mi     Cl)   CD            CU      (ft   it     it            Cr                   CD             it     0     (ft               CD
                                                                                                                           S
 CL.   it     CT)               U)                                                •     0                    11                           CD            CC)   •       0)
              (0         (0             -.     it           (0            Cl                   S                                                 CD     l—           (C)
                                                                                                      Cr
 it    Ct)                      C)      i       Y             -     0                          .      )      :i    i-..    0      CC)            U)            0      CD        CU
              E      rt                (C)     Ct)    Cl)   (1                                        U)     (C)   CT)     Z      it      S            <       CD               (I)
 (U    CE)    CO     Cl)        0                                         it            U)                                        (i     (0      it                  0
 rt    )—     U)     1          it      S      Cl     CD    03      Cl            0.                  U)     it    L       4
                                                                                                                           L      ii      0      Z      M      it    Mi         it
       o                        r       0)     c        -                                                    r
                                                                                        C)                         0       0      CD             CU     CD                      o
       it                        -‘•    C)     (ft    Cl            it    0       (0           CU    Mi      CD                           it     it     CC)    C!)   .          it
                                                                                                                                                                                            Case 01-01139-AMC




 (0    3      it     CU         I       Y      it           (U      CU    C       0     0      I     0                      1     0      CO             it           CX)        CU
       CD     r      (I)       (C)                    (I)   <             )-            it     0.    M       0)    U)      1))           )                    -
 rt    (0     -      r                  i      C)     r     (ft     CD            0     r                    (0
                                                                          Cl                                       0       0             0       CD
       -      (1)                       CD     Mi     (0                          )     CD     l-’       o   Cr    3       i      (U                    0
                                                                                                                                         CD                          Cr     .<
 CT)          CD         1                     Mi           CT      it    Cr            (1)    Z     0)      CD            -                     C)     it      E    CT)
                     (C)        (I)     0)            CD    CD       r            CC)                        U)    0              Cl     0       0      -     L-     C)         Cl
(0            CC)                              0)                   CD                  CC)    it    <       it    0       5             Mi      (      1     U)     CU     )-.
               1     it         CD             (0     0     CC)           C)      1     J      J     Cl)     0     3       0      CD                   (C)           5          (C)
              0.         J        -     CU                          0     CC)     CD    (1     CD    (U      U)    H’      M      <      CD      Cl           CU     CD     CU
 S                   CD         0.             T      it    C)      )-    ‘      (C)                                                     U)
                                                                                                                   ‘1      CT)    it                          U)            Cr
 CU           Mi     S                  (0     CD           0       0     CD      (     it           U)      Cl    CU             CD     rt     ‘(I           Cr     H’
              0      -                                it      i     H’    Cl                   (1)   *       i     a                     CU      CT)    (1)   CD     0          Cl)
                                Cl)            U)           (ft     r            CC)    CD     it            U)    it      CU     it     Cr      1            U)     it         CC.
                                                                                                                                                                                            Doc 22814-28




              ‘1                        CU     r      CD     -*.    CD
                                <                                                                            rt    CD      1                     Mi     -     rt     CU
(0                   U)         CD      U)     CD           Cl      (0    i--                  S                   Cl      H-     0      )-*     Q      (     0      1-         Mi
              H’                                      C)    CD            H’     Cr     i-i’         CD      J             )-‘*   Mi     (ft     ‘(           U)
0)                   CD         it      )-*    C)                                C))    it     )—            0     V       C)                          (C)    —.     .<     0
                                                                                                                                                 S
C)            S       -         0       )      0      0     Ci)     (1)          (1)                         5     CD      Ci     T      I—’.                 U)            5
CT)           Cl)    Cl                (C)     (i     it    CT       Y    0)     ‘—‘•   E            0       CD    “               —i-           CC)    C)           Cl
              U)                C)                    T     i-      CD    U)     (ft    C)     it    ei                    CU     (C)    (C)     Cl)    CU    s-..          T
                     (0                s—•    Cl      CD    CD       -    Cr            Ci     r             0     0)                                  rI     U)     (ft        -•
              it     0          CD     it             (0            0.    CD     T             (0    CD      1     U)             0.     (C)     CC)    Ci)          CU     U)
Cl)           0      5          CC)                         0)            (I)    CT)    Cl           Cl            0’     <              0              0     )      CT
                     CD         Z       (0    Ci)     <     S      (0     it       -           0)            Y     CD             U)     i      M             0      I—     CU
Cl)           it     H’                 (1)    )            0       Ci    0      Cl     C)     C))   i-      l-.   (0      Mi     (I)           CD     H’            CT)    (I)
                               0       (0     Cl     <C)    Ci            (0            0)     CT    )       U)    it’     ‘1     CU            U)     <             0.     CT
                                                                                                                                                                                            Filed 08/14/09




U)                   S         Ci       CU            0     1                    ci’    ‘      CD                  0       0      U)     0      (i            (ft           CD
                     CD        it’      M     U)      ‘1    it            0.     Ci)    CO     (0    Ci)     C)    (I)     S      CD      Y     I-’    0)     CD     CU     U)
CD           CU      U)                 (1)   T       0             0     Ci                   ci’                                       C)     Ct     C)     <      C)     it
             C)                it       H-    CD      Ci    0      (0     (0     (0     0      0     (0      0     (0      C)’           (0            Cl     (D     0.     0
‘.0          (1      M         C)’      CD      -     U)    Mi      Cl)   it’           C)     C))   I-      H’    •              (I)    0                    (             (C)
 0                   CD        CD       I-’   0.                    C)    •      it                  CU      C)            U)            C)            S      Cl)    C)’    i-•
it           CO                                      <      Cl                   C)’    C)     Cl    C)      CD                   Cr       -           CU            CU     U)
              CD     CU                       ‘(I           Ci     it            l-            Ci    CD      U)    (Cl     0      CC)    (0            C)     (U     U)
C)’          it      (I)       Cl)     Mi      (i    it     U)     C)’    X      U)     (C)    (0                  0              C)                          C)     C)
CD                   C)’       (Ci     ‘1     it     0      ii’    CD     i—’-                 it    0       0     C)     0       CU     Cl                   (1       -
             i—i’    -         CT      0                                  I-     C)                  0)      C)           it      Ci     )-            0             ci’    U)
             CT                -‘                    (C)    )-‘•   (0                                              Ci                    (0
                                                                                                                                                                                            Page 7 of 48




                                       S                                                                                  CT      U)                   Mi                   0
             CD      U)         CI            rt      CD    C)      0     1-..   C)            0     I-      CC)   0       -‘     CD     CD
                     CI’       (C)     it            it’            0     Cl)    it’           Ci    CD            C)’     C)            0)            it            0      (Cl
             Cl      CD                C)’    -‘•           it      ‘‘           C)’           k     Cl            Cl     CO             CO                          M      o
             Ci           -            CD     C)     U      C)’    CD            1-*           0.                  U)             it     CD            (I)                  C)
             Ci)     (1                              (0     CD     it            C)                                0                                                 (V     -
             it                                                    U)            (0                                C)                                                P..              Ci)
r)      C\)    )       C’)   O       I\)           I-                   -            l—     I-             9-
U)      4      C)      ‘3    I-.    C)     CD      0)    .-)    0)      01           U)     C’3    I-      C)                 -)     0)    01    4       U)       C’)


C)      ti     (1)     U)     Cl)          rt      rf           IT)     CD            1     it     3       Cl)   ‘1    1-i.          CD    (1)   I-’.    Ft       Cl     Cl)
Cl)                           (Cl   Ft     CT      CT           X       X             CD    0      0        )                               3    )       CT
        CD     Cl      U)     CT      -    CD      Cl)   CD     Ft      C))          CD            it            (I)                 tI    CD            CD
I—.     $i             Ft     CD    (1)                  ç      CD                    (     Cl)     -.     it          it             0          Cl)              <      0
Ct)     1      it      CD     (Cl          0                     1                   C-.    ci     C)      CT          CT             U)         i                CD     (I)
II      Cl)            S      it     (U    CT       I    (U     U)      :3           (U     0      CD      •           CD     U)      C:   CD    Cl      T))
               (I)            0            Cl)      I           I-s.    Cl)     Ft                               CT                        U)            C)       it     ‘1
t)             <       CD     (Cl    <     (I)            t))   <       ft                  Cl)    (1)    (0     CD    CD     rt     CD          0      I-.       C)     CD
I-             CD      )             CD    rt      )-           CD      C-•     rt   CD      )     CT                  (I)                 it    Ci
CD              -      (I     Cl     ‘1            Ft    Cl             0       CT   X      CD     0             (I)          CD     Ft          it               Cli
C:      1      (Cl                                   -          t5              CU   Cl)                         0            <      CT    CD           Ft
‘1      Cl            (C)     (Cl          Cl)     (1)   t5     C-              Ft   5      it     it      Cl)   CD    <      Cl)    Cl)         0      <        (J
Cl)            rt      CD     it     (I)   C-                   Cl)                         0      Z       CT                 1      Ft     0    1
                                                                                                                                                 fr(              CD
        it     CT      Ft            S             rt    CD     C::     Cl)     Ft   I.-’          CC)     CD    CD      -                               Cl)      1      (Cl
        CT     ‘1      U)     .      Cl)           CT                   )             )     (Cl    (Cl                 CD     (I)           CD   Ft      )               0
()                                                                                          (1)                                                  CT               I-’
                                                                                                                                                                               Case 01-01139-AMC




        CD     0              U)     C-            CD    ‘1     Cl)     (1      5                  (Cl     CT          0             (U                  Cl
C-                     C-            C-                  Cli    C-              CD          CD             Cl)         Ci)    Ft     <     rt    Cl)               1     Ft
Cl)            CO                                  0     -.             C-..    -    to            0       Cl                 CD           C)    rt      Ft      (C)     CT
L)      C-’.           it     )      Cl)   l       0            Cl          i        CD     U      ‘-t           Z            II     Ft                  Cl)
C       it             0      CT           (1      <     Ø      C-              C)   CX)                   )     0                   0     C)                     C-     0
CD             C-             C))    CD            CD    i-     (1)     Ft      ‘    .             CT      0     CT    C-     C)     0     C-    C))     Cl)      0      C:
(1)     C-      (      Ft     C-     Cl)   ‘.      C(    (U     CD      (U                         Cl            C)    C-     0            CD    Z                it    (C)
‘        0      Z      CT     CD           rt      I-”   C)     C))                                CD      C-    Cl    C-                  C))   Cl      C)i            CT
         (1    CD      CD     Cl             -     :3    c      U)      ‘.      E           CT     CU      Cl    <      -‘                                        Cl)
        (0                                 (1)    (0     CC)    CD          1   CT          C-’.   it      CD          CD                                CT        )     Ft
C’       CD    ft     ‘ti                                U)             CD      C-          it     CT      Cl)   (U           C))          0     C-      C        Cl     CT
1       U)     i-’.    C-’    C-     )     Ft      C)                           Ft          CT)            •     rt     1     U)                 C-      (1)             CD
Cl             (I)     Cl)    it     Cl    CT      C-h                  CD      CD          CT                         CD                  it    )-‘              it
                                                                                                                                                                               Doc 22814-28




        C-     (Cl     C:                  CD                   Z               CT          0                                 Cl                 C-      CT       CT
<                      Cl     CD    E              rt    Cli    0       ‘1      0                          (1)   •     (C)    C-           it    CD      CU       CD    (I)
0              CD      C))    -‘•   CT     CU      CT                   0       C           (Cl     1      C)          Cl      C))         CT            C)        )    S
(       it                    rt    Cl)    Cl      CD    it     -               U)          CD     (1                         (0           CT)   E       ‘              C
    -
        CT            0       CT    Ft     CD                           Ft      CD                         C-    •     Cl      Z                 0       •        CT
C-      CD     it     Cl      CD           C))     C-    Ft                                        (Cl     it          Cl      0           0     Ci               CD    <
C-             U)                    CT            Ci    CT     0       :3                  CT     CT            0     CD      U)          LU    C
        ‘ti    CD     (0             Cl)   C-’.    1     CD     Ci      CD      CD          CD     CD            Cl    Cl)     CD          Cl    CL
CT      C-     i—’     0     (C(    ‘Ti    )      (0                -           Cl          i              Cl)   CU    S       Cl                        I        0     CD
CD      CD             CD     0     ‘Ti                  ‘ti    C-’     C)      M.                 Cl      U)    C)    CD                        Cl      CL       Ci    CT
Cl)     Ci             U)     CD    CD     a’      (U    I.-’   I-’     CT      0           C)     CD            CD    Cl     Cl)          CD    C-     -         C-    C
Cl      Cl     Cl)            U)           CD      ti    CD             CD      Cl          0      C)      it                 U)           1     Cl               (1    C)
        Cl)    3      it            (Cl    rt      Cl    Ci     CT      U)      S           J      C-      CT    CD    it                  Cl    (I)    0               C-’
                                                                                                                                                                               Filed 08/14/09




it             Cl     CT     it                          Cl     CD      it      CD                 CL      CD    Ci    CT     CT                        C-h       it    CD
CT      Cl)           ‘I     CT     C-     CD      it    Cl)    Cl)             Cl                 CD     it     CD    (II    C))          CD    C-               CD
CU       1     CD     0      Cl     U)     CD      CT           Cl      >4                  CD     Cl            Cl    it     Ci           0      i     C)
it      Cl     CD      Ci     0            1       CD                    I      it                                            I-’-         5            0         CD
               it     (f)     Ci                         0      Cli     Cl      CT          Ft     it     C-     it    (Cl     )           (D    Ft                     CT
it      C-h    U)     CT     (C)    CT     it     0             CT      C))     CD                 0      C-     0     CT     (0                 CT     Cl        Cli   i-’
CD      0                     3.    CD     CT     0      Ft     0       ‘<                  C-h           C-     ‘     (I)                 (Cl   CD     U)              0
‘-C     Cl     -..    Ft            :3     0       Ci    CT     Ci      -                   0      (0     C-     Cl           LU           CT           CD       CT     CT
S       S       3     CT     it            (Cl    CD     CT)    it                          Cl      0     CD                  (Cl          CD    0               Ci
        U)     it     CD     CT     it     CD     Cl                    CT                                       CT    CU     CC:                Cli             CT)    Ci
Ci             0             Ct)    CT            C-     C))    it      CD                  CT             CT    CD    (Cl    CD           (0    Cl     CT              0
U)                    C-            Cl)    it       S    ‘-     CT                          C-     f-’.    CD    Cl           (/1           0           CD        Ci
                                                                                                                                                                               Page 8 of 48




CD      CT     it     Ci     1-’                  (CC    CD     Cl)                         U)     it     (0           Cl)    it            Ft               -   (0
Cl      Cl)    CT            -Ci           0             CC)            0                          CT      Cl)         it     0                         CL
•       it     CD     (0      5            •      C)                                                      :3                  U)                 C.              it     0
                       U)    (0                   C-h                                              C)                  ft)    f-..                      (C)      0      Ci
        C-’                  CT                                         CL                         0      it                  Ut                 Cl      CD             C--’
        U)                                                                                         )      C)                                             Ft             Cl
1   L                                     C                  L”         t:




     is)   is)   is)   to    is)   is)    pa      ,a    pa   pa    ‘a        pa    pa    pa    pa      pa
           a     Ca    P3    is’   o      w       ci    ‘    as    a,        a     to          is’     o    0     ci    as    ci      a          1%)   pa
     ci


    ‘a     ‘a    Ph    5     a     Ph     it      n     it         a’        a’    S     ‘a            ‘a   Ph    it    •c    ‘U      Ph         C)    (I)
     is    is    0     a     ‘a    o      0       a     Pa         a         a     0     a     ‘a      a    0     a’    a      P      0          P)    0
     a     a     is    a     e     is     it      a     H          a         a     s     is    ‘a      is   0     a     is    ‘J      a          is    H
     a     a     a     it    a     a              it    a          a         a     a     a     ‘a      a          it    ‘a        p   a          a     a
                                                                                                            p.                        it         ID    it
                                          apa                                                  ‘a      a                0     ‘-3
     ‘a    ‘a    a           ‘a    a              ‘a                               a     a
     a     a     a     a’    ‘-t   a              H          ca    H         a           a     a       a          a     C     a       ‘a    W          ‘a
     it    t                 ‘a           ‘a      a     a    o                           it        -   ut   it    0     0     •       0     C    0     S
                                                  g-p   1%                   pa    ‘     •                  a’    is                  Z     it   Ph    Ci
     •                       Q            0                                                    a
                 4
                       aC)         4
     p.    a     ‘a     w          ‘a     a       a     •    Z     a’        ‘a    0                   0          it    Ph                             a
                                                                                    -                                   ‘a    ‘-3     it    ‘a   a
                                                  1                          ‘4                        Ph
                                                                                                            ait
                 it                                                                            a
                             aa
     a     a     a     t     a                    a          ‘a    a’              a     >                        0     C     a’      a     a    a     it
                                                             pa                                                   Pt          ‘a      a          a’     a’
                                   apa                             ‘a
                                                                             ait                            Z
     0     0     ‘a    0     a            (5            5                                      a       z
                                                                                               a            ‘a          is    a       it         a
                                                        ‘a                   ‘a
                                                                                         ap.                                                a           a
           is          is                 a       o          ‘a    a               s’                  a’
     ;           a           o     a      ‘a      it    it   a     a’        H     a                   a    ‘a    it    a                   a    a     ‘.4
     a     a     a     a’    ‘•t   a      a       n     a          a         a     ‘a    it    a       it   pa    a’    a     ‘a      0     ‘4   it
                                                                                                                  ‘a          CD                 0
                                                                                                                                                                   Case 01-01139-AMC




     ‘a    pa    ‘a    a           ‘a                   a’   S     is              it    a’    a            ‘a                        is                P
                                                                   a                                                                        a    10.
                             it
                                          a‘a                                            ‘a                             S
                 a     is                         o                          a                 a       z    a     a
     Ph                      a’           it      is                         0     a’    a             a     -    C     0     5       5     4
                                   aa
                 a                                      2
                                                        a                          a           a’                 •           a’      a’    a          ‘a
     o     a’    ‘a    a     o     ‘a     ‘4                 it    ‘a                                  a    a
                             a     it     •       a’    a          ‘a              is    a     a                        ‘a    a       a     a
           ‘     ‘           a     ‘4             a          a’    w         a     a     C     is       P   Ph          a     is      it    it         a
                       aa
                                   a                                                                              i-i         a        -               C
     a                 C                  a       is    a    a     a         a     a     a              i   o
           it    a’          ‘-t          a             .    a               o     s-a   it    it           is    it    is            a                is
                                                                                                                                            a’
                       apa                        n     it                         Ph          0       0    1)          a     Z                        a
     Z     o     a           ‘a    it     a                  N     a         N
     o     it    a           a     o              o     a          is        a           a’    it      it   a     *     C     ‘a      a     a
     a     a           it    c     it     ‘4      is    is   ‘S    o         is    ‘a    a     a            a     a     ‘a    ‘a      a                ‘a
     a     pa    a     o     is            0      a                          •                 ‘a      it         a     a     ‘a      ‘a    Ph         ‘a
                                   a                    H    o                     a
     a           is    ‘a    a     pa      0      a     ‘a   is                          a             a’   4           it    ‘a      ‘a    0          a
                                                                                                                                                                   Doc 22814-28




           ‘a    0     ‘a    a                -   a     a          a               a     o     ‘a      a    ‘a    ‘a    a     a       a
    .a’    g     ‘a    o     •     ‘a     ‘a            a    a               ci    0           0            it    a                   ‘
                                          pa      c     p          a         o
                                                                                         a•    a       ‘a   a           a                   a
                                                                                                                                                       2a
                                                  ‘a         Ph                          ‘a    C            ‘a    pa    a     o       ‘a               a
                             H                    it    it                   it          p.            a          so    a     C       C     it
           p.                      C      a’                 o     a’                                                         ‘a      pa
                                          a       a     a’   ‘a    0                           a            a     ci                        a’         a
                                                                                   aa a
     a      a                a                                               a’                        a
     C      a    it    a           a      a       pa    a    pa              o     a’    is    a       ‘a   a     ci    is    a       a     a
     a     ‘a    o     s            a     is            it   o     a         a      a    a     ‘a      a    ‘a          a             0     it         a
     •      a          a     a     ‘a             a                is        a     ‘a    p.    a       it   a     it    a     a’      a
            a    ci    H     is     a     a       a     a          a                a          a       a    a     a’    ‘a    ‘a      a     a          a
           ‘a    0     ‘a    a     a      is      ‘a    a’   ‘a    p.        Ph          ‘a    ‘a      a    ‘a    a     a     0       is    a          a
     .     it          a                  •       a     a                    ‘a    a           it           it    it    it    z       ‘c    a          pa
           ‘<    ‘a                ‘a                                                          ‘4           ‘4          a                              ‘a
                                                                                                                                                                   Filed 08/14/09




     ap.         a
                       a a’
                       ito         ‘4             pa         a     ‘g                    it
                                                                                                       a0         0     is    ‘a      Ph    a’         a
           it    is    ‘a Ph       a      5                                                                             ‘a    a             a          a
     a’    0     a     o                  ‘a      ‘4    p.   pa    a         a     a’    a     a                        a     it
                          it              it                 so    a         a     a           a                  ‘     C     o       a     a          it
                                                                                                            aa
     a           a     a                                                                               C
                                                                                                       pa                             it    pa         a’
     is    ci    a     -  a’              a             ‘a   ci    a               is    a
                             ‘a                                                                                                       ‘a    a          a
           go    it
                                   aap.   a’
                                                  aa         so    it        a           o     o            o     a’          a
                                                                                                                  ‘a                  o     0
                                                   p.                                                  Ph   a
                                                                                                                        aa
     a                       a            0             ao   •               a’    ‘a    a     a
     ‘a    ‘a    0                 it     U             it                   o     ‘a    it    ‘a      0    pa    it          it      a‘a   a
                                                                                                                        it    C
                                                                                                                                                       aa
     Ph    a     Ph    p.    ‘4    a’     a       0                aa              Ph    a     ‘4           ‘4
                                                  Ph    to   .               ‘a    a     sc                                           a     ‘a         ‘a
     Ph
                                                                                                                  aa’         a’
           is                a     a      a                        ‘4                                                   o
     0     a     it    a’    a                    Ph    o    it              p.          it    ci      a    ci    o           a       a     a          pa
                             is                         0                          a           .            Ca    C     a’                             ‘a
                                                                                                                                                                   Page 9 of 48




     a     a     a’    a                          0          it                          0                                    a       at    a
                                          a54
     ‘a    a     a                                                 ‘4        a’                        S                                               a
                                                                                                                              a       a
                                                                                         Ph            a
                                                                                                                  aa    ais                            a
     0     it                             ‘a      Ph         a’    •         a     aa
                             a            ‘a            2                    4                         H                      a       a     ‘a
                                                        a’                          a’                                                it
                             a’
                                                             ait             a
                                                  a’                                     a             a
                                                        pa
           oPh               a
                                          a‘a     •                                                    a                                    ao
                                                  is                                                                                        C                ‘.4
                                                                                    aa
                                          a             a
M       .)      I’s)    M      t’J                                        i-     l-              -
                C)      s)     F-                   CD            0)      (fl            (       )       i-.      0                           01     UI            C       ‘)       -‘
01                                    0


ft      CU      S              ‘1            5      CC)    Hi             Cl     rt      S               ‘rj      tJ     CT             Di           ft     5      ft               C)
        Cl              Co     i.            u       ‘i    cu             c      CT)     Cu      CD       CD       H     H              ft            T     0      H                CU
Cu      Cl      (0             (C      1     i-      CD    C)             ‘1     (1)     <       H        H        CD    CD             ft           0)     3      CU              ‘Ci
                        0       3     l-     •       Cu                   i-’.   ft              Hi                U)    Cl)            tj    ft     ft     0      I                Di
ft              0
         ft     ft       1     ft       i    CC)     ft                                  0       0                 CD    ft             )-    CD            X      U)               C)
ft       )-‘-       J   CD            (C)     )      CD    ft             (C)    5               H       CD         3            i      CT    tr     D             ‘t      Z
:3-      0      CD                            0)     H      Y                    0       ft      5       CD        ft            U)     $i    0      CC)    Cl     CD      0       ft
CT)      3              0       3’    0                    0)     l—      ft                                                            ft    Ci     Co     CD     ‘i      E       <
                        Hi     CT)    Hi     ft     H                      j’    ‘<       3-     ft      •        ft     i-      ft     T)i   U)
         ft     0              H                    C-’.          C-i.    I-.            CD          3            l-•    ft      l-     CT    CD     H      CU     ft      CL      .-i
o        0      5       ft     CD      I-’   5      (I)    U)     CT)     (I)    Cu      ‘1      CD               S      T       S      C—’          CD     1                      0
o               CU      Y              Ci    CT)                      -          U)                       CD      CD             CD     CD    ft     Cl     Cl     (I)     ‘-I-.
Ci       0)     •       CD             ::I   U)            CD     (0      ft              C)     c.       j       -                           CD     g                     Hi
C--.     (I)                    -.•   (C)    0      Hi       -            H      ft       Cu     0        ft             0        T     ft    U)     C)      0     (0      Ci      UI
CL       CT             Hi             (CC   ft     0      (CC    CU      I-..   0        ‘1     CT               U)             T))    0     ft     CD      >      Cu     U)
                                                                                                                                                                                         Case 01-01139-AMC




         Ci)            CD     C—’            3-    H             -       CU              CD              U)      3-             U)           1-..   CL      <      (CC            ‘t3
C)       U)     :i             i-.•   CC)    CD            CT     (I)            ft       CD     ft        3-     CD     CC)            CU    F1            (0      CD     0        CD
Cu       ft     CL             CD     ti     -‘     CL     CD     C)      •      T       ‘1      Cu       CD                    (0      U)    <      ft      CD     UI              H
                        U)            £1     i-.•   CD     CD                                    (CC         -                   0      CT           0       )     -                C)
Ci       0                                                                       CD
U)       U)     ft      Ci     3-            0             Z      C)                     (CC              (CC     (0     0        1     CT)   CU                           C-”      CD
CD                      CT     Cu     -      S      CD            0              C)        Y     CO                      Hi      Cl)    U)    CT     -      ft     ft      U)        1
        CT)     CD      U)     U)     ‘      Cu     C--i    CD    i              0       0       -        Hi      U)                    ft    0      (31    H      0                ft
S                       ft                           0      X     C)             S       ‘-I              s-’.    ft     ‘Cl     0      0     Ci            CU             ft
                ‘-b     0)     ft                          ‘Ci    CD                     ft      CU        3              H      1      (0    ft     ‘        1
0)      ‘t                                          ‘Ci
C---’    0      (1)     1              i             —.     0     H              (I)                      Cl      i-’     CD    -                    CD     (CC     1      CD
         (CC    C)      C)     CD     (0     i-i     i      U)     i              1       ft     Cl       i—’.    i-’     Cl                         ‘-C    Hi      Cu
(C)      Ci     ft      CD                   ft     (C)     Cl)   (1)            U)        J                             I-’•           i     0      C)     Ci)     ri     CU
 :3      ‘-C            U)     ‘CI     0        —           CL    CL             0)       CD     U)      (0              C)      -      CL           CD     H       (CC    CT
                                                                                                                                                                                         Doc 22814-28




 Di      (1)    ft                     Mi     (CC   0)                                    ‘1     J                0      ft      )-
        -                      Cu                          ft     Cu             0        CD     CD       i-’-    H      --      C-’          ft     ft     CU      CD     C—’
 ft             Cu      3      Cl      ft    Cu     CL     0      CT             H                        ft              )      C--”   CD                  C)      H      C-’.
         5      ft      0      Ci       3-          CD            0                              Mi               C-”    (Q      CD     H     0)            H              ft
S        0)                    CD      CD    C)     0)     CC)                                   Cl)      1-”       1                         ft            0          1
CD              (CC      Z     U)            Cu     Cl     (CC    ft              Cl             CC)      Z       CC)    ft      Z      Cu                  (CC        I
(0       CD     T                     C)      5     C-’    CT                     0)      I      H        C)              3      0)     U)    H      1      U)             0
o        U)     CD      ft     ‘1     3’     C)     <      CL)     3-             S       Cl     U)       H       CC)    Cl)     U)     CT    CD     CL             ft     Hi
ft                      0      ‘-     CD     CD            (CC    (I)             CU                      CD      ft                    CD    (CC           ft      0
                    3                 (CC    H      C)     ft     H              (C)             ft       Cu             I-ti    CT     (CC   ft     •<     r              ft
CI)      ft     CU      C)            ft            0)     0                      Cl)     CD              (1)     C      i       CD     ft    H       0     CT)     S
C-’             U)      0)     ft            ft            U)     0               Cd)       -    Cu       F-             ft      C)     0     I-”    Ci             (1)    Cl)
C-’.     CD             Ci                   T      C)            CU                      F—’    ft       5       ‘13    ç       0      U)    C)       -    C—-’
                                                                                                                                                                                         Filed 08/14/09




o        <              U)     I      CU     Cu     CD     ‘CI    i              Cl)      I—-’           (CI       I     *1      5            ft     C-’     Ci     Cl)    C—’
S        CD      T      CD     0      C-’    ft     ‘-.1   t--’   C)             ft               3       i—-’    (I)    CD      CD     CD    C-”    C--’    1             Ci
Cu              Cl)                   C--’                 0)     CD             ft      ‘CI     CD      ‘<              •
                                                                                                                                         *    0             (Q      0)
                        S      -      -      Cu            C)     H              Cu       ‘-C    H                ‘--s          5       ‘Ci    )     3-                    (C)
         S              Cl)                         3      CD                    C)       CD              Cl      01            0        0           CD     ft     0
         0      C--’    C--’          ft     ft     0      Cl)    H                       Ci)    CC)      t--’-                 H       U)    I--”   Cu     C--”   CU      ft
         H      Cl)     I-’.                 Cu                   C—’-           CD       CD     U)       Mi      ft     ft     CD      ç     (CC    H      U)     H       C--’-
Z        CD     1)      CC)    3      Cl)    C)       )     3     U)             CL     .3       CT       Mi      0                     H                   ()     CT      (CC
CL              Ci        1    CL                          CD                             ft     CD       ‘-‘-           ft     U)      CCC   Cl     Ci     Ci     0       U)
         I-’    CD       0)           ‘CI    U)     Cl)    H      •              ft              U)       C)                                  F-     H      CD     1       Ci
 (CC     C-’-   (0       J     Cu     f—’                                        0       (CC     ft       Ci      0      CD     0             H             •              CD
                         ft    (0     CD     ft            0)                            0       0       p--’                   H             Cl)
                                                                                                                                4_)_                                       ft
                                                                                                                                                                                         Page 10 of 48




 CD      Cl)    C-”            CT     Ci      3            ft     ‘—3            ft      S       (1)     ft                                   C)
         C--’   $              CD     H      CD                                  T       CD      F--              0                           ft                           0
  3-    ‘-<                    1))    0)                          Cl)            C’)             Cd)      ft      Ci            0             C--’
 Cu                            ft                                                ft                       0       ‘1            I-h
 Cl)                           0                                                                                  (1)
                               U)
                                                           I.         £
     :.•                  •   U                 1..        I—             -.         ..           10
1”




     P3     P3       P3       13   10     14    ,a    p-        ‘a   ,a        pa         pa    pa     pa      pa    pa
     CR              C,)      13   I-’    0     40    0         ‘4   01        CR         N.    C,)    10      pa    0       10    01     4    0)   CR   N.      C.)   to    pa


     •      n        ‘a       a.   ri                 N          a ‘U  ‘a                 0     P.     a       ‘U    ‘a      It    N           It   a    ‘a      C)          N
                     a        a    a.                 U          X  N  H                  N     ‘a     ‘a       C    a       ‘s    a           ‘a   a.   a
                                          cN
            .        a        -    a      C           P.        ‘U  ‘i’d                        a      a        pa           a     U                                         Ph
     •      .t       ‘a                   a                      o  It 0                        a      a        w    ‘a      N     a           at
                                                                                                                                               a.
                                                                                                                                               It pa
                                                                                                                                                         z‘a     a           aN
                              pa    s     a           H          a  ‘a         ‘s               N      N        0    a       It    a                             C
                                                                                                                                                    pa   a       a     Co    ‘S
     ‘aIt   N
                     c‘a           0       0.         ‘a         a  0  It
                                                                                          aP.   a      a        a            ‘a    It          a
            a        a        It   a            a     ‘a         P.C   N                        a      a       o     to      a     0           a    -    a       a     a.
      N              C        N    I       U     —    ‘a             ‘a        a          i.’   a      a       ‘a    ‘U      a     a           a         0       -     a     0
      N     a        N        ‘a   H      .4    I-’   •         It   N         It                      -       0      0            ‘a          a    ‘4   C                   Ph
                                                I-I                            ‘a                              C      W      ‘U    a      -a        o    pa      N     N
     .4     a        ‘a       fl   N                            a. ‘S                                                                     a                            ‘a    It
      U     It                     I-’    a                     ‘1-
                                                                  ‘CC                                  ‘a      ‘a     N       a.               ‘a   C    N       a
      •     0        ‘a       N    ‘a                                                                                                          a                 a     a     a.
                                                                                                                                          3.                           0     N
                                                                Na.b
                                                                                                xa     aa      aIt   aa      ‘ca
            •‘a      a        U                                                ‘a                —     pa                                                        ‘a          It
     •                                    o     a               a    a                    ‘a                         •        ‘a   a      I
                                   aa                                                                                                          a.        aa
             •                C    N      a                                                     pa     C       ‘a            0            I    a    0     H      n     a.
                                                                                                                                                                                       Case 01-01139-AMC




                     n        n    a      C
                                                                a.P.a:                          pa     a       a     N       ‘a    s      .5   ‘1   *    a             N
                                                a               It   It                   N            ‘a                    N     n                —    It      It    •:.
            ‘a       Ph            it     i                                                                          a
     I‘U                                                                       a
     .t     a         a       a.          a     a               a.   a.                   a                                                    o         ‘a      a.
     o                C,      0    It                           a    a                    a                                               .5   a.   U    H       a     N
            a         It      Z    ‘4     it    It                             a                pa             a     a.            a      3    a    a    a       ‘1
            o         a            ‘U     0                     S    ‘U        ‘I               N      N       ‘U    a       a            I    a         a       a     n
                                                                •     a        ‘a                      a       a         -                     It   C    —       •—    a
      it                      It
            ri        a             a
                                                a.a                                                                          n
      ‘a                           -                                  0        a          X            U       0     a       •                 -     N           a     N
                                                                                                                                   aIta
                              a.          N                                                     N                                         a              a
      o     a         a       a           a     It                   ‘U        a          ‘a    U              ‘a                                    a                 ‘1
                                                                •     pa                                                           It     a         ‘U
                                   N            ‘4                             fl         a     o
                                                                                                       •a      N      N                                  a.’a
      N     C        ‘4                   U                                                                    ‘a                         a
      Pa    ‘1        H       ‘a          a     ‘U                    a        a                C      It                    pa    a.               ‘a   a  o          a
                                                                                                       0       ‘a            pa    a      a         a        —   ‘a    Ph
      I-’   N        ‘U       C    o.     a     a               a                         a     it                   ‘U                                  pa
                      It                         a              n    ‘i        *                       a       a      C      a     H      I                      pa
     ‘<     U
                                                                                                                                                                                       Doc 22814-28




      •     ‘a        o
                              a
                              a    a.     o                     N    ‘1        ‘a               a.     ‘a      It     ‘a     a                           pa      C     a
            a         H       a    a—     a     0               0  0           It         a     ‘a     a              H                   I         Ph           It    C
            —         N                   •                     a  H           a.                              ‘a     o            N      I         o    a.      ‘a    Ph
      i-i            It       N    I-’                                                                 N              U            a      3’        ‘S   N       0     Ph
      I-h   N        ‘a        $   I-I          pa                 t’                           a      a             o       ‘a    a                     C       :5    0
                                                                                          aa a                       pa
                     a                    p.                    N  ‘a                     a            P.      ‘U            It                     U                  0
            a                 a                 C
                                                                               ‘aa               X                                                       a
                                   it                                                                                o       a                      ‘S           ‘aN
      a              N                    a     a               0  U            0         0     ‘U              C                  ‘4
                                                                                                                                          a3
            a                                                                                                  ‘a
      o              I-’      N    N      U                     ‘ap’           ‘U         a      a     N             C       a.     0     I         a    N       a  It
      H     ‘a       I-’      Ph   s-’    a                     pa   ‘          pa               ‘i    a       H     ‘a      0      C               N                  ‘a
      a     n        .4       Ph   W      a     a               ‘a              a         ‘a    ‘a     U       0     a       C      -               It   a       It    0
      U      -       •        a           It    ‘a              It   N                          a      a       a     It      a     pa     3         a.   ‘a      a.    a
      o     a                 a    N      0     a               ‘4   n                          a      a       N             a     pa     3.             Ph      a
      a                       ri                a                    a   C     ii               C)     It      ‘S    ‘a                   I         N    Ph
                                                                                                                                                                                       Filed 08/14/09




                                                                                                                                          I         a    ‘a      N
     ‘4     a                 a           a‘a   N               It       a     o
                                          a     a                    It  a                                                                5         a    a       ‘a    S
            o
                     ma       a
                                   oa’C                         a.    H
      *     It           —         It           a               a  a.    a                      *          I   a     to      a     N      I              C       ‘S    ‘a
      •              ‘-I      $                 a               n  o  t’ n                      ‘a     ‘S      ‘a    ‘U      ‘S    ‘1               Ph   pa            It
      fl    It       I-’      a    It     0                     a  a  ‘a N                      It     a       a      o                   I         a    It      pa    a.
      •     ‘S                a    a.     Ph    It              —  a  U  pa                            pa      a      N                   3.        a            ‘a
                     It            N                                                                   N       N      N      t     ‘1     S         pa   It      N     S
      It                           It                           It*N                            0      It      a     a       a.    0                     ‘a      a     a
            aN       •Pa      a.
            It                0    •            It                 a.    a                             a       a     a       ‘a    H      t         N    H             N
      o
                                          a0                    a.                              a
                                                                a  0  ‘a a                      U      P.      a     •       it                          a       It    It
                 .                 N                                                            a              -             a     It     3’        ‘1           a.    a.
                                                                      a
      a     ‘a’4              It   a      a                     H  N                            a                            a.    a.               a    N       a     a
                                                                                                               ‘a                                                      PJ
                                                                                                                                                                                       Page 11 of 48




      vi    a  0              a.   a      a     a               ‘a   n                    o     It                   >       0     a                N    a       ‘i
               C              a           -                     a  a     ‘5                     o              C             C     ‘a               ‘a   a       a
      N                                                         a                         a     a              a             a     ‘i
                                          ‘a                                                                   a             a                                   ‘a
                                          a                                                                                                                      a
                                                                                                                                                                                  40
tO       tO      tO     CO      CO      CO     )-     )-       ,-      -‘                           F-    F-    I-
                                                                                      F-
Cfl      .C      (A)    CO              C)     tO     0)       -)      (3)    oi             w      to    t—    0      to      0            0     u                    to



CU       rt             CD       U)     r1     tI              rt      Mi     Di      0)            rt    5     F-.    <       F-.   S      3     S              Mi    C)     C)
         0      0)       X       0’     3’      1               3      0      F-.’    CD                  F-.   rt     CD      I     .      CU    CD             0     0      0
5        0      rt       C)      i              CD             )       F-’    (I)     (3.           CD    3                                 Cl    CD             F     fL
0               CD       Cl)    to      U)      U)             rt      -‘     0       CD            i                          F-.   F-’          0                    to    to
1                       ‘t3      (1)            CC)                —   0              Ii)           CD   rt     CU                   —      U)    Ct             -.           :3-
rt        ]‘     0       rt       1    C)       j     <        U)             C),     rJ-    zJ          CD     U)     F—      CU           0     3-             1-f
J        F-.     Mi              rt    CU      rt     0                CD     F-.     0      F-.         -             3       rt    rt-          CD     i                    0
         U)             Ct             CD      0)                      Cl     CD      (1)     1                        Ct      F-           S     F-.’   C)..          0’
0)              <1>      3      f      CD      Ct                             0       t-’.   0)           CD    F-.    CD      0     CU     C))   F-.
to       Cl.    Ui      CU      0)     -       F-.             CD      r              U)      F-          Q     rt     ‘1      i     rt     1     0      0)            rt     U)
 0       CD      0      Ct      U)             0      I—       1       F-•    U)              F-                 Y     CD                  ‘<     S      U)                   0
         V       0                     CU             F-’      CD      5      U)      C))    ‘<           3     0.’    CD      F-h                C))                  ci-    S
         0                      :3                    F-                                     -            CD    ‘1     i-      1     Cl)   V             H             ]      CC)
         U)     ‘ti     CD      0       5       F-h            X       Mi     L)      Cl                    -   Cl)    CD      0           CU     F-S                  CD     ci
         t-’.    CD                            ‘1         3.   )-‘            0              01           Cl)          Cl                  rF     I—..   1-.’.         )
                                        CU                             0                                        Z              S     E
                                                                                                                                                                                          Case 01-01139-AMC




(C)      Ct      i-S                    i       0     (0       I-’     i-5                                                           CU     F-    Cd)    1             CD     F
    -                   Ci)                                    I-.’                                                                  3      CD           C),             -    :3
         F-                     CD             S      CU                                     •                                 E
1-’      0          J   U)      CU     CT             ‘-5      F-.      3     -t      CU                  CD            (U     •     ci-                 F-.           (C)
F-’      )       0              F-’    <        Ct    -        CD      I-’.   0       Ct                  <     ci-     1            CD     Ct           C)
                 $i      3                      3’                            :3.                         CD     3’    Cl      J     Cl     U)           Cl)           :i     -.
ci-      C))     F-i    F-’     i-I     i-i-   CD     ci-      (C)     (I)     1       3.    F-•          ‘1    CD                                       ci-           0      F-.
CD       Ct             ‘-      CD      Z             0         0             U)      CD     rt                                      ct     Mi    CD     (I)
U)               ci-    CD      F-.’    CD     0)     0         Ct     <      0              Cl)          Cf    F-     (C)     Cd)   0      ‘1     -     Cl            C)     CD
Ct       Z       0      Cl      CU             CD     -•               ID     S       ri-    3.           CD    1              ‘-5          0     F-                   Ii
F-       F-.                    Ct       1     F-h                     C))     -       J’    0            CD    <       CU     0)    to    5      F-’    Cr            F-S    Ct
                                                                                                                ‘-‘j
Mi       U)      0      cr      F-•     CU     ID     F--      CD      ‘-5    (Cl     F-     C                          0      C)     0                  CD            CD    Z
‘<               Mi     ‘<      0       5                      ‘-5     (1)            1      (I)                Ct      C)     CD           t     ci-    Mi                  CU
         0       F-h            1       CD     Il.                     -      Ci)     ‘      (I)          C))   0)      CD           rt     F-    Cl)    0             C))   Ct
                                                                                                                                                                                          Doc 22814-28




ci-      Mi      CD             U)             Ci)    F-li     0..            (Cl     (I)                 Cf    ci-    ‘Ci     ci-   T      Cf    F—’    5                   -
 3       F-li    i-S            Y       0       3     Ci)      F-.            Cf                          F-’   F-      ci-    0     CD     Cf    F-’    ID            Cl
C))      F-’                    F-      Mi     ci-    0        U)      r>     CT)     C))    1-”          (C)   0       Cl)          ‘-S   ‘-<                                ct
rt       0      ci-      33     ‘Ii               -   ci-      CD      Z      (C)     Cf     F-.’               Ii     Cl      ci-   (1)                               ci-     J
         CD     (C)                     Z      (C)    -        CU      Cl     ci-     0      F-.’         Ct                   0     •            0      3-                   (I)
    3’          U)              ci-     F--                    (0             0       ç                   C)           t—      S                         CD            CD    ‘<
Cl)      I-’.   ci-     G)      0       0      5      <        CD      CU     (C)     Ct     ci-                Ci)    rt      F-5         0              -            F-S
    -    :3     F-.     ‘-5              Y     CD     Q        .       (0     F-.’.          CD          <      U)     •                                 F-            CD     C-)
(C)              S      C))     ct      0      Cl                             (C)     f      F-’         F-•                  Ct     3            ci-    I—’             -    0
         (_      0      0              F-      F-.        -            H              CD     F-          U)                   3.     Cl    0      0                    CD     ii
0)       0       1      CD      t-’.    0)     C)     p..’                                               F-’    F-’    W      CD           ‘1     0      Cl)                  F-’
         U)     ‘<        -     U)      U)     CU     F-.’             F-.    Cf                         ci-    ci-                  0            -      F-            i      Cl
‘1                      (0                     1-.’                    3      CD      Mi     0                   3’    ci-    F-h          CD            (C)           0
                                                                                                                                                                                          Filed 08/14/09




CU              C))             C)     Ci)            (C)              Cl     0              CS          ci-    II            C))    CD    Cl     ct     0                    5
Cl         1    ci-     i--.’   C))     C))    C)     CD               F-.    0)      ci-                 3’    i-S    Mi     C)                                       ‘-I    (1)
F-.      (C)            Cl)     U)      ‘-5    0      CD               0      i       l      CU          CD     CU     0      F-.    CL    0)     Ci)    ci-           CD    ‘-<
0         CD    ci-             Cl)    (C)     i                       fU     (I)     ‘-5    Cf                 E      ‘1      F-    CU    ci-    ci-    Cl)           C))    Cf
F-       F-     f                       CD     (Cl    C))              ci-    CD      CD     0           Mi     1              F-    ‘<                  F-            F-     CD
 0       Cl)    F-.     CD              Z      CS                      Cl)            -      CS          C))           (C)     ri-         ci-    CT
to       (C)    (J)     ‘-5             ci-    F-     <                Cl     3-             rt          C)     0)     0      ‘<      3     3’    CD                   ci-    ct
                                        .      e1     F-                                                        .f                         CD     C)     (U            )-5    i-
F--                             CU                                            CD      0)                 F-.           5             CD
U)       k-.’   ct      0)      ci-            C))    CL               Cf                                F-            CD     0)                  Ci)    0.’           CD    CD
ci-      CD     i-S     ci-     (C)            i      CD               CD     U)      Cl     F-.         F-’.   ci-                  to    S      CS     0             C))   Cl)
-        (0     1-’.            0      Z       ci-    0                F-h                   F-’          ci-   3’     ‘1     Cl     0     F-.    (C)    CS            ci-   ci
         (C)    C))     Ct      CC)    0                               0              3’     F-’         •<     CT)    CD            ci-          CD     ci-           S
                                                                                                                               3’                                      CD    ci-
                                                                                                                                                                                          Page 12 of 48




)               F-      3       <              F-                                     CD     F-                        CU                  CD
0        rt     -       CD      (C)             1                      C))             -     CD                 F-     (0     CD     C))          3      ct
Ct       CT                     ‘1                                                    i-.’    -                 Cii    0             :3    CU     CD     CT            ci-   CD
         C))                           t:)                                            F-.’   U)                 U)     Ci                  CI            CD
Ci)      Ci                            1-5                                                                      ci-    -      C))          Cl
                CD                     .                                                                                      (I)                                                   I-.
                                                                                                                                                                                    0
I.




     to      to    tO    to   to   10     ‘a     a     ‘a    ‘a   ‘a    ‘a   ‘a    —    ‘a   ‘a
     a’      a     ca    to   ‘a   o      ;o     0     .4    a’   CII   a    (a    to   ‘a   0    10   0          a’      a’   a    to      i-a    ‘a


     6)      a     c-i   a                pa     a           ft   i-b        a’    pa   ft   X    a    a     It   a       *    m    a       *      V
     PS      4     0     a         ‘-a.    z     a a              o          a     U    PS   i    0                       z’   a    ‘a      U’     a
     a       a           a          at    ‘-a.   Na          a    PS         o     a    a    PS                   •       pa    -   a       a      ‘a
     o       z           a          p’g          a it        it              a     pa   a    a    o    0          a       a    ‘a   a              a
     a             a               ‘4   PS       a  a             4          a     a    ft   ‘4   9    PS         ft      ‘    ‘a   a       ‘-a.   0
             a     0                •  ‘4              I-%   Ia   0          a     a    ‘.   •    a    a                            ft       0
     it      a                a             a’         .     3    PS    a    a     ft U                a                  pa   ft           a      a
      a  a                              ‘-‘‘4          a          pa               paq            0    ‘a             •   z    a    a       ft     ‘a
     opa z                              a              a     it   o     ‘a   3’    0         .    It   pa         PS      0    ‘a   )C             0
                                        S   Z                0    0     ‘a   a     z    a              ft          a      ‘a   N    0       pam
     ‘ax        m        a    a           a      •     0     0    a                     o    a    ft   pa         .4      a         ‘a      9  pa
     pa  pa     a                         a                  n          ft   o     a    a         3’   a           a      a    a    e   ft         a
     ft      ‘a  -       U    U           pa                      a     a    a     a    ft   ‘    o    a          a       41   at   apa a          ft
     ‘4      i-ia        a    0           ft     •     at    0    a     ‘a              o    a    a                       a    o        PS
     •       pa          4    ft          a            a     0    at    ‘a         ft             a               pa           a     <‘u
                                                                                                                                                             Case 01-01139-AMC




             a           a                       6)    3’    it   41         ft                                   ft      a    ft   a       PS
                         PS   a           a      PS    a          a     ‘4              a    pa   ft                                ‘a      a:.
     w       c-    4         a            i-s    a     ‘a    o    ft               Pb        ‘a   U’              pa           ft   ‘4      ft     z
     a       o     a         N            pa     C)    it    it   0          it    a    pa   ‘a   pa   a          3       pa   3’
     ft      3’    PS    aat a            •      a                a          it    U    U         U               o       a    a    o              a
             3                            ‘a           0     it         ft         0         ft   C    U’         ‘a      ft        U              ft
                         a• a
                                                                        a oa                                                                a
     a       a     a     U                3      it    Pb               U.   i-s   ft   n    a    a    a          a       a    a            U’     U’
     a       0     )4         ft          a      a           4    0     a          pa   3’   ‘a   a               a       PS   PS   pa      a      a
                         ‘a   0                        a     a          ft   ft    0    pa   ‘a        S          a       ‘4   pa   U       a      PS
                                          o      0     a          0                U    a         a    pa         a            ft   ft      ft
                                          a      0     at    0    it    U’   a     a         ‘c   z    ‘a                 Pb   CD   ID             S
                         o    a           at     9     a     a    a     a    n     ‘a   a     o   a    ‘a                 PS   PS   PS      X      0
                         ‘a   U                  a     a     a    a                     a     a                           0    pa            I     PS
                                                                                                                                                             Doc 22814-28




             a     a     4    a           o      a      t    a    .t    a    a     pa   a         ft    a         ‘a      a    a PS         PS     a
                         a    a           Pb     i-.   o     a    a          a     a    a    ft         a         a                 a       a      a
     PS      N     Z     a    ‘a                 ft    a          PS    at                   3’                   o            it   ft      .4     a
     •       3     Ia         St          ft                 a    41    a    ala                       apa
                                                                                                                  U            o    a       a
             0     ‘a    pa               3’     pa    fl
                                                       9          a     a       pa 0         ft        ft         a       a    PS   ft      a      a
     In      *     ‘a    U    at          a      9  0                   U    PS PS PS             pa              PS             pa
     0       a     a                                05                       a     a    •    ‘4   a    ft         ‘4      ‘a   a a          a      PS
     PS            a                      S      ‘at   3’         z     a    a     a          a        U’                 a    pa                  a
     a       z           U    W           •      o a ‘            a‘a        pa    9          0   pa   a          i-           a            a      a
     a       0     (4                               9  0                0    o     ft             U    ft         a       pam       0              pa
     3       it    0                             0  ‘a 3’          a    0    I-a        pa    0   ft              U       a    U    it      U’     0
     rt      U’          ft               •      PS a              a    U    o     a         a    a    U’         o       U    0            ‘a     ‘a
         —   pa          PS                                       ‘a               PS                             ft      ft        0       (1     0
                                                                                                                                                             Filed 08/14/09




                              S                     a  3’               a    C          a    a    PS   a                       a
     a       n     a     a    U’            o ‘a a.   a                 a    pa         3’   ft                   pa      a.   pa                  a
             a     0     a    pa          PS   CII     — C              ‘a   a     a    0         PS   a          o            U    a       0      pa
     a                   ft   ft            a      a a                  ft   ft    pa        ‘a   a               U       pam       a       ‘a     a
     a       a           a    a             o  0   9     (4             a    •     a    a    a    ft   0                  ft        ft       pa    ft
     a       a’          a    U’            aag                         U          a    a    a          U         ft           a
     o       0           3    0                                         ft         at        N    ft    ‘a        a       pa   a    x       pa     pa
     3       a     m     ft   0             ‘- a   D’                              pan            U’   ‘4         a       U    at       •   a      a
     a       it    a          a             a  PS  a                    pa         ‘a   0    ft   a               ft      a    a    PS      z
     ft             —    o    a            opa      - a   ‘             U          We   PS   0         ft         pa      ‘a   a    a              a
     PS      it    a     it                    a   a ‘a x                          ft             a    PS         U       a    ft   <       pa     0
     •       3••              pa           ‘a  a      ft a              ft         ‘4   a    ft   U’              a       a    0    a       a      a
     rt                                    pa                                      a                              a
                   3
                                                                                                       apa
             a           a    U                at  a’a                  U’               3   3’   a                       a    a    •              a
                         pa                                                                                                    ‘a
                                                                                                                                                             Page 13 of 48




     a             a                       ft  a   a  a  4              a               ‘4   a    a    U                  a                 at     0
     a       z     4     ‘a   ft          .4   a   a     pa                                       ft   a          a            a            a
                   a     ‘a   U’               ft  9     I-.                                           a                       a            a      a
                   PS    pa   pa           a   0      3’ ‘a                                                                                 a
                                                                                                       ft
                         a    a                a      a a.a
                                                                        Ia                                                                  a
                                                                        ft                             0                                                ‘a
                                                                                                                                                        ‘a
to      to      to     to      to      to                   f-                      l-     I—i
01              (0     to              0      (0      03            0)      01             (0     t’3    -       0     (0     02             C7     Di          (0    to




Ci)     C)      Cl     S       Q                     Cl     t1      ci-     Mi      ft     CU            Cl      CU    l—.    ft      0      ft     CD    CD    .     Ci)
o       r       c              i))     (1)                                  Si                           ..      (fl   :3                           :3    X     (I)   ci
        i)>     tI
                C      i       ZI                     U)            C)      ci-     (I)    5             U)      CT           U)             CD     Cl    ti          C))    CU
Cl)             0      CD      a)                     CU            ft      ç                            CD      (I)   TJ     Ci)     CU     5            0     CU    ci     Ci)
U)      )j      U)                                    CT                    j       Cl     ci-    3-     C))     (1)    CD    C:      Ci)    0      i-    U)          CD
        S       -.     CD      Cu                               3   0       CD      CD     U)     CD     ci)     ci-    0     Cl)     CT                  C:     Cl   (0     -•
ft      CU      ft     l       F-       C3            )—                            CU                   CD      0     t1             CD                         CU
o       1              Cl                     (Cl           ct      )-      0       Cl     ft     Li             (I)          0       (I)    ft     ft    C       1
                0              CU              1      ci-   CD      <       ‘1      i—s    T      0      -b            (Cl    Mi      ft     CD     3           (C)
                                       Q                                    0              CU     CT     ‘-C                          0             CD    CT     ID   I—’-   CU
        0       :3     5       Z                            CT                      ‘<
i       i—h     U)     )-      cL                           0               CQ             ci-    1      0       C)    E              U)     C))          Cl)    ‘i   0      <
o                                      CU     (Cl     0     C:      l—      ‘-C     C)            U)     5       ‘-C   CT     0              (1)    3     Cl)    0    CT     0
        ft      C)     i--      it     C)             ‘1    Cl)     l-       CD     CU     Cl)    0                    0      ‘1             CC     0            Ii          ‘-1
        CT      ‘-h             CT     Cl)    U)            CD                       1     U)     3      (U      CD                          CD     ‘-    CT     CD
Cl)     CD      -      l-       CD       -    CD      CT    —       i-      U)      0      CT       -    U)      ‘-1   U)     CD       -.    U)           Cl)         CD     0
                                                                                                                                                                                   Case 01-01139-AMC




(1)                             1-’-   (0     ci      Cl)           (U              CD     Cl)    U)     CT            I—     ‘-C     0      rt     (1    CD    (0           Mi
        CT                                            ‘-C   0               0       i--C   U)            CD            S      U)      CT     0            1     C:    0
i--     0        0     ‘Ci                    )—            C))     Li      Mi             ft     ‘ti    U)                   •              Cl)    0           CT    Mi     ID
--      CU      ‘ri     CU              1      1      .      i      0                      C)            ft                                         0           (1)          U)
ci-     i-C      CD     ‘-C     Z      0      ft      S             CT              i      (I)    Cl)    0       Cl)                  U)     U)     S           ci-   ‘1     CT
it      Cl       Mi     ft      0             0      i-tI   S       i       i--..   0             C:     UI                                  C:     5     0     C))   CD     CD
        -       C:     .        D      i-—            Cl)   fI)     U)      i--a    D       CD    ‘1             Cl)   i-     Cl)     ft     C)     C:                       U)
                i-      C)      i-—’    (1)   ft      )—‘           0       i-      I             C))    CD      Cl     —.        -                        i    0     CD     ft
(1)                                                                                         X
                i--.    C:      (Cl     Cl    CT      ‘1    CD       3                     ‘Ci                   S     <      u       cu            i-.         v     <      0
CU      CT                      Cl     (C)    CD      S                 -   CD      CU      0            ‘Ci           CD                    C))    ft    l-          CU     U)
U)      0              CU      ‘C)      CD            CD    C))     U)        -     U)      U)    Cl      0      ft           U)      ct     I))    ‘<
                       ‘-C      CD            0        1    i               I))                   )-‘•    (0     Cl)   i--.   CE)     <                         ft    C)     S
‘C)     U)      L      -               0      ft      ft    <       ft              S      ‘1     U)      C:                  CD      ‘Ci    Mi     Mi    N     :3    CD     CU
                                                                                                                                                                                   Doc 22814-28




0       (C)     •               0      I-h    CT                    i-i     Cl      Cl)    CC)    (I)    ‘1      ft            1       Ci)   0      0      i    CU
U)      ci-                     Mi            (Cl           Cl      CD      I-•     I-’           C))    (I)     CT     ft                   C:     ‘-    (C)   ci-   l-     C:
0)              ‘O     ‘<              ft     I-I           CD      C))     Cl)                   U)             C))    T     CU      5      I                        l      Mi
         C:     CD     0        ft     CT                   ci-     ci-     CD      (Cl     1     CD             ci-    CI)   U)      0      (1     5     Cl)   ft           Cl)
 CT     ‘Ii     ci-    i        CT     CI)    i)            CD              Cl)       1    C)                                 CT      Ci)           CU     i    CT    ft     C)
                                                                                     C))                  E’                  CD             )-•    1     (1    (1)   CT     ft
I-.             CD         —    CD             U)                           U)             ‘1     0)                    U)            ft
ID      CT      ‘C     i--i            CT     ‘C)           S       iP      CD       :3    CD     U)     :3      l-     CU    U)             :3                       i—’.   C:
                                       C))     CT)          i—.                      ft    03            Cl      Ii     5     ft      C)                  (I)   CT    Cl)    i-C
CU      U)      CE)             CU     N       C)            1      Cl      i-i.           Cl)    S              l-     CD    0       0      t            l-•   (Cl          CD
CT              i-C    CT       N      C))     ci-          C))     0       (I)     5      CD     C)      J      .            Ci)     S             S      i    CU    0      ‘1
0               CU     CT)      5))    i-I                  ci-     C)              CD     U)     Cl     ((I     CD                   5       CT    (11   0     i--   C))    U)
C:      0       C)     CU       ‘-C    Cl     0             I-’.    ft      C:      U)            CD                   0      C)      0       CT     3    CD    ci-   Cl)    -
ft      ‘1      (1)    ‘1       Cl     U)     Mi            0       0       1       0      ct     i      C)      Li    C:     C))     1      ‘<                 CT    CD
                                                                                                                                                                                   Filed 08/14/09




        3_i                     (0                                  ‘1              ci-    CT     C))    CT      0     U)     C:                          ft
CT      Cl      CT     CD              0      ft                    -       i       CT     CD     ft     Cl)            CD    U)      ‘<     I—”    <     CT    ‘-C          CD
        E       i-”    X        C))    Mi     CT            Cli             0       CT)           CD     i--f     1           CD             CD     CD    CD    3-           ‘-C
(I)     I-..    5      ()       ct            I—            U)      i--a            3_i    -f     i-—a   C))     Ci)          Cl      i—h           C))         Cl)   I—)    CD
        Cl      U)     CD              CU     (I)                   i       3       I-•    i--i   <      C)      0     3-             0      03     ‘i    CD          CT
0       (1)     (1)    ‘-C      rt     U)                   ft                      0      U)            ci-     )     ci-            C:     S      U)    Cl)         CU
‘ci             i--s   i-       CT     CT     0             0       0               5             U)     a)                   C:      :3     ‘ci          ‘-C   0     ft     Ca
CD       C)     Mi     ft       CD     (I)    C))                   ft              CU            CD     ‘1      CT            1      Cl     CT           i-—   Mi
i-C      0      -      (I)      i--’   U)     U)            CT      CT              -•     0      <      i--i’   C))   CU     (Cl            I-i-   ft    ‘<          0)     E
fI)      ‘-C                    ‘-C    ft     CD            CD      CD      CD             Mi     CD     N       U)    l              I—     CT     CT          Cl)   U)     CT
ci-     ‘Cl     ft     I-h             0                    Ii      ‘1              Cl)           ‘-C    CC)                  Cl      i      0      CU    l—    (0    CT     C))
i--a.    0      CT     ‘-C      t’     U)                                   U)       1     (C)    CD     U)      ‘ti          3_•            1—’    ft    (C)   CT    CD     ci-
                                i-.-                                        ft             CD                                 U)      )_i    CD           0     CD    U)
                                                                                                                                                                                   Page 14 of 48




 C)      ‘-C    CD     0                                                            Cl
 :3      Cl)           S        CT     I—i-   CT                    0       Cl)            ci-                   CD           CD      C:                  0     U)    ci-    CT
 (II     ft                     CT     I      -                     ‘1      ft             ft                    C:           C))     D      Mi           (1)   ft    0      CD
         I—’-                  ‘<             C)                    Cl      CD             i-’-                  ‘1           Cl)     CC)    0                  0     Cl)
         0                                    CT                    U)      U)              l     CD             C))          CT)            ‘-C                Cl)
                                                                                           (C)                   F-’                         5
                                                              •   •

    -                     p                  r.
L               (.




    1%)   1%)        P3   P3.   P3    P3    I-’   pa    pa   ‘a   pa       pa   pa      pa   pa    pa
                                                        b4                  ‘   Cr)     P3   ‘a         ID   CR   •Ia       OP   CR    •‘   Ct)   ‘a   pa
    CR      ‘        Ca   ‘a    ‘a    0           CR         0    CR                               0


    (0    0           a   a     a     a           *     ‘<   a             ‘a   P       N    St         P    St             o    a     ‘U              a
                                                                           to                                          I    ‘U         PS   0          0
                                                                  a‘a           a       0    0               0                   0
    St    ‘U          p   a     a     a           U     0    St
    p     a           D   U     U     St          pa    0         P        0)   a            a          a              i    a    U     0    a          0
    St    P•S        ‘4   a     a     a           o      -   t’   a        CR   ‘a      0    a               CR    pP       PS   a     a    P          U
                                                        ‘a   ‘a                 a       ‘a                             a    0    ‘a    0    a
    •     a               a     a     U           U
          St         .4   St    ft    ‘a    •4          ‘a    U       a         St      ‘a                             S    St   4     0               a
    DI    Ia          a   0     0     ‘a    pa    PS          U       P    P    P       St              St   St   Ii        ‘a   ‘a    St              a
    o     0           a   a     a     a     z     a     a    ‘q       a    St           a               U    ‘a             o    a     a    C     0
                                                  ‘a                            It                           a                   ‘a         ‘a     —   ft
    a                PS         •     U     P           a                                               o
    Pt               a    a           pa    ‘a    •     a             a    *            C)              PS   a     Ir            o     a    P     ‘a   U
                                            p-a   St                  ‘a   U    a       o               ‘a   a     i•       ‘a   z     ‘a              a
    a                     St
                     U          ‘-3   C     ‘4    a     St   CR       ‘a   ‘a   p       a               N              t               4
                                                                                                        ‘a                             ‘a              C.
    0                a    St    U                 a          a                                                                                         ‘a
    Ph    t          Ph   U     ‘a    E                               r g.      a                            PS    I ).     C’   U     a
          ‘a                          •           St         a                  C                                      I    ‘a   ‘a    ‘a               U
                                                                                                                                                                  Case 01-01139-AMC




                     o    a     a           ‘4          it                                                                             0                U
    m      U         PS   ‘a                0     o          0             St   a       •4                             I    U    0
    •      U         a    PS    a                    * * S                 ‘a   PS                      a    a    “;         U   U                     .4
                                St    •      —    St a   a a                            ‘a              o    a     pa       ‘4
    •     ‘4                                                                    ‘a                      o    4         t     •   E     0               a
    ‘a               E    fl    a           I-.   U  P 5   a                                                                                           ‘a
                     •    0     PS    0     ‘a    aStg                                                  C    ‘a        I         P     Ph
                          PS    St    PS                                                tp   o     PS   a                        a                     P
                     •
                     0
                          ‘U
                          0
                          PS
                           0
                                a
                                Z
                                Pa
                                      P
                                      0
                                      a
                                       -
                                            U

                                            a
                                                  C’
                                                  ‘a
                                                  U
                                                  U
                                                     U U
                                                        a
                                                         a
                                                        St
                                                        *
                                                           a
                                                             0
                                                             Ph
                                                                      EU
                                                                      •    a
                                                                                CR
                                                                                ‘a
                                                                                %
                                                                                    -   Ia

                                                                                        U
                                                                                        .4
                                                                                             it
                                                                                             PS
                                                                                             $
                                                                                             ‘a
                                                                                                   Ph
                                                                                                   PS
                                                                                                        a
                                                                                                        St
                                                                                                        a
                                                                                                        %
                                                                                                             C
                                                                                                             a
                                                                                                             0
                                                                                                                   I

                                                                                                                   Ia
                                                                                                                       I
                                                                                                                       :
                                                                                                                            P
                                                                                                                            a
                                                                                                                                 ‘a
                                                                                                                                 p
                                                                                                                                 0
                                                                                                                                            ‘it
                                                                                                                                            a     a
                                                                                                                                                       a
                                                                                                                                                       a
                                                                                                                                                       P
                     PS    St   .t    a     U     .4    a                  0                                 0         $    ‘4                         a
                     a     a    U           ‘a          a    St 5               p       p                         I                         U     ‘a
                                                                                                                                            a     it   a
                                                                                                                                                                  Doc 22814-28




                     o                ;‘•   a      a    p    U’                         a    Ph    CR   U                    -   PS    PS   PS    ‘a   ‘a
                     a     U    St    Z            ‘a        a             a    a            o     0                   a                               ‘a
                           a    U     0     St     P    E       0                            PS    PS                       ‘a   C     P    C     0
                     St    P    a     £     0     a     •    Ph PS         C                            PS   St        •    ‘a   a     a    a     P    ‘a
                                                             ‘a            a    0                       a    a         a               a
                     o     a          I-.                       a                                                                                 St
    Ph               o    ,q    p     a     a     •     CR   fl       0    P    PS      P               $              t    U    0          o
    PS —                                                •    *        a    a    w       0               a    P         •    a    Ph         Ph    S
    I!
    o
    a
    ‘a
          ‘a
          ‘a
          U
                     o
                     4
                     a
                          PS
                          St
                          a
                                £
                                ‘a
                                a
                                      a
                                      0
                                            St
                                            U
                                                  a
                                                  U
                                                  ‘a
                                                  ‘a
                                                        o
                                                        PS
                                                        a
                                                             0
                                                             Ph
                                                                      0
                                                                      0
                                                                       -   PS
                                                                           P
                                                                           ‘a
                                                                                a
                                                                                pa
                                                                                        0


                                                                                        St
                                                                                                        a
                                                                                                        U
                                                                                                        a
                                                                                                        PS
                                                                                                             U
                                                                                                             0
                                                                                                             0
                                                                                                             St
                                                                                                                       .
                                                                                                                       t
                                                                                                                       I
                                                                                                                       I
                                                                                                                            a
                                                                                                                            PS
                                                                                                                            Pb
                                                                                                                            ‘i
                                                                                                                                 St
                                                                                                                                 U
                                                                                                                                 S
                                                                                                                                       a
                                                                                                                                       P
                                                                                                                                       a
                                                                                                                                       St
                                                                                                                                            St
                                                                                                                                            U
                                                                                                                                            a
                                                                                                                                                  a
                                                                                                                                                  St
                                                                                                                                                  ‘a
                                                                                                                                                  a
                                                                                                                                                  0
          a          PS   PS    a     Ph    •           a    a        0    a                            a
    a                     a     m                 ‘a    a    0     PS                        p     *         ‘a             o    a     U    a P
                                                                                                                                                                  Filed 08/14/09




    ‘U    a          St         a     St    St               a    ‘U            St           o     U    4    St    I:       a    ‘a    P    P.4
     •    U          U    0           U     PS          o    S     0            USt          a     0    a          Ia            P     St   St
    o     I-’        a          0     a     a           Ph   B        PS   C                            PS   0     1r       U    a          ‘a    0
    St    0                     Ph          Pa          Ph   a        a    •    St           a     ‘a                  I    ‘a         *    PS    Ph
    ‘a               N    St          U     ‘a          ‘a   P        St   PS                                                               a
    o     .t         o    U     St    P                 o    St       a         0            ‘U         ‘a   PS
     ,    0          z    a     U     N     0           ‘a   a             0    p       ‘a    PS   a    pa                       a          a
    a                o          a     a     Ph          a             0    Ph   ‘U      l0    a    a    St   St        3               St   o     a
                     ‘a   a           PS                ‘a   *        0         p       a.    a    P    St   U         I         S     U    P     0
    E     a          ‘a   a     U     a     a           a    U        z    St   0       CR    a    St   ‘a   a         I    P    ‘a    a    a     P
    U     •          St   a     a     a     a                ‘a       P    U                 o     a                   •    a    ‘a         St
    ‘a               a    St    N           0           •    0        a    a                                           t         p—.        PS    P
    C)                          a     0     0           P    U        C)                                     a         a    ‘a              0     P
          Z
                                                                                                                                                                  Page 15 of 48




                          o     PS    Ph    a           a             St   t                 a     U         P         )    St              o     a
                                                                      pa   ‘a                o     a         PS        3     —              St    a
                          o     a           a                                                      PS        a              a               ‘a    a
    St    St              P     a                                     0    U                 PS
    U      P              a                 St                                                     a                   b)                   0
                                                                                                                       a                    P
    a                     St    o           a                                                                                                               ‘a
    .4     a                    Ph                                                                                                                          Cr)
                                                                                II
       (\)   to    to     to    tO           H              H      H       H      H     H      H     H
             ()    to     H     0      (D    01     .i      C)     Ui      4      ci    to     -.    0     D                  C)     Ui    .Ci.   (.)    )




             H     CD                  0     C)             H      Hi      S      C)    0      (y                      -I     W      Dl    0      t3     <     Cl
I—..                                   0            0)      ID     I-’.    H      CD    0      CD    0     Di          CT     0      CT    Hi      CD    0     i—
              -    X      CT                 C
H                         CD                 cr     H       Cl     CC)     H                   CD    i     ‘-          CD     Di     3             H     ::    l
H            CD    0      5            1)    I-’    ft      01      C      H      ft    C)     1           H                  H      0     Dl     Hi
                   U)      I           CD    0      H               H      H            CD           J     C)          Cl     Cl     H            0      i—    Di
CD           Di    C       I           I            C)      C)     CD      0      5     i      Cl    U)    ‘—j                       S     CT            i—’   ft
       Z
       0     —j’   H            J            Hi     1—.     0      U)      i      CD    ft     H     <     CD    G)    U)     0      Di    C      S
L      :i    H     CT)    H     Cl     H     0      CD      C)                    ft    H      0)    CD    U)    H     rt     Hi     H      1     CT)    CT    rt
o      CD    CD           ft           II)   0      U)      I      t       Tj     CD    Di     U)                Di                        Cl     Cl     CD    CT
CT           Di    II)          H      ft    ft             ft      CD     Dl     H     ft     ft    ft          0     0      Z      0     H                   CD
 1     0     Cl                  1     .     •      ‘0      U)     CC)     H      •     -.     t-.   0     CD    CD    0      CD     CT    CD     0      Di
       Hi                 I-           0             CD            I-.     ft           (3     C)                      C)     (II    CD    Cl     )      CT    t1
U)           <     Cl
                          H     ft     l             II     ft     (1)                         Ci)   C)          ft    1      H      U)                  H
o                                                                                                                      ft     ft           Cl)           CD    Ø
       ft    5     0      H     CT                          CT     ft      C)     UI           H     I     C)    0                   ft
-      CT    CD    Cl)          0      Di    H      C)      CD     CD      H      0)    H      H     Cl    C)    0     U)     CT           i       0           CT
                                                                                                                                                                           Case 01-01139-AMC




       H      1    5      (0    (0     rt    (1)                   H       CD     C)    (0     <     CD    Cr                        X     Cl     H      ft
                                                    C)
CT)    (1)   ft    C)     :J    CD           0      CT      Cl      CD     U)     ç                  H                 ft     0                          0
             -•    CD     0                                 Ci             U)           s—a    H     (I)   C)    0     (U     (0     ‘1    rt     CD           Hi
CD     C-    0     H             H     t-•   ft     C)      (1)                   ft    I-’.   CD    ft                       H      Cli   CT     H      H     Dl
I      I           U)            CD    CT    CT             ft             ‘0     CT           (1    Cl)   Hi    CD    CT)    Hi     <     I-•    U)     0     C)
       Hi    CD           ft    ‘Ti    c3    CD     Hi              CD      CD    CD    CD     C)      1   0     1-)          0      (0    H             0     i-
ft     0     Cl    U)     CT     0           U)     0       C)      ‘1      H                  0     Cl    0                  H            ft     Cx           H
                                       <
       H           C)     CD     ‘1    •     CD     0       0       CD                  ‘Cl    CD          ft    H     H      5                   01
CT
                   C)            ft                 ft      C)             C)     ft     0     Cl    )-          I      i     CD                  0      Ci)   ft
o      S
 C)    Di          CT     0      (1)          H                            C)      Y    t-’.         U)    (I)                Cl     H      CD           ft    <
(C)                                           CD    rt      ft      CD     CT     CD     i     0           H       -   ft                   S
       ft                 0
 CT    H.          Di     ri      I          ‘Ci    C)      U)      H      H            rt     <     ft    H     C)    CT     Hi           ‘0     H      Cl)   U)
                                                                    I-’    C)     Ci)          CD    CT    0     Ui    0      0      H     I-’    I       i    ft
                                                                                                                                                                           Doc 22814-28




       0           (0      1      1           0
       I                  CD                  H     H                             H     ft     H     U)    E           U)            (0    0                   Di
CT                 S      0      <            ft    0        Dl     0      Hi     H     E            ft    Cl)         CT)    H      C)                  X     H
(I)                il     ft     0            (I)            1      <      0      0     0      r-t         Cr    Di           0       C)   CD      (0     I    ft
       Ci)         H      H                          to     (C)     CD     0                   CT    Cl)   H     H      Hi                 CD      01    H
<                               C)
       U)          i-’.   0       -          ‘0              CD     H             (C)   Hi     CT)         CD    H      0      Ci     Di   U)      (C)   Di      1
CT                 (C)    J     H             0      5       Cl                   CT    H            Dl                H      ‘0      l                        (C)
Di     S            i           I-’          H.                     ft     0      H     t      <           C)    CD    H              Cl   rt     Ci)
Cl     Ci)          U)    CT                                Hi      CT     Hi     (0    CD     CD    C)    0     X     0      H            CT       3    U)    H
       Cl            J    (C)   CT           ft     H       H       (C)                 H      Di    0      i    C)                  H     Di      (1    ft     i
H•     (1)          ft    ft    ID           CD             0       ft     Cl)    C)    Cl)    H      i    C)    CD    ci     (0     (0    ft            C)
t1-                                          (1     0       5              l-’•   0            U)    C)    CO    CD    ‘CI    ‘C)    C)                  Cl    ft
       (Cl         S      CD    Cl)                 i                      ‘1     I     ‘0     •     CD    1     LI    U)      CD                 CT           CT
                                                                                                                                                                           Filed 08/14/09




Cl)    <           CD     Ct)   cr           0              H              •      C)     CD          I     ft          -       C)          CD                  CD
 )     Dl          U)     i     H            Ci     ‘Ti     0       i-i           CD     H           ft    H     ft            ft    ft    H      C)     DZ
Cl                 0             CD          ft      CV     •       I                          z     H     Ill   CT    ft     )-‘•   CT    CD     CT     CT    5
       H           ft     Cl)                       H                      ‘-<    ft    C)     0     U)    ft    CD    CT     0      CD
CT     Di          CT     (0    ft            Cl)   ft              Hi     CI)    H     Ci     E     ft    i-•                             C)     U)     C)    Cl
0)     CT          CD     Cx    0                    i-i.   S       (Cl    ft     Cl)   CT           I-•   0     Ui    U)     (1)          CT     CT     CT
       H           H      CD                 U)      C)     ).-.   C)             ft    1—•    ft    0     5                         0     CD     0            H
       CC)         I-’.   U)    H            CD     H       H      ft      (C)          C)     CT    l     •     S      -..   U)     5     0                   (0
CT                 0      ft    0            H       CD     H              H      0            CD                )-•   Cl)    ft     ft           CD     0)    (Ii
CU     ft          5      0     0                   U)      I-i.    i-i.          z1                 ft          H                   Di    CD     Cl     U)    0
Cl     0           CC)    U)                 0              0       J                          Ci)   CT          H     Dl     t’     5     Cl                  Cl)
                                             C)     ‘0                     0                   H     CU    Z      •    Hi            U)
       C)                       Cl)          U)      CD            ft      Hi     Di           H     ft    Cl    0     it     CT           CT     CX)
                                                                                                                                                                           Page 16 of 48




ft     0           CT           ft                   ‘1            CT             U)           0                 :i           Cr     01    Ci)
                   H                         CL                    CD      ft                        CT                ‘1     ‘<     ft    Cl     0
Hi                 C)                        C)                            CT     U)           CU    Cl)   CT                        Dl           C)
0      0           CT                        U)                            CD                  Cr    (0    Ci)                       it           ft
H      H                                     ft                                                H           ft                        CD
                                                                                                                                                                     H
                                                                                               CD
                                                                                                                                                                     ‘p.
ro      ‘J     CJ      C\)    ro     C’)            ‘-      -‘                  I-’                  ‘—‘
                       C’)    F              (0     0)            C))    0)     4     C,)     Cs)    E—      0       CD     0)           0)      CD     4      C)     C’)    1*
01             C,)                   0


L              t))     (fl           Cl      C)     J       CD    0                   5              •       C)      <                   0       tr     Di     rt     CD
0              tj       -.    (0     -‘      CU     Dl      S     C:            CD    I-’.    Dl             0)      CD                  H       0)     CY     CD     rt     CD
3              0       5      o      Cl                     Ø                   V             (I)            C:      Di            CD            N      0      U)     C:     Di
               a.      ‘t     -i     i       o                                  ‘i                   n       Co                                  0)     Ci     t—t    Ci
CI)                     C-’           -      CD     C       0     0             CD    -              r       it)     (I)            )    J       ‘1     rt            <      (I)
               C:
0              C)      ‘<     ‘      rt      ‘1     i       <     Ch      )‘    U)            CD      Di     CL                    0)    Cl)     CL
i       r      CD             S              •      0       S                   CD    0)      <       1                            S
        -•             C-’    CD     :i                     CD    C..)   U)     )                    CC)     C—’     0      CI)    CD
rt      U)      CI)    C-’.   1      CC)             C-’    i     (C)    C)     r+    Cl      Cl)     CD      C:     1      0            C-      0      Z’     0      Z      ‘<
                              p-’.   Cl)             Cl)    rt           -      U)                            I      _.
                                                                                                                                                 t-            r      0      0
0               Cl)    <
        C)      ‘             0      CL      S       Cl           CD                          C-.    0       CC)                                        (I)
                                                                         I-’.                 1      tj                            CD    0       C-     Ci     C-I             -
        CD      I-’.    i     CL)            Cl     (C)     rt    S             Di    CD
        ‘1      0      CL)    ZI     rt              CD                                       CC)            Cl      (I)           rt    i       rt     C-.                  I-’
Z                                                                                                                                                                     (Cl
0       r1      Ci                   0       C-•            CD     C-’                (CC             rt     C-’     CD     C-     CD    CD      (I)    1      ‘1            C-’
        Di      (I)     C-’   (-             J      0       1      0     1-’    CD    rt      Cl)            U)      <      (0     CL                   0      CD     V
E
                                                                                                                                                                                          Case 01-01139-AMC




-.      I-”             I     0      0’             C-)..   Cl)   ‘<     (0           Cli             it)    CD      CD     CD           0        CD    S             C-’    0’
        i       i—’                  CD      M..            •      CD    CD     ‘<    rt      Cl             0)       1     4’.    CL)   ‘1       5     CD     CD     LI     Cl)
                              C:
 0’     $-‘     C:            LI             Di                    Cl)   01           CD      CD      tl     Cl)            -      If)           ‘tJ     r+    ‘1     0
 Ci                     ‘     Z      0       C)      b’            CD    -            p..     o       f-’-   CD      ‘<                  5                            5      CL)
 rt            CC)      C))   CL)    0       rt      CI)    01                  0             Cl)     0’             CT)    E      rt    C)      C)     ‘<     CD     CT)    CC’
                              C-’            -                    Ii)    rt     LI    r-t     C)’     t’             CLI           0     I       “i            Cl     rI
 (Cl    0       CL      (I)          rt             1-’           rt      3’    LI    Z       CC)    <               ‘I                  CT)     ID      CO           LI     CD
 J      C:      C-’     Di    0      C-’     rt     C-      f-           CD     4                            C-)     (1)    C)                    CD     r)
 CD     C-’     CO      S     C-h    .1      3’      i      (0    t’     ‘I           (Cl     0       0      i                     J’    0       (I)     Ci    0             rt
                CD      CD           C:      CD      ‘      CD    C-’    CD     LI                   V                             CD    ‘-I..   -‘      CL           1-”    0
        CL                                                                                                                                                     CD     Cl)
                Di                   0       ‘<             CE’   0’            CD                    CD             CU     C)                          <
 Di      3      (Cl     J’    CD     C:              0’           0’            0             ‘1      Cl      Di     CCC    Cl     X     rt      Dl            Dl            C--’
 (Cl    Cl)     CD      0     CL     (I)     Z       CD     0     ‘<     CD     0     1-1     CD      CL)     l)            0)      I    3’      1             LI     0’     0
                                                                                                                                                                                          Doc 22814-28




                              “                       +                                               i-t                   0      Cl    Cl)     P..     Di    C—’    (1)    C)
        <       ‘       C:                   Di             Cl           Cl     ‘I            V               C:     Ci
  1     CD              (Cl   C)     ‘-t..   CL                          CD     Cl    C)      0       p-’.   0)      i-’•   CD     Di                    (0    C-     Cl)    7Q’
 CT)                    CD           0               CD     i”                        C:      Cl      0      Cl       CU           <     Cl       0            CD     C-’
                                                     CD     (0           CL)          0       rt      1              CC)     ‘‘          0        0      Cl    Cl     C)     CU
 <      0’                           Cl                            0                                         -<
 CD     CD              CL)   CD                            CD           C)’                  (I)                           i            C)       3      0            Di     rt
 LI     CD              Ci)          rt      0              (3)   3’     S            CD              fL)     0      0      CC)    CD    C:                    CL)    C-
        i                     Cl)    )‘              CL)    -     0)     0            -       0       rt      h      (0     E      CO    S        (4     C))    )      C-’   Di
 rt                     Di    ‘I     CI)             CO           P..    Cl                                          CD            C:    CD       0            CL     ‘<     Z
 0      C-              $     ri-            Cl)     I)’    CD           S                            rt      C--i   CL     rt     C-’   i        3’     C-’
 I-’    S                     C-’    C-’     0..     CD     X     rt     Di                           3’     (0             J’     rt-   rt       f                   ct     <
 P..    V               Di    C)     C—              U)     o     CD     C-’                  T       CD     CD      Di     Di     U)    (Cl      U)                          C
                              -‘                                                                             CD             i-C-                  0      C-’   I-”     CD    Cj
 ‘      0               CI)          I       CT)     rt     C:    )                    C)     (1)                    U)
        Cl              0’    CD     ‘               0      (Cl          C)            Di             .-t    -                                           (C)   0             Di
                                                                                                                                                                                          Filed 08/14/09




        H-              CD                   H-      Cd)    CD    0      T             Z              C-’            i’     Cl)                          C))          V
        Di              (Cl   Cl     H-                           ‘I     CD                   C-”     S       i-f    CL)                 ‘<              4”           Ci
 C--’   I               H-    CT)    0       Di      CD     S            Cl)           0       (3’    CD       i’                        0        0)                  C—’    CL)
 (0     H-              0     V              i-C’    X      CD     S     H-            Z       (3’            CD     C-”    0            Ci       U)     CO    0      5
 0                      Cd)   0      0’             V       -      0                   C—-’   ‘<                            Cl             -             ‘     i      0      P..
        C-Il                  Cl     CD      rt      0             C-I   X            ‘<              0)      S      (C)                 I—’      CD     0
 C-”    0                                    :3’     U)            Cl)    I                   5               0)            Cl)          I-’      <                   CL)    (I)
        Cl              0     CD     U)      CD      C:     •            Cl            U)     C-’     X       I      Di     Cl                    CD     C—”   C-’    Cl     V
 Z
                        Cl    CL     3’              Cl           “i     Di            Di     I       ‘1             Cl)                 CD       )      :i    C-’    ‘<     C--”
 C-’                                 0       CD             T)    CD                          CD      •              0’     0                           CC)     --‘          Cl
                                                     CD                  ‘-<          ‘<
 (0     C-”             CD    rt     E                             CL)    (0                                 3’      CD     1
                                                                                                                            C-I          CT)      CU                  C-h    0
 0)     C-’             C-I    3’    I       ti      IL)          ‘I                   i-f    Di      (0      0      (0                                  (Cl    J’    C:     S
                                                                                                      C--’           H-     U)                           CD    CD     i      CD
                                                                                                                                                                                          Page 17 of 48




 ‘-I    C—’                   Di             0       I      C)    Cl)    C--”                 i                                                  V
—       C-’.            C)    c-I-           (I)     Cl     Cl                         Di     CL      CL)     3      0      CD           (I)      CL)    Cl    CL)    0      i-f
        CD              0                    Ci             Di     0                  i-I-                    CL)    (I)    <            C))     C-I     C-    C-I    i-I-   C-I
                                             Cl             C)     ti    ‘-‘                          CD      C))           CD           CD      -t-     C            C-”    .<
                        C:                                                                                                                                            0
                        C-                   CD             CD           C))          C-’                                                                C:
                                                                                      c-f                                                                Cd)                        C-’
                        CL                                                                                                                                                          (31
f\)    t\)   )      )J     ()     J                                               I-          fA     A
(31    .     (A)    i,,)   )..A          (0                         01    ,f.     CA)   r3    f-     C)     (0      (A)         01     01            (A)    V’)
                                  Q             C             01


Di     C)    t             Cl     Cu     C)     0             Ct)   E                   Al                          0           .-t    CD     i-I-   C)      1’
U)           I—’.          CD      1     Al     ‘I                  (TI   (0            CD    0      0                    CD    r      tu            Al     C)
cr     cu     s                   PA     C      CD                  Al     i            U)           Al             CD    Cl           U)     CD     Cl)    C)     CD
CD      1     (3                         C)                   i—i   CD    H-                  (C)    c              Al    CD    CD     H-            C)     I—”    Al
U)     C)    ‘<            i      i-s.   Cl)     0            0           i-                   Z     CD             Cl)                              CC)    Cl     (I)
ft     CD                  )—‘    rt            CD     -4     ‘<    U)    0       ()    Cl)                 f-4     ft    ft           C)                   CD
0            ft            ft                          3      (C)   ft    i       CD    Al           (I)    i       )—•         CD     0      I
                                                                    ,             U)    A                           0     0)    CU     CU     CD     0      rt     Cl)
U)     0     Al     C)     CT)    ..     .                    CD
       MA    CC)    Al                          (TI    )-     ID    I-’   ft      Ad    <     0                     1     ft    Al     (I)           Al            (1)
                                                                                                     CT)    U)                  fA     it     0)            UI
MA                  0       J     Cl     C))           (0           I—’   I)
)-     C)    0      (Cl    (U     )-‘    Cl)           01     ft                  it                 Al     01            it     I                   CC)    C)     Cl)
o      CU           n      CU     C)                                Ad    X       (I)         Cl)    (C)    C)                  (C)           Cl     Al     Cd
CD     C     I—     0      i-     CU     MA     CU     -      Cl)   0     i-i-                Cl            -             CD                                Al
‘1     U)    it     Ad     ft     ft     -      rj            rt-    i                               (C)                  Al    (Cl    0             Cl)    CL     CD
                                                                                                                                              )A
                                                       Cl)          Cl                               ft                   CD    it                   (-            Cl)
       -‘    CD                   CD            Ad
                                                                                                                                                                         Case 01-01139-AMC




                                                                                                                                              )A
>                   0             PA     ft     (C)    I—s    ft    (TI   I—.     0           Cl)           •                   Cl)
                                                                                                                                rt     (U     )—A    (1
I      (C)   Cl)                                Cli    U)     Z     Al    CD                  (Cl    Al
0            (Cl    ft     Cl)    ft     CD     Al     C)     CD                  l-•          J     A-’-       0         U)    CT)    (Cl           A-’    P
             0      CD     N                    U)     -      ,—.         L        j          CD     (I)    •                   II            ft     (3’    I      (C)
       Cl)
i            CD     U)     0)     Di     C)                   Al    (0    0       (0          Cl                          CU           Al     3’     0      Cl
       C)    (I)    rt     Al     rt            ft     Cl)                                                  C)                         CT)    CT)    ‘<
                                                                    cs        1   ft          i-f    MA     Al            Cl    (1)    Ad     Al            ft     CD
Cl)    Cl)   ft     U)     Cl            Cu     0             0
U)     l     0                    Ct     A-i’          Cl     T)          (Cl                 ‘      0      0)            0)    )      0      CD                   MA
       C)    (Cl    E             Al     Al     :r     0            (Cl   0                   CD     l      C)                  P.     Al                          0
C)     CD                         CD            (U     C)           rt    Z       C/)         l-’           CD            CC)          i-t           C)     (Cl    Al
Al     Al    3      -‘                   0)     <      C       —‘                             Al     i--’                  CD   f-I     --                         CD
‘<           Cu     C)            0      5      CD                                                                         Al           I      C
U)     i-f   Cl     ‘             i-’                  (C)     j    C)            ft                                                   (C)           (ii    CD     it
                                                                                                                                                                         Doc 22814-28




0       J                         I-”    0      C)     l      IC)                             c      (C)    CD            0     II                   PA     0)     z
ft     Cl)   Cl)                  ft     MA     Al     rt                 1       ID          (IT                         MA    0      ft                   Al     CD
1-’•                CD            CD            0             C)                  Al          C)’    Cl                         ft     0             Cl)    A-
             MA     Al                   it     U)     CD     0           i-      CI)         Cl)    ‘—u    it            0)    CD            tJ     U)      I
CD     CU    i-°    CD            Cu     r      U)     i      1     C)    U)                         (Cl    J’            U)           0             CC     CC)    0
             <                    U)     (I)    ID     rt     (2.   )‘    01      E           Cl     ID     0)            C)’          ft            CD
       2     CD      Cl           CT            PA     I—’    i--                 Cl)           -    CU     ft            CD            J’    C)     U)            ft
                                  CD                   ft     ft    ft    -       U)          C)     Cl)                  U)           Cl)    Al     ft     CI)    0)
       0             0                   (3’
       Al    ft      I            U)     0      i-i-   I-     I-”   )‘                               CD     Al            ft           Al     Cl)    0      (/)     i
       Cl)   0       CD           ft     C))    V      CD     0     CD            (I)                -      CD            0                   C)     U)            C))
                                  0      Al     CD     PA     I     <     *       ft          0             I—’           (Cl   Al     C)     (C)    A-’    C)
             ft                          Cl                   (Cl                 )-‘         Al     C))    Cl)           ‘.    CD     Al            Cl)    0      Cl)
       C)           Al            U)
                                                                    U)                               )      ft            U)    C)     CU     I—i           1      ft
                                                                                                                                                                         Filed 08/14/09




       0     IV     CD                          P.                        V
             )                    Di     0      CD     ‘-3                •                          PA     I-’                 0      C)     CU     ‘-tb   C)     C))
                     CD           rt     MA     (Cl    tC           C)                                                    i-”   Al     (1)           Al     CD     ft
       0     ft      Cl)                               (I)                C)      i           A--i   ft     CD                  Cl                   C)     Al     CE)
       )     —A’                                                          Al      0           0      C      U)                         0      Cl)
             Cl      CD                  -      0      <            11    CU                  ft     I-’-                 0       3’   MA     Al             )--
       ft    CD      PA           CT            MA     CD                 C)                         (Cl    0                   Cl)    i-tb           3      :i    ;:i
       ‘<    (Cl                  0’     C)            Al           ft    CD      CU          CT)           MA            ‘1    U)     f-•    MA     i-’-   ((2    0.
       ‘Ti           ft           *<            (-g                 (U            Al          U)     I-’-                              C)     Al     U)
        CD   (0       3’                               l-’•         I—’   0       I                  I      Cl)                 I      i-.    0             Cl)    (Cl
              Al     CU                  C)            C)                 MA      A-’                C)     (Cl                 0      Cl)    Cl                   ft
        0     CD     r            Cl)    Al     ‘(3    (C                 MA       3                 I-’    C)’                        I—’           0             Al
       MA     0)                  U)     Cl)    CT)    f-’          ft    I-’.    (C)                       CD                         U)     it     Al
                                                       A.
                                                                                                                                                                         Page 18 of 48




             ft                          C)     ft                  t)’   C)                         Cl     (I)                 CT            )‘                   Cu
                     ft
             Cl)     J’           Cu     (V     (C)    H-           CD    ‘-                         CD     it                  CD     0      CD            C)     i—i
                                         -“     Al     CD           —‘    CU      1                  PA     0                   CD     I             (1)
             Al      CD
                                                                    Al        —   0                         U)                                       i-f
                                                                          (Cl
ro    rJ     ro      t)    r3   r’J                                                        ,_
                                                                                                   ‘-
Cfl   4      C)      t’)        0       C)     01     -)     01     0)             C)      t\)           0      (0      CX)          01     CJ     i1    Ci)    t’J   —




U)    rt     C)            -h   ft             U)    C)      C)             H’     TI)     C)      ft          CD       Cu     Ti)   Ø             C4    Ti)    H’
ft    J’     U)            0    0       0            TI      0                             UT                  S                     0     0       C:    (I)    i
      CD     U)                         (CT    CU    CD                            U)      S       CD          C)       Cl    ‘ti                  i     (3’    ft
H’           Cl)                        (1)          (0      t-h            0              13’                                 (C)   U)     S      CD    CD     CD
C)    U.                   ft           CT)    (1     ft     H’             ‘-i    CC)     ‘1      C)          0        ft           0      CD           (I)
ft     TI                       I       U)     CU     H.     (1             5      Ff      H.                           ‘      .     S             0     ft     Cl)
       Cl    H’       3’   CD   H’     -       0’     0      CD     CT)     Cu             Cl      Cu    J’    (1)       CD    0     CD            -h    0      U)    $
      TO     )-      CD    H    ft             I-’    I             5       ft     H’     TO       C)    CT)   CD       ‘<                  CC)          (1)    ft
H’     CD    )-            ‘I   ‘      CI      CD     (0     rt’    13’     ‘      U)      CD      CD    3     Cl)             Cl)          S                   CC)   ft
Cu                   ft                U)                           (C)     0             -                             U)           CD    ‘CS     (C)   Cl     Cl
(3’   3’     a’      CD    C)   CD     U)      ft     Cu                           (0              U)    J              ft     1     (CT    )-‘    0)    1-”          CD
H.    U)             Cl)   0            ft     0      (0     3’     Ci)     •      ft              TI    CD    Z        Cu     CD    CD    0       CX)   U)    H’
I—’   (0             ft    1     Cl    -                     Cu                    H’         Y   ‘ti    -i        —‘   ft     F-h   Cu           -      CD    I      )_i
                                                                                                                                           <
             tI      H’    Cl    Cu            Z      ft     ft     0              1-’     H’      CD    S     CD       CD     C:    ‘1    CD            U)           U)
ft    C))            S     TI    S     ti      i-’    0             I-h                    0             H’    U)       Cl     CD    C)    CD      rt    (I)    (0    ft
                                                                                                                                                                            Case 01-01139-AMC




‘<    I-’    CD      0     C)    Cu     lC                                                         H•    U)    U)       -      CD     3’   U)      3’    CD     ft    ft
             (1)     1     ft   (C)     (C)    1-’    ft     TI     ft             ft              0     (1)                   Cl                  CU    ‘      TI    CD
      CD     (C)    ‘<           CD     U)     I-”     3     Cl         3          Z’      I-”     ‘1    H’    ft                    0     U)                   Cl    1
      CU     Z                   (1)    CD     CD     CD    (C)     CD             CD      CD      (1)   0     Z’              ft    3     ft
      Cl     ft      Ci)                                     CD                                                CD       CD     0                   TI           -‘

             CD       3                 ft     C      C)           Li.             (I)     ft      (0          I                     CU     ft     CC’          i     (0
C).          P.      0.                -       0      0      “(1    TI             U)      3’      ft          CD       (0    (C)    U)                        CC)    0)
      H’                        -‘                    5      ‘1     ‘(                     CD      Cii   C))                                       I-”                0
                                                                                   S                                                 0’     CD           3
             I-.’    CD         C)      U)     i     rti     CD    ‘<              CD      H.      ft    C))   H’       0      <     CD            C)          ‘Ti    (1)
      0.      i                         I             CD                          -        11                                               Cl                        -
                     <                         U)           TO                                     CD          CD       TI     CD    U)                         0
ft    H’             H’                Cl      0      :i     CD                                    Cl     (0            I—’          ft    H’      I     C)    ‘CS
Z’    C)     (0      Cl         Cu              3     U)     ‘1     U)                                    0    Cu       Cl    ‘t     0      a’     CD    ,      TI    ft
      Cu     TI      (C)        ‘i     ‘-t            Cu     U)     ft                     CD      ft     TI                   CD    U)     a’     Cu    Cu     H’
                                                                                                                                                                            Doc 22814-28




o     ft     ‘CS     3          CD      TI     ft     ft     0                     CD      Cu            TO                    ‘-          ‘<      H’    0      Ci)   CD
TI    CT)    ‘(3     0                  ft     0      0      I      ft                     Cl      0)     J’    CD      0      5     Cl            ft    cu
‘I    Cl      0      CC)        C::    TI             ‘1                           Cl     (3       ft    ft    (C)      ft     H’    H’     5                   H.    “)3
                                Ti)    ‘i      C)    ‘<             CD             C)      TI                   0)             (0    (0    i-”           ‘-(    0     TI
CD    ft     ft     ft          CD     CD      0             H’                            Cu      ft     Cu    i—      TO     (I)   CD     1      Cr)   C))    1     rj’
ft    0              3’         Cl     ‘       S      Cl            C)                1    ‘-      r     tQ             H’     F-•   Cu    CD      CD    r-t    (0
‘1           0      Ci)                        ‘(3    Cl)           H’             C)      ft      CD     Cu   ‘1       <      0     Ti)           ‘-I   (            H’
H’    ‘<     I-),   ft          ft             CD     5             0              ft      CD     ‘<     H’    CD       CD     i     Cl)    Cl)    <     (0     ft    C’)
C)    0                         C)         r    J     Cu    ‘(3     (0                              -          ,ç)                   .                   CD     :‘

ft    TI     0                         1       U)    (C)     “l     CD             C)      (I)     Cl           TI      0)     ft          Cl      C)    Cl    Ci)
                    CT)         ‘TI    Cl      Cii    CD     CD                                          ft    H’        3     0                   CD          -l-    CD
H’           ‘1                  TI            ft     CO     (ft    0             0        Cu      ‘1    0     ‘1       ‘<                 5             ft           Cu
H’                  ‘CS          1     0)      Cl)           CD    I-ti           0       (0       TI          CD             ‘1     •     H’      Cl)   o
                                                                                                                                                                            Filed 08/14/09




Ci)   )-)    ft      1          H.     H’             ft      1                   U)       Cl)      1    ‘     S        H’    CD           H’      0           CD     ft
0’     3’           CD          U)     Ci)      3’    T     ft     ft             CD       H.            CD    CC)      H.    F--’   (1    I—’     TI     0    ‘i     3’
H’    CD     0      (1)         3’     0       Cl)    Cl)                                     1   H’     H’    )        (0    CD     •            CC)     0    CD
H’                  CD                         ‘(     ft    ft     H’             ft      -       ft     CD    ft       ft    CU           U)      ‘      0           Cl)
H’    F-ti   ft                 E      Cu                   0      Cl)            0                      Cl)            H.    U)     C)    0       ft    ‘TI   CD     CD
ft    F-..   T      ft          ‘                     S                                   Cu      ft     U)    ft        1    CD     F-C                 CD           ‘1
                                                                                                                                                               X
             CD                        ,1)     (3     Ci)   ‘<     C)             0.      1       Z’     CD    0        (0           Cl)   ft      ft    t-    ‘(3
      (0     0      H’          U      TI      ‘i    ‘<      0     C))            H’      Cl                            U)    ft     C)    i       ‘     (i)   0      H’
ft    ft     ‘-C     1          ‘      CD                          U)                             0      ft    Cl             ‘      CD    CD      CD    ft    (I)    C)
             H’                        U)      r     0’            CD             TI      ft      TI     b’    0        0     CD                         CD    CD     CD
      H’                                                           -‘              —‘
CD           CD     ft          Cl     ft      CD    CD                                   ‘       (C)    CD                                                    Cl
0     (1)    C))    J’                 H.                                         (C)     ((I       3’         (0             T            C)      TI)                E
                    H.          Cl)    0                                                                 )                                                     ft
                                                                                                                                                                            Page 19 of 48




                                                                                   CD                          0              Cl)          0      5                   Cu
             C))    U)          0       3                          CD                                    TI)   ‘              S            TI     CD           0      0)
-            (I)                CD                                  -             ft                     S                    CD           H’     (I)
                                       Cu                                                                CD                   (0           Cl
                                       (0                          CD             CD                     Cl)                                      0
CD
1’)     )     r)      \)       i’)   )     I—    -‘           —                             I-..    4-
U)      ,c    C.)     )        I-    0     (0    0)     •     0)      0)      .      C.)    r\)     ,-.         (0     CD     -      0)     Ui    4



        EY                                 ft                         ft             Cl     J       0     a                   CU                  Cl     CU     Di    Cu
        CD            (I)      Di           Y     CD    ‘1            p-..    -•     i-i.   0       ‘1    1                   0)     CD           Dl     (I)          ‘1
              ft      CD       Z           CD     CD    0     0)                     Cl     (I)     CD    ft    l-     CY     0        -                 0      l—    CD
0       Cl                     Cl                ‘ti    ft    ft      CD                     F      C)                 cr     CD     i—’          CU     CD     0
•             ft               (0                       CD    0                        -     ft     0)    ft           ‘<     Cl)    l-           C)     (I)
        <                                        ft     C)    ‘i      Cl)            ft      l-.    (i          Co            ft            0     CD     ft      -‘     I
C)      CD    CD      0                           3     Ct    Di                             0      ft    ID                  0      (1)    I            0       1
1       ‘1                           CD    CD    CD           (0      Cl      Cl)     I         1         ‘<    C-     CY     Oh                         U)     (0     0
Di      rt    0                                               CD                            -       0           0      ci            0             ‘-   -              ci
C)      ID    01                                 ‘1                   (Q      0                           h     3’     rt     Di            0     3—s           Di
Cl)     Cl    i—i      CD      ci.   cu    Y            H     ‘1       0             H      (J      U)    Dl    Z                          ft     l—     it     l
    -                                it    C)    Di           0       it      CD     Z      ci            I-•   U)      Cl    l      it           I-     0
U)      1
        b             CD       Di                U)     (U    0                      CD     ft      ft    1—’   0       CD                  (1)   CD             i)    0
        ‘1    i-’.             (0    ft          t3     <             0)      U)    <               0     CD    1       U)    ft     Di     ‘1           CD      C3    U)
C)      0     U)       0                    Cl   CD           -       0                     Ct                         ‘ti    :r      t                  U)      i
                                                                                                                                                                            Case 01-01139-AMC




0                                    CD     Di   (I)    L..                          Cl         3   ti          0             CD           ft     0      C)      0    it
 1            ft                             1   ft           0)      C)      CD             CC)          ft           ft                                CU
(1      ft        j   rt             C)    (0    0      (I)   I       i—i     ‘1     II     <       0     0            CD      ]     •      C))   i     ‘ti           0
C       3     CD               Cl    0      CD   (0     ft    Cl       0      CD     Z                          Ct            CD            0     Cl)    ((I    Di    0
C)      CD            CD       Di    1                                (0               -            CD                        Di     U            0
ft            ft               Cl    C)    0     Cl     (0     rt     (Cl     0      ft      CI)    C)    Di    CD      1     )-                  0      )-..   I-’
        rt    1       0                    ci    ii     i-.    r              0              I-     rt    ‘1           0      rt-                   -    rt     <     U)
0)      ‘1    ç       Di       Di    Ci    U)    U)     l      (P     Cl            ‘C)                   0      Cl    E      r      C)     0     0)     Cl)
0       Ci    ft          —‘         Ii)          t     C)                           ‘1     CD                   Di                         Mi                  Cl    ft
                                                              ‘<             <
Cl      ft    Y                            F-.                                       0      Cl      i-•          0      0     tr     Di                         Ci)   :-
        T             •        Di    0     Ct    C)     <     Cl      i-”     ft     <              i.-         (0     (0     CU     C)    I-’    Ci            0     Di
ft                             <     0           0            F-•     ft      T      i—.    ft       -    H      ID           N      CD    F-•     l     1      If)   ft
0                              U)                       Cl    Cl              (I)    CL     0       ‘—.   0      ‘1    ft     Cli          Cli    If)    CD     CD
                                                                                                                                                                            Doc 22814-28




CD      0     CU                     0     Di    ft     F-    0               1      ID             CD    CD     Cl)   0      ‘-            o     (0            M
              Cl      CD       si    Mi    (I)   5      ci.       -   Di      CD            ft                  •      Di     Cl     0                   CU     C)
ft      ft    F-               (0          •     CD     0     rt      U)                    Di      (,                 ft     (1)    ID    l—            I      Ci
‘(      0     CD      0.       CT)   ft          I-’.     -           (       *-f    Di             0     t3                         Z                   CL     (1)   U
Ci      1-”   0)      0        Cl    3                  ft    0       CT)     0      (0     CD      J     Ci)   H             C)           ft
ft      (0                           CD                       Cl)     (I)                           0     0.    0      ft     i-ti   0     .<                   (0
Y             CU          -    ft                0      ft    <1      ft             Cl)    ft      U)          CD                   I-u                 I-..   Ci    C)
        C)    0       it       0     C)                 CU    CD      0       LU     ‘i     0       0     Di           CII     —           i-•           —      cr    ‘i
CD      Cl)   Cl                     Cl)         0                    0)             (0     0       0                  it     ft     ft    (0            i—i    U)    Cl)
Cy      Cl)                    it    U)                 CD    LU                            C))           Cl    0.            Cl)    0.                         ft    C)
0       CD    CO      CI)      CD    CD          V            Cl      ft      (P     Di     CD      Di    Ci    Di      ft           CD     0            0      Cli   CCI
Ci      -      CD     <        -     -           1      Di    CD      0.            0               :i    ft    Cl      0.    0             CD          ‘CI     0
ft                    CD       I—                CD           1)      1                     ‘ti     LI                  CD           0.    CC)           CD     C)    •
                                                                                                                                                                            Filed 08/14/09




               0                                        Cl                   ‘<     Cl                    <
        ft     ft                    1-’                (1)   Ci      ft                                        Cl)    ‘<     3      CD    i—i           ‘-C    CD    I))
Cl)     0.    i—       Di            ft                       Di              U)    Cl      CD      0     ft                         CI)   I-•           Di
Cl)     CD    CD       0       Cl)               U)     Ci    ft      it      0.    ‘-C     C)      ft    0     Cl     i-h    0      )—    (C)           ft
o                     ‘<       -                 CD     Cl)   CD      0.      0     ‘<      Dl      0.          Ci     Di    ‘ci     ft    CD           F-•     0
CD      ft    CD                     F-.         (1)    ft            CD      ‘-C   CD      Ci      CD    ft    ft            CD     r                  0       Cl)   Di
0)      ‘1    0       CT                                CD    ‘-ti            ft    ‘1      ft      ‘1    Di    <      -.     ‘-C          C)           0       3     Cr
                                                                      .<
ft      )i    •       Cl)      0     C—i                      Cl)                   Cl)     F-.     Cl)                CD     Cu     0.    CD                   CD    i—
0       ft                                       CD           C)      ci     ‘CI            0             CCI   ft     Cl    ft      Cli   •            CU      I—’   ID
Cl)     0.            I-             CT          <I     CD    F-•     CD      CD            0                   0            i-      N                  0
‘--.                           0     CD          CD     0)            CD      ‘-C   ‘CI     U)      0                  ft     0      Dl                 P.            i-u
U)      Di    0       )J.      CD                0      (0    F-•     Cl      F-.           •                          0      )      ‘1     c.                        0
        CT    Cl      ID       CD    )-•                ci    ft             0      0                           Di                   Cl    0            ft            I-C
                                                                                                                                                                            Page 20 of 48




LII     0             ‘1       P.    0           ft     ‘-C   F-•     i-.    Cl     )               CD          I-C          Dl      U)    CL           0
0       Ci    0.      CD                         0.     CD    CD      ft                    H       ‘-C         0      Dl    ft
0.      ft    0                ft    <           0      U)    U)             0      ft      0.                  -      ‘-C           0     0.
              0                0     0           Ci                   Di     ‘-t’   0.      CD                                       Mi    CD
                  -                  Ci          0      ft    ft      (0            CD      <                                              1
              ft                     ‘-C         0.     0     0                                                                            CD
C’)    C’)     J        ‘3     C’)    C’)           F-             F-               F-                       C-    •


UI     P.      L)       C3     f-     C)     (0     c              0        UI              W        C’)     I-    0                    -‘i   0)   0)          (0      C’)



       ft                             U)                    C3     U)       II      cr      LQ                     ft          1<                       ft     CD      W     )
Cl
                                             Cl                                              CD                                C)                  0    Cl     U)      CD    :‘
Ci     CD               C))    3      ft                    Ct)             CD      Cl)
‘I                             CD     CU     CD             )—•    ‘ci      CD      0                                                                                  0     CD
1-’.                                         U)             I               C)      CD      ft                     U)                              l    ft     -‘      C)    ft
       CD                      ft     ft                           ‘tI
                        CD            CO     ID            (Cl      0       ft                                                                                 ft
       CD               ‘i     ft            )      0                                                              ft                                                  U)
                                      CD     ft     CY     CD      CD       0       CD      5                                  U)                  CD          E       CD    ct
ft             C)       ft     CD     5      (I)    <                                       CD                     S                          CD   ‘1    1
b      Cl)     ft       CC            ft     Cl     -.                                                             CD                              Cl                  ft    Z
                        I—     CD     U)            0      CD      ft       ft      0                              •           ft                  •    ft     -             C)
CD     E
               1.-C                          C)     ci              -.      0       i        0               I-)               0       3           0    J’             CD    U)
                                             I-h    Cl)    ft      Cl)                      i-h      )                                        ‘<   ft   —.•    Cr
I-h    EEl
                                             ft     1.-s                    ft                               L3                        tx)     0   •    U)     CD      ft    CL
CD     C-..             CD     Cl     C)                   0
       C       0        i-ti   CCC    Z      CD     ‘<             CT       T       CD       ft                                 CD            ci                       Cl    0
       ci      Ci       ft            Cl     Cl            Cl      CD       CD      <           J    C)      C)         C)             C)               0      ft      Ci
                                                                                                                                                                                   Case 01-01139-AMC




5      ft      1.-      CD     0                           CD      ft               Cl)      CD      0       0          I       CD     0                C)     0       ft    CD
C-•    CD      Cl       Cl     CD     ft     ft     1.-    U)      ft       ft                                                                          Cl)    5
       U)                                                  ‘CI     CD       Y       ft      L.                                  CD     J                CD     0             C))
ci                      ft     S      CD     CD             (I     Cl       C-i.    0        Ci              i-3                )      ‘—3                     Cl
ft                       Y     CD     Z      U)     ft                          1           ‘1           <                                              C)             0)    ci
CC)     C))             CD     CD            CD     Y       Cl     (C)      (0       5                                          0                       J      0       U)
U)       1      CD             1      ft                           0        Cl)      CD      •                                 ‘CI                      CL
        Cl              CD     Cl)    Z      C)     U)     ft      i-                                                           (CC    ‘-El                            ft
H-              ft      <             CD     Cl            0         1      ft                                CD        -<      S      Y                ft                   C—’
        i—i     0       ‘-‘•          ‘1     (C)    0              (C)                       I-i      C))    ‘<         CD      ‘—‘•   CD               T              (U    C—’
CV                      Cl            CD     Ci     CD      ft              C))      ft      rt      ‘<                 U)      1                       C)     I—i
                               (I)                  CO      J’      U)      rt       Y’          -                             (C)                      ct       -     U)    Cl
ft      D       Cl      CD                   S
        0       0       Z      0             CD     CD      CD      CD               I-’.    U)       I-’•   CD                                                5       C)    0
                                                                                                                                                                                   Doc 22814-28




                        0             1-’-    1     -               0                 1               ti-    C—’        (C)     U)     ‘-<                             S
ft      C—’             CD     ‘<     1-’    ft             C)      0       CD      (0       Cl)             C-’        )--     ft      0               0      0       CD    tt
        CL      i)              0      —     U)     ft      0       I       Cl       (I)     C--’    ‘Cl                ‘1      0)     Ci               Ci     0             0
ft               1      0       ci                  ‘              P.       CD                                          -       rt                             -I
C)      CD      CL      0        -    CT      I     CD      5                        rt-     CV       CC)                       CD                             i-i,    CT)   CI
       ‘CI              EEl    I—’    Cl)     I             Cl)     ft      C,)      r      ‘<        0)                ‘-<     S                       C---   C--.-   Cl)   0
CD     ‘t,      C--’-   Cl)    I—’                  CD      1       r       Q)       CD      (I)      U)                0       (0     Cl                      Cl      c-F   5
(I)     Cl      ft      (0            CC)    C)     <       ft      0)      C-i.     ft                                 C--i    )      •                1—’    Cl)     Cl)
        Cl)                    (C)           C--h   I—.     U)      1       Cl               Cl                         ‘1      c-C-                            1      Cl    C)
5       0       5       i-’.    CD    C-’    ft     Cl                              ‘-<      I—’-     ft                        -o     txl              Cl     ft      Cl     1
CD      i—’-    CD      Z       ft    0      CD     CD     ft      (C)      1-’-     0      i-ti                                       Ci)              0              0)    CL
        C)                            c-F    Cl     )               0           1    Ci     I-h       CD                0              C--”                    ft      <
        ft                     0)                   0      0)      i-’-     C-’-            C-’-                                       N
                                                                                                                                                                                   Filed 08/14/09




E       CD      ft                    0      ft     CD     rt       tI      ft       E       0        0                 0                               Ci     Ci)     CU    C-”
                CD             C--’   i-h     i’                   (0       -‘.              g        o                 Cl                              U)     ft      U)    --‘

0)     <                       0             Cl)           C))              CD       1      I—’       fi                                                ft                   C—’
c-F     0       CD             c-C-   0)     (1)    i-’.   Cl      C--C-,   I-’      c-C-   c-C-      Cl                                                C-’-   ‘<      C-’   I-’
        Ci                            ‘-C    CT)    C—’    CD      i--’-    )—                        ft                               11               0      0       ft    CD
‘—4     Cl       I             S      (C)           F-’            ‘-C               ft     CCI      -                                                  CD     Ci
                               0       Ci     0             CT     U)       •        0       0                          Cl)                                      -     C-.
       ‘Cl                     ‘1      5     ‘ci    CT      CD     H-                        I-”      I—’                              G)               ft     i—’     U)    0
0       CV      I-’-           CD      CD     CO    CD      C-’-                     (I)     l        CD                               C-i                     i--’
Ci      c-t-    c-F                     1     I             l       C))     W        (i)    (C)       (1                0              CD               ‘1             ft     )
                                             C-.                                                                                                        a      i-      0     U)
C--.    C--                    0       c-t                                                                              Ci
Cl      CD      S              I-ti                                P.       ct              U)                          C--’           CD                Ci    C-’-    Cl    0
                                                                                                                                                                       CD    1
                                                                                                                                                                                   Page 21 of 48




        Z       CE’)                  CV     (0             5                        i-’-   CD       CD                 Cl             5                (0      1
C-—’    0      ‘<                     0’                    CD     1        F-i      1      0         1                                -                 J’    Cl      ‘<
C--     CD                            0                     Cl     0                        0        Cl                 CD
                                                           CD      -t                                                   ft             Cl                      ft      CU
                                      Ci
CD                                    ft                   -                                Cl                                         0                       Y
                                                                                            -                                                                  CV      £1
rc                                           s-     h—.       -                   —                -.

(31   4       (1     J       f-      0       CD     Ct)       -      (3)   Cl)     r       W       1\)      1-’    0                   —1      Cl)     (31      4     ()     t\)    t



H-    ‘CI     Ct)    h       3       Ct)     3’     1                 it   I—’             113              (1)    it           H-     ç       H-      ‘C)      H-    CD      J     H
:-    t-             CU      CD      ‘-      Di     CD                0    I-     )-        0      0        1      0                   I       0       )—‘      J     0      )-‘    0
CD            11)    C)      F-ti    CU                              (C)   U)                      H-       Cl                  CD     L               C)       I            (I)
      0
‘-    Cr      C)     H-      CD      C)      CD     CU                CD   H-     CD       H-                      it                  0       <       it-       0    H-     H-     Cl
CD    Pt      CD                     Cl)            it               it    CD                      0        J                   CD             Di      C:        C:   r      0      0
                                                             Fxj     y                     Fl               ()     CD    -      <      Q       *)      1        (0    CU     Fl
•     Cr             t       Cl
              Di             Di                              1-’.    C))   t—’-             0                              3    I-’.   H-      1-’-    CD             (-I-   1-’
      I—’             r                      ‘1     0
                     Di      i               U)     1        ‘1      Fl     I     (Cl       C:     H-               -     CD    Cl     CD      0                0            0      0
              Cl     H-      H-                     U)       (Cl     •     (0              (0      3        CD     OF           CD     Cl      C:      0              <      Di     ç
      it-                                                    H-                             i      F—-      Di     0      CD    1      i—a     U)      Fli      H-    0      )—     1-’
                                     C)
              i-..   0       —i.         -   L      F-’.                   H-     -.                        Fl     U)    <      C)                                    C:            Cl
      CD      H-     F-ti        3   U)      0      ‘Ci      0             0                H-     (C)      (I)          CC)    CT)           (0       ‘13      it           Cr
                                                             F                    I-I        3      (I)                         -      (C)             F-       J’    C)     CL)     CT
              U)
      o              Di      H-       ‘1     1      CT                     H-               I—”             t-.           H-            0      0       CD       CD    P1     C)      CD
      1      ‘CI                      CD     U)     CD       C))                            U)      H-      (I)           Ti)          F-’-    C:      C)
                                                                                                                                                                                                 Case 01-01139-AMC




              Fl     I--’    I—’-    ‘tI     0      H-        F--’         Ct)     0                               Z                    i     ‘CI       F--’.   C)           (13    it
      CD
              CD             Cl)      Fl                      F--’                ‘13               C))     C))    13.                 (0      Cl)     (Cl      Di    C:      ‘-C   0
       it     Cl      0               CD            CD       -,            Cl)     CD       0      it                     Z                            CT)      C?)   I       0
       J      (P     ‘-ii    C)       (I)    Di     CD                                                      1—’    CD                  it-     0       t—.      CD    Cl      C:    ‘13
                                                             I—I           F-”    it       ‘<       T       0      CD     H-           0       F-ti             -     CD       1     Fl
       C))    C)             Di       CT)    (I)     3
      H-      CT)    H-      U)       I                        -.          0.     r         Ct)     C))     H-     C)     r                                           ‘-C     Cl     0
              (I)            CD       H-     H-     H-       Cl            CD     0)        C))     <                                  Cl’    ‘CI               CU    (Cl
              U)      CD     •        CD     l’                            3      H-        Fl      CD      0             CD           CD      (0       Y       I     H-             F-’
                                                             1—’           C)               U)              Fti    0                           0        Dl      Cl    C))     1-”    Cl
       i      0                       Cl     CD     CD
       o      ‘i     ‘ti                                     C-’-          (I)     -‘.              r                     C)                  ‘II       it            I       H-     (C)
                      CT)                    ‘-CC   ‘CI                           H-                C))     H-            C))          CD      C—’              U)    0.
              N              Fl      CT)     C—      Di      CD                             I—t    ‘13      -‘-           (1)          ‘1      CD       Dl      0
       U)             0
                                             C))                           I                   -                   0      CD                            U)            H-     ‘1      0
                                                                                                                                                                                                 Doc 22814-28




              o      ‘ti     •       ‘—C             Fl                                            ‘13
              I       C-’            CT)     F-”    H-       H-            Cl               F-—’    CD      CD     C:                          Di      ‘ti      H-    T       CT)
              0       CD     t1                     C-.      0             CD     I—.       C-’      1                    (I)          U)      H-       CD       3    CD      U)
       o                                                                                                    CU     C)    ‘ti           C-’              C)      C))          ‘13     Z
       Fl     F-’            0       H-      H-     CD                     Fl     )-‘               CD
                                             C--    (C)      Fl            U)               H-      Cl      ri     0      Di           IC)     <        it      H-    CD      CT)    —-
       CD     C-’            <       0
              H-             C—”     Cl      F-ti   •        CD            H-     Cr        Fl              Cl     C:     Z             3      Di       U)                    0      H-
                      Cr
       C))    CD             C)      C))     F-ti                          Di     C))      ‘<                      C—’                 C—”     Fl               ‘-<   C--     H-     T
                      0
                                                             )l)                  C-’                       C))    Cl    Di            ‘-Ii    t—”      o       a     Cl
       Cl’                   -c      ‘<
       o                                     1-”    CII      ‘-I           Cl     ‘13       H-      N                    C)’           C-•     0        F-ti    C:    CD      H-     (U
       C:     1      CD      F-”      Cr     i      CD                                      0               F—’    t-’   0             C)      C:                      3      0
                     Fl      U)                     C)                     Cr     ‘<               H-       0      0     C:            CU      Ti)              C)    0              F-’
      H-                             ‘-<
                                             H-     C))      C))           0       0        C)              H-     0     H-                             Z       C))   CD      it     F-”
              t”     CD
              F--”           Cr              Cr     C:       U)                             Di      ‘--‘-                              H-      H-       0       Z             Cr    H-
                                                                                                                                              C-’                     C))     CI)   H
                                                                                                                                                                                                 Filed 08/14/09




      Cr      Cr     i-”     CD      ‘1      C-’    C))                                    ‘13      1       0
      0)      C)’    Z       Fl      •       U)     CD       it-           CD     Di        U)              F-ti   Cr    0             Di               F—’     (0    U)            F-—’
      it     ‘<      <       CD                              0                    (I)       C:     C))                                 (I)    CD        CD       CD          t      CD
                                                                           CC)              F--    I        Cl     C)    ‘                     U)       Cl       H-   I-”     C-’
             -       0               t       C)     0)
                                                                                                            0      ‘     Cl)           ‘<      •       (0             H-      Cr     cY
       Cr                    cr      0       Di     (I)      H-            ‘-C    ‘-<       F-’.   <
       C))    N              CD      <       U)              Cr            ‘<     0         N               0            (U            0                CD      Ci)           Cr     C-”
                     <
      ‘CI     0)     CD      C)      C--”    CD     ‘-<      CD            H-     C:        (I)    CD       C:     C-’   Fl            C:                             C)     ‘<      H-
      ‘13     ‘-C    Cl      Dl      C)              0                     3’          —                    I            U)                   H                 Cr    0
       CT)    F-—’           C:              C))                           F-”    Fl        C-’    CD       CD           •             F--’   Cr       CD       CD            0     0
                                                                            i     Cl)       it     I        i      ‘<                  C-’    C))      Fl       H-    Ct)    ‘tI    ‘-ti
       CD     C-’    I--’-   CD              P.         ‘‘                 (13             -       H-       H-     0                   U)     H-       CD       H-    U)      CD
              U)     H-              Pt             i                                              -        U)     C:    CI)           it          -            CT)           Fl    (C)
       Cl
                     V       0       U)             0                      C)               Di                     Fl    0             CD     U)                ‘-C   F-”     Di
                                                                                                                                                                                                 Page 22 of 48




       C:                    F-h                                           Di               i      p        Di                         I               1                     i-i-
      ‘C)                            H-             -                                       Cl     U)       I      i—’   Cr                            0                     C--
                             it      Cr                                    CD                               Cl     --    (11           H-                                    0
                              3’     CD                                                            t--t            ii    C)            0               I                     Z
                      V      CD                     CD                                                      C))    CD
                                                                                                                                                                                           r\J
                                                                                                                                                                                           0
1)     i)     to     13     J                  fr    fri    a     ga   fri   fri      a      fri   fri
CR     S      (0     N     fri     0     Q     CI    ‘4     0)    0)   S     Co       N      fr    0     ID    CI    ‘4    0)     CR    0     Cd     13



                     ti            ‘S          zs                 a    ‘a             ‘a     a           a     it    ft    ‘4     it          it     it
                     ‘a                        ‘S    •                 it                    ‘s          ‘S    0     a     o            ‘a    a      Di
a‘a                                a
                                         ait                                 aa
‘a                                                                p.          it      aa     •           a           e                  it   a
       a‘Sc’a‘s                                a                       a                                 •
                                                                                                                                                      aa
                                                                                                               it
                                                                                                                                  a‘S   Di
                                               •
                                   aa    it                                  e        a
‘a
                     oa’
                                   0                 •            0                                            Di          ‘a                          a
                                                                                                                     aa            a         a
                     ‘4                  Di                            t
        a‘a ona
0        a    a            z       a     a     ‘            H     it   a              it     o     ‘-3   c-i   a     it    a            C    ‘a            H
                                                                                                                                                    ‘a     a
                                   a     it    o            at    Di   ‘4
                                                                             a‘a      Di     4     Di    0           0
a      G      a            o                                                                                               it
                                                                  a                          ‘a          Di    0     a
                                                                                                                                   aa
‘      .                                       Di    ‘S                                            a                                    aan,aa       a‘S
                                                                        ‘a   a               a           a     a           a-                              a
                                                                                      ait
       ‘a      I     ‘-3           i-i   it    a     a      Z     ‘S
0      it      I     Di            ‘4    ‘a    a     a      ‘a               0               N     a     a     a’    p.    a      Di    it    a     it     a
                                                            ‘-a
                                                                       ait   a        a            4     o     a           it     a     a     a     ‘a     ‘4
‘a     a             a                               a            ‘a                                                                          p.
       •      ‘a           a’      ii                       i-a   a    0     it       a      it    ‘a    a                        a
                                         aa ao
                                                                                                   p.    •
                                                                                                               ait   a‘p                             aa    a
                     ‘a            0                                                  ‘4     a’                            a            a’
aa
                                   ‘1     ‘it        it           ‘    Dii                   a     a           a           a      a           a      •     4
              uIt          ait                              a’
       H             ‘S                              Di     a     ‘a   0     ‘a       0      it    a           a     o            a     wt    ‘a           a
                                                                                                                                                                        Case 01-01139-AMC




                                          ii                                          ii           a                 a     a’     a           ‘a           a
 a‘S   it     ‘aid         t
                                   aa     o ou       a            a
  a                                            I-.   it                                      E     a           ‘S          ‘S     a     a     ‘a     a     it
                                                                  ‘a                  it                       a     it    a            ‘a
              ait    oa    aa       aa         p.           Di
       t                                 a                             a     a                                                          p.
  a    a       o      a              a   a           it     a     ‘a         it       Di     •                 ‘a    a”    d      P.          ‘a     a
       a                   it      a’    w     a”                 4    a              a            ‘a          a     a     c      a           a      •
a’                                                   a’                                                                                 a-
o             a      0     a’      ‘a    ‘a    a     a       a ‘a      a     a               •     ‘a          it          Di     a                        a’
0      p.     0      ‘i    a       a     a           ‘S      4    a    p.    it        a           ‘a          a     a     it     a     it    t’     -,    a
,..    .                                       Di    a       ‘am                      a      a                 p.    ‘a           ‘5          ‘a     o
       a             it    ‘a      a’          a             a         a     it       a’     ‘S    a’                0     Di     ‘a    E     a’     Di    a
fri           aa     Di    0       a     it    ‘S    t       a ‘a      I-h   Di                    a           p.    it    ‘a     a’    0     a’
                                                                                                                                                           ‘a
                                                                                                                                                     aa
                                                                                                               ‘a          a      a     ‘S    ‘4
                                                                       ‘t
                                                                                      aa     aa                      a’
to     oa            a      ‘S     a     a-    a     a       a               a
              ait          ‘a      a                 a                                 it    a     ‘a          a     ‘a           p.    N             0    a
                                   p.                                                               ‘S         a     a     a      •
       4a                                ait   ap.           aa ait                                                                                   a
               ‘S    a      0
                                                                                                                                                                        Doc 22814-28




3
                                                                       aa    r
‘a      ‘S           ‘a                                                 it   ‘a                    ‘a          a     q     ‘a                              a
                                                                                       oa
‘a
               ait         a       a                         o
                                                                  a-         a’
                                                                                              a0   3           a     •     0            Di    (0)          0
                     a                   ‘a
                           a
                                                     ao           a
                                                                                      it           a                       it
        ap.                              ‘S                            it    a’              ‘s                a                              a’
                a    a             a      a    ‘-3   N
                                                             a Di      Di    ‘4       Di           ‘S                      Di     Di
                                                                                                                                        a‘S
                                                                                                                                              a
                                                                                                                                                      aa   p.
       it       ‘i         n             ‘     Di    a        it  o    a              a      N     ‘a          it          ‘a     a      a                 ‘a
o      Di       o                  ‘S    ‘a                   Di                      it     0     i-a         Di    Di    a            •     4     ‘4,,   ‘S
                     aa
                     p.                                                                                        a     a     a      a           ‘a     0
                           it
                                               a‘S            a
                                                                  aa   ‘a
                                                                             a‘a                   ‘<                                                      a
               ‘S
                                                      oz
0      a                                                                                                                          ‘a
                                                       ‘a                             it                       it                             a      0     a
       ‘S
                                         ait
it                         Di                                          a
                                   aa                                                        ao
               a                          ‘a
                                                a                 •
                                                                   a    a
                                                                               aa     Di      ‘a   ‘i                      Di     a     Z     ‘a           ft
       a             a     a        a                  a    ‘a                                                       a
o               a    ‘a                   a      *     p.              ‘a             a      ‘a    ‘S          Di    ‘a    0      ‘a    a     it     N
                                                                                             it                                                            ‘S
                                                              a‘S      ‘a                                                               n
‘i     ‘a            ‘a             a-    a                                   a       ‘4           o                 a            a           ap.
                                                                                                                     ‘a
                                                                                                                                                     aa
                     ‘a                                     it
                a          a‘a                  aa   aa                a                     a     U           aa           aa
       a                                                                      ap.                              ,                        a-           *
                                                                                                                                                           a‘a
                                                                                                                                                                        Filed 08/14/09




‘a     it            z                   a     a                                                                                  a
              a’
                            aa
 a’    Di     a      a             o           0     ‘2’               it
                                                                                      fl’a   a     Di                ‘a    aa           g           -
                                                                                                                                                            aft
                                                                                                                           p.                                ‘a
                                         ap.                                                                   aa
                                                                                             ‘i    a                 a            Di                 a,
              it                                                       Di
                                                                                a‘a   S
 a’    a             a       a     *
                                                                                                                                                     ‘a
                                                                                                                                        aa
‘4             a                   ‘a                a      it         a     ‘a              a                 a                  a           a              a
-      ‘a            it
                             ap.         ‘a
                                               aa    ‘S     Di               ‘a       it     ‘S    it                it    ‘a     a     a            p.      a
       ‘a
              aa       a
                                   aa
                                         it     p.          a          Di             0      a     a           p.    Di    it           p.    ii             a
                                               ‘a                      0                                        ‘a                            a            Di
                                   IQ
                                                     a0                      5                                                    a’
a      o
       o       a           a‘a     a                  a
                                                                                                   ait               ait   Di     a     S     *
                                                                                                                                                     aa    ‘a
a                    a‘a   ‘a      •
                                          z     aa          a                0        a      it     ‘a                      ap.   a     o             it   ‘a
                                                                             ‘a                                      it                 ‘S    0
                                                                       aa
                           ‘a                  ‘a     it    ii                                                                    a
                                                                                                               aaa
H             a       aa                 aa           a’    a          S     p.       a      ‘
                                                                                                    a0          0    Di                 N     a      S     a’
                           a              a    a’     a     a          ‘a                            a                       a    it    a     a      a
                                                                                                                                                                        Page 23 of 48




                                                                                                                                        p.           ‘S
                                                                                             p.
                                                                                                                aa                                          ait
                                                                             ii                                                               a
                                                                                                                     ait          0
a      ‘4            a     it             a          it     a          4                           ‘4
                                                                       a     ‘a                                p.                 ‘a                 N
                                               aa           a                                                              a0
‘a     Di            a                   it
                                                                                                                                  p.
                                                                                                                                              a‘a
z      a      a      p.                         ‘a          a          a     a               a     o                 ‘a    a                               aS
a             a                                 a           it               p.              a     ii          ‘a    a                        0      a     a
‘4                                                          •                                                  a     p.           it                 it    a
a                                                                                                                                 0           aa                  ‘a
                                                                                                                                                                  I-i
C3    (\)    )     M        (‘3     (‘3    l-    I-’    )-       C-     l-      C-4    I-     i-     C--’   l
             ()             )-‘            CD    cx)             0)     Ui      C-     Li)    )-J    i-     0      to       tni     I-)     0)     Ul    I      Li)   (‘3     C--’
(3’   4            £‘3              0                   -)


V     rt     Mi                     1-i.         l—     <        Cl)            rt     1             <      i-i.   ii.      h)      CD      :7;-                it            (C)
1     M                             Cl)          0      CD       Ci              Y     CD     CD     CD     :3     :3       1—-’    it      :3                  0     CD       (0
o     cii    0     Cl                            0      ‘1       cr             0)     C-h    C-’-          it     it       CD      Ii      0                         U)       rt
C)     ‘                            o                            Cl)            it     CD     (0     5      C)     0        )        CD                         CD    it
CD    CD                                         CD     I-i.     it                    II      3     I-.                    CD      :5      :3                                0
                                                                 0)                            it    C)     0)     it               CD             0)    <      Cl    1-i.    0
CD    Mi     ft    rt               CD     :7’          C)
(I)   CD     :-      -      0       •      CD    )—                     CD      CU     CD            Ci            3-       CD       CD     C-’.   U)    CC)    Cl)   U)      3
                   U)                            1      1-       C)         -   CD     Cl     --     i—      Y     CD       0               it                                Mi
•      1                                                                                                                                                              C::
             CD                                  :7:;            CD     C—’                   i      C--.   I—’-            II      U’                   El     it            Ci
                   ci)              C)           CD     it       C))            (C)    i-I-   CD     it     10     Ci)      it      CD      it     CD    )—•    :3•   Cl)     U)
      V                                                                                                                                            CD    C)                   (0
      0      Cl)   :‘       it      CD     CD    •      CD                       0     0      Ci     CD            Ci               C)      0                   CD    Ci
      )-•    0              :3-            0)                           CD       t)                                CT               0’             :3    Ci           0)      Cl
Cl           M     0        C-’.    Cl                  CD       it     Z        CD    CD     U      C)      3’    CD       0       Ci      U’
                            Ci)     CD                  Mi        3’    0              U)     it     CD     CC)    it       Mi      Ci)     CD     i     I-i,   )-    )—      0
      it     rt    V
                                                        it       CD             C-h           C-’-   Ci     CU     ci)              CD             CD    Pt     C3    <
                   CD               :3
                                                                                                                                                                                     Case 01-01139-AMC




ci’          0              El      C))    l--          CD                      M      E       i     Cl)    it     :3        Ct                    CD    CD     0             rt
                   :3
C))          Mi             I-...          P                     <      1<      0      0      CC)    CD            C)        :3                    Cl                 :3
l-.   ft           El       :3                                   CD     0       S      ‘1            CC)    V      CD        C-     :3-     Cl)                       0       0
C)    :3.    0     )-‘.     CD      rt     U)           I-’.     ‘1                    5      it                                    CD      Ci     0)    U)     Cl    1       Mi
             V                      CD                  it       S              0)     (1)    <      I-’-   0      it       (C)     :3      C:,’   U)           0)    rt
ci)                :3                                                                                                                                                         1-i
l-    it     CD    )-       0)      x      i                 -   C-”    V                     V      it     C)         3’    Cl)            (I)          CD     El    3.
      ‘       i    :3       :3      it     U)           U)       C)     3.      Mi            CD            CD     CD       -       C-’     it
                   (C)      £1             CD                    Ci     0       i—i    CT            it     CD     it               ‘-C     CD     :3    <            ci)     c3
-     C)     :3.                           Cl           CD       C-’    it      0)     CD     0      0      UI               0                     CD    CD           ti
                                                                 I-i-    0      it     C)     )-b                  C-”       C      U)      C)     Ci    ‘1           Cl
                            S                           x
rt    U)           0                 5                  V        it     (C)            CD            CT)    CD     (I)                      CD
             )-    V                tQ     :3           CD       CD      M      C-’            U)    X       1               U)     S              CD                 CD      CT
             it    CD       I-’                                         Ci)     C--    CD      Ci    ‘ci    Cl     El        Ci     C-’-    C)     rt                 0       U)
                                                                                                                                                                                     Doc 22814-28




CD    0)
                                                                                 it            U’                  CD        U’      :3     0)     .     CD           C::     C)
       i     0      1                      CD           Cl       CT     V              CD             0)
                            E                           CD       CD      3-      it            CD      3    it     ‘1        Cl)     CD     C--’   o     ‘1           it      Ci)
El    Cl     V                                                                                                                              C—’          U)
                   0        CD      CD      i           Cl       Mi     U)       I-    C-”     it     Cl     3’              it      Cl                                       Ci
                                                        -                        CD            Cl)          CD     CD        ci)            CD     •     0)           •       U)
)-‘   ,-t    ci)   V        ‘1                                   0                     rt
             :3    CD       CD      I-,.   El                    M      0                       1    0)            it        1              Cl           it                   CD
      CD     Cl                     o      o            CD       CD     -ti
                                                                        1       V      -‘      C)    i      S      CD        C)      1-’-
:3                          CD      ç      CD           0                        C--   0       CD    Cl     0      Cl        (C)     it     N                         w       z
      :3           0)
(C)          rt    rt       CD      Cl)    ‘1                    C--    Pt       CD    0                    C-’                             0            CD                   :3-
                            it                                   it      Y       C)                  C-”    CD                       CD     :3     I—.                rt      Ui
V     CD     CD    0        0)      0)     0            0          -    0)       CD    U)            it     it     C—’                      0      o     V                    it
             1                             Mi                    CD     it                     Cl)          Ci     ii-          r    S      C-’    it    M            I—
      :3           Z        0’
o     Ct     U)                                                         -        0     Cl)     0     Mi     1      i—’-      3       C-’    C-’          0            it
                                    Cl
                            C-’.                                 CD              Mi    0      5      0      CC)    El        Cl      :3     it     o     Cl               -
                                                                                                                                                                                     Filed 08/14/09




C)           Mi                                         0
CD           CD             CD      CD     CD           0)       X      it             M      CD     M             CD                CD     CD     Mi    C::          Cl)     it
       rt
Cl)    :3•   ‘-I   -3       :3-                                  V                     it     it     El     C--    it        it      C)                  C)
U)           M              CD             CD                    CD     CD       CD           C--    U)     1      CD        3-                    V     it           I-•     l-.
       ‘1                           :3
       0     CD    CD       Cl      Cl                  CD       i               ‘1    0      5                    C—’       CD      C-’           CD    •                    :3
C)     :     Cl                     ‘1                  CD       Cl     it       S     Mi     CD     CD     it     <            3    :3            o
o     (0           0        0                           CD       CD     E                     CD            :3-    -                               V                  S
             rt             1<             I-I                   Cl     0        C)    i-’           <:     CD               it      C—     Cl                        C-I.    C-’
                   M
                                    it                                           Ci    C-”    C--    CD            C-”       0       1-’-          CD    it           1—      CC)
U)           0     CD                      :3
1—    )                     N              CD                    CD     Cl       C—’          ct     ‘1            it                it     C-”                       CD
CD           CD             0                           0)        3      —-      C-’   CD       -    ‘<                -     C)      it     it     3.    CC)          U)      CD
it    El           CD                :3                 it       Cl     Mi       Pt           U)                   Cl)          3    C—’           CD                         ci)
CD                 U)       0       (C)    0)                           Mi       CD    0)            I—                      (1)     CD                  V            0       CC)
                                                                                                                                                         Cl)
                                                                                                                                                                                     Page 24 of 48




Cl                                   CD    it                           CD                           i-’-          V                               CD                 Ci      it
                    it      C-’                         ft              ‘1                           CL)           Ci       (C)      Mi                               it
o                  0)       it             0                            CD             0             CT            it        CD     C--’                 Cl                   Cl)
Mi     :3           :7:;-   CU             :3                            3                           it                             0)      ‘-C          U)
      CC)           CD                                                  it             S                                            it                                        Cl
                    :3                                                                                                      it              U)
tO    10    10    ia   SO   tO      ‘a   ‘a   ‘a   ‘a    pa    ‘a    pa   pa    pa   ‘a
m     a     C.)   10   pa   0       sO   m    ‘4   S     a.    ft.   Co   t3    ‘a   0    40    W    ‘4    0*    m    a’    Co    i)    e


0     it    ‘a    S    5            4    ‘a   S    ‘a    0     ft    it         Ø’   it   it    ‘a   S     ‘a    it   4     ‘a    it    tl•
a                 ft   a            a    it   a    ft    e     a     es         a    b’   ‘     ‘a   o           U    a     ‘s    U     P
                  Ps   •            Ps   a    ft   fl    it    0’    ft              a    P5    N    U     a     a    ‘S    0     4))   W
a           it    s’                a              it          a     S          ‘a        a     a    i-•   a          S     a
a     4           a    ‘a           ‘a   it   0          0     0     0          ‘1   ‘t   a          p.    ‘a    a    ‘a           i
      •     a     it   Ps   >       C)   b’        0     Pt    it    ‘a   >     0    ‘a   D’           it C           C)    0      I    SQ
it    n           ‘a   a                 a    ‘a   is          a     ‘a   a     a    ft   ‘a    H    a ‘a a           U     it
            ‘a         p.   s.c     ‘a        a          it    a     it         a    w               oit              ‘a          S     it
                  q                           g                •          H                     a                     ‘a    0
      a‘a     s                                    it                           a                                                 U     D•
                                    ‘a   o               z’          a               a    m
                  •                                      ‘a          a          a                U   ‘a    a          it    is    a     •
aIt   C)     0         0    ft      it             b’                                                            ‘a
                                              0
it    U      a         a    ‘4      •    a         ‘a    a                a     a    a          ‘a   a           ‘S   a     a
      ‘a     g         p.   •                 ‘a   0           ‘.3   ft    ft   p.   ft         ‘a         ‘a    0    •     a           S
                                                                                          aft
it    ‘a    C)    H                 a    ‘a              ‘a    b          ‘4    •    it   0     a    it     ft   a’               it    P
a     it    it         o    ‘a      a    a         5      .1   ft    P    a          a    U     a    U     ‘5    ‘a         o     U     I
            •               it           o    it               it                    is   ‘a    a    a     it    a    ‘.3         a     it•
                                                                                                                                                    Case 01-01139-AMC




      a                ii           ‘a                   a                                                                  0
Os                Pt           0         ft                          ‘a   ‘a         ‘a   z     a    ‘4    ‘a    a    U     it          I
a     5           ft   o    aa           it                          it              ft   a                           ‘a          ‘a
      ft    >     a    it   ‘a ‘a        ‘a   it   a                                 ‘a         ‘4   Sit              a     a     ‘i    ii
a     a     is    it   ‘a   a  it        0               it    a     ‘a   it              0      0   o‘a U                  ‘5    0     0
 DC                    ‘a      a              ‘s   a                 a    U          it   ii     U   0     ft    ft   ‘a          a     a
‘a    a     a          ‘a       -             a    ft    a’               ‘a         a               ‘a    “I    it   a     it    a     ir
 ft   0     ‘5    it   N    it      it   S                           a    a               ft    C)   p.    ‘a               U     a
                  U    a            U    U    ft   0     Pt    Ps    a               ‘a                    ‘4    it   it    a     a     Ph
a     a     €t    a    a            ft   a    ‘s‘.b      0     it         ‘5         ‘5   0          U           U    U                 ‘S
a     a     U     ‘4                it   n    aa         ‘s          z    o          a    o          a     ‘a    a    a     a     a     o
a           a          Pt   C            a    a o        a     o     ‘s   o          a    a          a     Z     ‘4         ‘a    ft    a
      it          a    o    a       it             it          ph    •    N          ‘a   a’                          ‘a    ‘a    a
                                                                                                                                                    Doc 22814-28




‘a    “s    a     ‘a   ii   ‘a           it   a’   U     it                          ‘a   ‘a         a     it    U     ‘S   *-‘   a     it
z     ft    it    a         4       a    U    a    ‘5    U     *     W    S                          U     U     ft   o     a
      it    U          ‘a   a       ‘4   a    a    ‘a    a     U     ft   ft         it   a          ft    a     a    0           0     ‘a
o     a     it                           ‘5   ft         ‘4    ft    ‘a   a          ft              N                a     ‘a          a
it    a     is    it   ‘s   a       S    a         a           rr    N               it   0          a     a     ft   a     it    it
U     a                ‘a   ‘a      a                    S                           a               ‘S     ‘1   it   •                 4
a           z     S    a    it      ‘s   S    a    .     ft                                          a     ‘4               5     0     I
t5    it    ft    ft   a    U       a    ft        ‘S    ‘5     U    D               0    N                      ti   it    ft    Pt    ‘5
      U     a          a    ft           a    it   a     $      a    p.   ft         U    ‘a         ft     S    ‘a   U     a           a
ft    a           it   a    it      S         Un         a     ‘4    —               at              z     ‘a    o•   ft          St    ‘a
.                           ‘a      a    it   ft a       it                                          P.    ‘a    0’   it    a     U     a
a           o     it   a    0       es   U    it a       a      5    ft   ‘S         ft                    ‘a    ‘4         a     a     U
ft    it    u     o    Pt                ‘a    - a       p.    a     it   ft              it                          a     a           ‘a
                                                                                                                                                    Filed 08/14/09




a     ‘4    o               a       ‘a   a    a    •           n     a    ‘a         a    U                      ‘5         a     a     ‘a
•     ‘a    a     U    a                      a          ‘a    a     p.                   ‘a         ‘S    0’    ‘a   a     z     ‘a    at
       ‘a   Z     ft   0    5       q    it              it          a    ‘a         it              a     a     a    a     it    ‘a    I
       0    it    C    a    U            ‘5   ft   ‘.3   •      it        Ii         U    C          a     0     U    a     ‘a    ‘a
       ft   n     a    S    a       S    a    a    U            fl   ft   o          a    a          D     ft    it         ft          a
       ‘a   ft         a    n       ‘a   a         a           ‘4         a                          a     e           U    ‘a    0     0
       ‘a   it    it   ‘s   a       it   a    H                ‘a    Pt   g               ft         ‘s    a     ‘a   ‘a     ‘all
      ‘4    a     U    a                 ‘a                          a    a          a               a     a     z          ‘4          al•
            a     a    ‘a   ft      •    ‘a   g    ‘a    p.m         n    it         a    a          a                0         5       U
      ‘a    a          ft   a            it        a’                S                                     S     it   ‘S        U       ft
      it          ft   ‘a   a’           a    a     a’   it    it         a          0    a          a     U     U    a           a     at
            ft    a         a                 a    ‘4    U     0     a    ft         Pt   ft         o     ft    a    ft
      S     Pt    a’        a            ‘a   Ps         ft          ph   ‘a         Pt   U          S     it         it                S
                                                                                                                                                    Page 25 of 48




      a     it    a         it                a    a     it    it         ‘a              a          a                ‘a          ri
      U     a     a         a                 it   ‘a          ft         a          ft   ‘a         it    it                     U     I
      ‘a    ‘s    it        a            it   ft   ‘a    S     N          P.                         U     U          a           a
      a           o                      U         ‘a    ft    a                     am              ‘a    a
                  a                      a    p.         a
                                                                                                                                              Is)
                                                                                                                                              Ca
                r’3     CO    tO      CO                           -             t-
 (ii            C)      CO    )-      0     (0     0)     -)       0)     CIt    4      (0      CO     t-     0                     ..,,i    CT)    (3)           C.)   CO



 ft      C)     0             ft            )•    tJ      I-       DI             ii    t-                    ft             )-     i-              CD     0     C)     0
 r       r      Mi      t0                                                0      ‘1     rt      )-                  ).       CO     CD              X      )     0      1
 CD      Dl             I     CD                   0                      C)     0                                                  0)
         1      it      ft                         Er     Dl              0)                                  iT)   CD      0<      C.              Di     CT)   ‘ti    (CT
        (C)      Y      CD    0)            CD     CU     CT              ft            Di                                   CD    -                       CL     Dl
 Di      CD     CD      M                   (5’    CT     0        Er            rt     (I)     Di     F-           Di       Di                     0.                        Z
                        it    ‘1      b     0)     )-     Cl       CD     0      T                                                  0)       •     )—      it    0<     Dl    0
                 Di                   0)          0<      rt       ‘1     1      CD     ft      CL     CD           CT.      U)     Z
                              U)      rl-                                 U)                                                        CL       0     IQ      CD           I-’   -
                0       CD    0                    U)     1—       0      -      <      CD      rt     CL)                   CU                                  )-•    0<
         0      Cl            S       rt           I—..   ID       Ct            CT)                                         Mi     ft             ‘ti     S     ft           0)
         it     i             ID       3          (C)     ‘                      ‘1      0.     CD                  I-.      ft              C)    )-o           V      0     0)
 Dl      3      ft      I-I   it      CT)           1     0        <             5       ‘1            Di                    CD     -.       ‘i    Di      Ii
         CD                          0<                            -      U)     •      0<      ‘-t    U)           •               Tn       Di    1       CD    r      i     -
 .       t      0      (0     I--                  Mi     U)       (1)           C)             0)                                           C)    Ct            CT)    CD
                                                                                                                                                                                      Case 01-01139-AMC




 o              Mi      Ii     Z      0.           I-.    0                      Cl     S       C)     Di                    C)              CT)   (1)            Di    P.
         U)             CD    (Q      )-           C)     S        i-i-          i—     -       t—’•                         0      0                      ft     C).
 0)      I—      CL     U)            CL           0)     CT)      U)            i-j-                  ‘TI          •        11     Cl       M      0      tr    ,t      Er   CL
 CT      ft      Cl     (C)   i—.                  11     rt       •             rt     )-     )-       ‘1                         I—a             ‘TI     CD     Cl    0<
         Cl     U)      •     I-•     )--          rC     )--             W      CD             ft      0           T)       Lt    CL        ‘1    CL)            Di          0
CD       Di     cC                    U)                  S               0)                   0<       Er                   0               (0    ‘1      5      ‘1    N     Di
         ft                   CD                   01     CD              I-’-   it                                                T         rt    Di            it     0     it
 C)      t—.     CT)    C)            ft           11     -        l      N      Y      CD     ‘-Ii    CD           C)       1     Dl              rt      )—    CD     Ii    itt
 o       0       X            ft      13           Cl              CL            Dl     ‘      ‘1      5                    U)     <         CT    CD            ‘1     0      CL
           1    ‘TI     CD     r      CD                  CT              )—-    ft     CD     0                    0)      0      CD        CT)   C).    -      C))          -
 C)      U)      0      1      CD    0<                   Cl       ft     11                   5                    C)      II               C)
 CD      •       (0           0<                   )--    it              0.            it             )-.-         ID              ci       0)    Cl      Di    k-..   ft    ).
                        ft            ft           I-’             ID     )-‘•   Dl     r      rt      ft                    (I)    ID       5             11           CD    it
                                                                                                                                                                                      Doc 22814-28




 rt                           TI      CT)          I—’    ft      0<      CI     (I)    CD     :3      T                3    ft     CD       CD    Cl      Cl
t        0      Cl)     CD    0       U)                                  Di            Cl)    CD                   Dl       Di      1             ID            C)      0
 Di      ‘1                           ft           CT     CD       0      ft     ft     CD             Cl           U)       II              t-•   II      (0            0    0)
 ft      I-’.    C)    0<      3      Cl)          CD              ‘1     CD      J             CT     Cl                   ft     In        II            0             S    U)
 i—.    IQ       r      CT)   CD      Cl                  i
                                                          t
                                                          -
                                                          1        I-..   Cl     CD     ‘1      (1)    U)            0      CD     0         <             S      C)    ‘TI
 o       t-•     CU     Di    i                    (I)    I-i-    (C)     -             0      CC)     it           ‘TI     CL     5         0      --     CD     Dl     Di   it
    1    II      3            CD      Mi           T      ‘1       i--           CL     C)     ‘-i.                  CD            CD        I-    C)            (C)     11
•        0)     CC)    U)             0            0      (1)      11     ft                   II      Dl            ‘1                     <      CD      II)    0     0<    Cl)
                 ID           I-’                         it       CU     T      U)     CC)    Il      rt            0)     0               CD     1       X
                 P.            1                                   )-     CD     it            I-•                   ct     ‘1     0        0.     (0     ‘tI                     I
 L’     0<             ft             ft                                         i-’-   0)     I       ft           CD                             CD      0)    Di     Di        I
:i              Di      J     Z       Ii           ft      CD     0<      01     IT)    Il     (C)                  TI             ft                       1    U)     1:3
Cl      C—’-    U)     CD     t—’•    CD           C)     ‘TI             0      U)     £1     •       CT)                         0        Z              0.           CI    rt
                                                                                                                                                                                      Filed 08/14/09




        it                    U)                           0       C)     0)     rt                                 t-’     (CT                            )-‘   t-i
I--’-           0<     C)     U)     ‘TI          0<       II      01     ‘1            Cl                          cC                      ft             1:1                CD
cC               C)    0      0       Cl)          0       ft      5      P.     0      CD      T      C-                    Cl    (Ti      li            (C)    ‘1     it
        0)       çl           Cl      ‘1           Cl              CD            Mi     Cf     U)      CT           C))     ‘Cl                                  CD           0
‘CI     U)        -     C)    i—     ft                   ft              0             ‘1             Cf           i.•            0<       Ti)           ‘Cl    C)     E
                <       CD    Di                   C-     13       Cl     Mi     it     t-’•   1-1     0<           13      Di      CD                    I-’    Dl     Dl    CD
CD       U)     CD     ‘TI            C)           U)     0)      ‘it)                  U)                          C)      it      CU      ft            Di            U)    ‘1
C))     ‘(I             ft    Cl      Cl                  ft      -              Cl)           I-’•    S            CD              ‘1      13            13                  Cl)
Cl       0      C))           ç       -‘           ft                     CD            DZ     1:1     1-..                 ft      (0      1—’-          ft     •      Dl    cC
S               CD     Di     ‘1     01            Ii     C--’.   -i      01            CD     CL      1:)          ft      ::i’             II           (I)
Dl      CD      ID     13     C-i.   cC            CD     U)              C-’           M      C-.     CC)          Ii      CD         I    (C)                         (0    0
CT      1       13     CL     13      CD                          ft      ft            CD     C)                   Cl)                I                         ‘—3    5     13
                                      U)                                                               Dl                                   I-’-                        Dl
                                                                                                                                                                                      Page 26 of 48




                                                   ‘1             13’     13’                  0)                   ft      t                             0      13’
0<      0       1-’-   C-’-                        CD             C-’-                  it     ft      13                   C--             1:)           ft     CD     I—’
        Mi      ci-    Cl     ft     )-           ‘it)            13      5             Dl     CD      CL                   CT     C)                     13’    ‘<     ‘—‘   Di
                       CD     13’    13            0                      0)                   0.                           CT                            CD            CD    (0
it      0)             Di     CD                   ‘I                     CL            CD     -                            0<     ft                     ‘1            ‘1
        U)             (0                          ci-                    CD            13                                         C)
to      to      to    to   to         pa    pa      pa   pa   pa      pa      pa    Pa    pa   pa
a’              0     to   p.a        C     m       i    oi   a’              co    to    pa   o       ,o   a’          as    a’    a.      w    to    s-a


o       a       a     a    ‘4    a    z                  n    ft      6)      a           z    ..      o    D     i     a     a             a    a     ft
4       z              n   a      a   ‘a    z            a    z       n       o           a    D’           u    i     a      $a            ‘a   o     a
•       p.      a      a   a      a   pa    a            a    a       a       a           ‘4   ‘a      a    z          a      s-’           4          a
PS                     a   PS     a   s-a   ‘a           a    a       a       a           a    a            a    0            -‘            ‘a   5-.   fl
-       a       a      a   a      a         a            •        -   a                                w    PS   ‘2     a     ‘a            a    a
        pa      fl    ‘a         ‘a   a’    a       0         a               a     I     a    a       z    a           a     o     H       ‘a         ‘a
a       pa      Pa     a   us     a   a     a       4                 0       ‘a    b’    0    0       a    a    ‘t    n      z             z    us
                                            a                                                  a
                                                                                                                                                       o‘a
                a     a    a     a                  a         a       s       $     a                  z         ‘a     a                   ‘a   a
                a          Pt    a    ‘a    o       is                        a           a    a            ‘a   4            ‘a    a
                                                                                                                                            pa   0
ais     opt                                                                                                             fl          D’
                      a    o                                  o       a       a     w     a            z’   a    a            a                        ft
a               a     a    n          o     a       a         5.      a             o     a    a       0    PS          a     is    a       ‘a   0
        a       o     a    a     0    4     -       b’                        a     a     a    D’      5    0    0      0     ft
S                     a               ‘a            a                 a       o     ‘s    g    a            a    ‘a     a     a         -   a    a
a       a       a                a    a     a                 pap’                        is                     pa                 a            ‘a
                                                                                               a                                                       aSa
        a       o
                           z
                           •
                                                                                    a                  a    ft   pa     ‘a          o       a    a
                                                                      a
                      a               a             ‘4
                                                                              aa          a            0                      ‘a
                                                                                                                                                                  Case 01-01139-AMC




                                                                                                                 ‘a           a                  a     ft
                                 aa                 a                                                                               a
        •       4     o               a     a                         ft            o          a       a                                    a
    -           a                a                  a         a               0     Pt    ft   b’      ‘    0    0      ft    PS                 PS    Z•
ft              PS    ft   •     pa   ft    S       PS        D’      a       Pt          z    a            a           o           a       a    a     a
        w             is         a    0     z.      a         a       ‘a            x     a    ‘4      a    a’                a                  a
                d     ‘4   6)    PS         a       -                         a     a     ft           PS   a    ‘a    ‘a     g     a       a          pa
                ‘a         PS    0    ‘4                       PS                   a           S      a    a    a      ‘-a   us                 a     ‘a
        a                                                             aa      z
‘4                    a    a     a     0            a          a              a     pa    a    a       a    ft   PS     a     ‘a        -   PS   o     z
        p       a     0    a     a     0    S       0’        ‘a      ‘a            a     a    PS      0    0    a     ‘4     C)    as      a          a
‘a      a       o          a          •     •       a         o       a       s-.   0’         a       pa   a    a     •            o       ‘a   us
o               a     a          a                            PS              0           ft           ‘a                     Pt    a       o    a     us
 a                    pa   o’    o                  w                 *       a     a     o    ‘a      a    a    ‘a     a     o     •       PS         a
‘a      ‘       a     a    a     a          •       o         a       a       a     a     a     a      a    0     a    z      o             ft   0     ft
        a       is    a    a                        a         -       a       a     a     a     a           a     PS   a      a     ft      a    0     5
                                                                                                                                                                  Doc 22814-28




                                                                                    Ia
oa              a                a    a     6)      PS                        ‘a               a            ft                      0’         a       a
                      z                                                                                a
a       a       a          ft    pa         PS      a         a       N       0     B     ft   ‘a           •    a     a      o     a       a  a       a
‘a      ‘a      a     c    a     a          a                         0       o     a     ‘a   0       a         0     0’     Pt    PS      0’ Pt      0
                      ‘a   w     a    S     a       o         a       o       a     a     a    ‘a      a         us    a            a       a  a
                                                                                                            ‘    ‘a
o0      aa      a          a          ‘     a       Pt                0             a     a    •                                            ft.
                0’    ft   0   0                              pa      ‘a      a     a     •            S    0    0            0     5
a               a     0’      ‘a      S         I   m         ft      ‘aX                              a    a                 •     a                  a
0’      0’      ft    a    0                    •   a             -   ft      a     ‘a         3       a         Pt    a      ft    a       0    P-I   ft
a       a                  <‘a                      a         a       a       a                             a    o     a      •             0    it
ft      a       S     a    a   PS     m     a       ‘a                -       a                a       a    0’   0                  a                  *
                      0    PS  o      PSo           a         a               a     a          PS      o    a    a     a’                   S    S     a
‘a                    a    •                                                                                                  H     a
                aPS                                                                                                                         ‘a   a
        S                        a    aa            0’                              a          a                                                       a
ft      •       a     a          a    a                               ‘
                                                                                                                                            pa   a
                                                                                                                                                                  Filed 08/14/09




                                                                              a                        a    ‘a         ‘a     z     a
                           a     a    a     a       a         pa      ft            a’         S       a    PS   us    a            Pt      pa   o     a
S           u   a          0’    a          o’      o         ft              a                a       Pa   0    0     PS     pa    a             -    a
a       •       is         a     •    a     01      0         a       ft      ‘     ‘a         11      0    0’   ft    H      C             PS   ft    Pt
a               a     3    PS         0     a       a         a       o’             a         a       a    -a         a      a’    s-a     a          a
        6)      a     o’   a     a    o             ‘a        a       a       a      PS        o       a    a    a            a     a       a    a
a       PS      a     a          o    w     pa      o                 ft      •      a             -        a    0’    ‘a           C       a          a
0               ‘a    ‘4   S     a                  0         a           -          a         a       ‘a        a      a           a            ‘a
                                                                                                                                    ‘-a
        aa       o         a          0
                                            zPt     a         o       a       a      o                 o    5    a      PS    a             a    PS    a
a       a       ‘a    o’   PS    0    4     a       a                         0      ft                                                     o’   a
B                                           PS                                      -
                            a    c                            a’              a                aa      a
                                                                                                            aa   *     a      o     o       o    a     s
        a       a                a                  a                                                  -a              ‘a     it    Pt           Ia
a                     aa              aPS   a                 a
                                                                      a0                       a                 a                          z          0’
PS              o’               is   -             o’                 a      z     a          0       ‘a   a    a     s-a    ‘             •    a     a
                                                                                                                                                                  Page 27 of 48




                      Pt                                                      •
‘a
        o0                 a0               aft     a                               o          PS           z’         i-a    a     a’           a
                a                                             a       a                                                                                ft
         w            a          a    a     ‘a      pa        0’       a            a          a       o    a    a     ‘a     PS    0
                a
ao                         aa               o                                                  a
                      o          0’   o’            PS        a       o’                               Pt   ft         0
a               0     a          a    a     o                         ‘a      •     a          a
                a                     ‘4                               0            it                      0
                ft                                                    ‘a                                    Q                                                to
                                                                                                                                                             a’
               S)    )     l\)   t’3    )-    1—’                        )-          l-    )
01     $       01                0      tO    CD            0)    01           01                0    to                     0)     01          C.)   t\)   I-’




S                                             U)     ft     (      0     CD    Cl    S           Mi   Mi      C)     S      ‘<      ft          C)    rt    C)
)-             1     rt    Cl)   Di           rt     0      0     tI                 C           l-   0       C      o       o      z-          o     r
)              0           U)    U)           Cl)    ft            CD          £1    C,          Cr   C)      Cr     M       CI     CD          I     CD    ii
CD             C)                             rt     Cl)                 S                       CD   rt             ID                         ft    ‘<    (
               (0    Cl)   U)    Di           (0     1-.    L
                                                            4     P1           Cl)                            0              Mi      3i                     Di
(1)    xJ      U)    (1)   0                         1-’    0     ft     Z     U)                     Mi             ,•             o           i     Y     ft
       tj      U)          S     Cl     b     M                   ,-‘    Cl)               ft    C,   $.-.    Mi     (0      CD     Di    (1)   ci    CD    -.
Cl     0       )-.   <     CD    ‘-.    CD    CD                   1     ft    U)    )           0    (0     0              1)      1           ID    Cl)   C)
       S             CD    ft    Mi           0      I      (I)   (0     CD    0     5     Cl)   )     (     0       Cl      Ci     Cl    ft          ‘1    0
5              (0                Mi      (0   C      (1)    0            Cl    0     Cl    i                 ft              CD           -.    ft    Cl
)-.•   ft                        I-•     i                   1    Cl)                            ft   CD             U)             0     5     0
)-             ft           I    0      to    ‘1                  ft     ft                           -      Mi      Cl      ft     Mi    CD          0
       (U      f     Cl    (0           l-•   CD     S                         (I)                                   0                          C)    Mi
       ft      CD                i-      i    S             0     ft     CD    U)    rt    Cli        rt     to      <:     ‘<                  F-’
                     Mi    CD    ft     (0    Cl)    I-’    ‘1    tJ                 )-.   ft                 )      CD             CD    CD    CD    ft    Cl
                                                                                                                                                                    Case 01-01139-AMC




CD     ‘CI     0     Mi    I            (0    Z              c    Cl)    0     ft    S     CD         CD             ‘1      (0     0)    0     CU    0’
‘1      0      ‘i    )-•   ft    t3     ‘1    ft            (0    rt           J     Cl)   -          )       Cl)    Cl)     C))    F-’   ft    Z     (P    U)
CD             CD    C,    -•     1     l-    C))    )-‘.   Cl           Cl    CD    ft                              £1      CD     ft                      0
           i               1      0      I                  -     ft                 CD     ft        ft             •              0’    0     F-’   C)
Cr     ct                  CD    C)     (C)                              Cl    ft    )—     J         0       ft                          0     ft    0     ft
CD                   ft    l-    CD                          ft   S      ‘i    CC)   ‘<     CD                               I-’.         -           0
I—i    0                   ‘<    C))    0     ft     J’           CD           0                      C))     CD     -3      ft     CD           Ci   Cl    CD
       I             ft          U)     Mi           )-     (0                              0                        0’      0’     ‘1    Di    ‘CI   F-
(I)    -             0     I                         C,     <            5                            ft             CD             CD    (1)         ft
<                          CD    ft     ft    ‘1                  Di           0     CD    Cl         0       Cl    ‘<       U)                 Cl)   )-‘       I
(I)    ft            tO          0      J     CD            CD    (I)    )—    1-’   I                ft      0              0      Cl)   1-1   ft    0      1
Cl         7          CD   -            Cl)    (0    U)                         0          5          Di                     Cl)    ‘CI               0
       CD                               rt           C))                       (C)   ft               I              CD      M      ‘tI   •     Di    Cl)
                                                                                                                                                                    Doc 22814-28




                      ft         to           ‘CI
ft                         Di     Cl)          (C)   ft     S     ‘i     (Cl   1<     3                              1       CL      -    0           •     0’
0      Cl                   i     ft    S      C)                        1           CD    )-                 (C)    ft             <     Cl    M           Cli
       C             ft    Cl                  ft    (1)     i           Cl    Cr                                            0      .     F-”   (1)         ft
Cr     (I)                       )-•    l—           t-j    (C)   U)           CD    rt    C)         Cl     ‘•      ft      Mi      I    C)    (C)   Cl)
CD     ft             )    ft    ft           ft     )-•    rt    Di     (C)   C)    CD    0                 0       0              (C)   CU    U)    0     E
                     ‘CI    3                 0      CD     CD     -‘          Cl)   C,    CI         Mi                                  ft    0           C))
(C)    )-                  CD     CD    U)           Cl     Cl    N            S                      Mi     S       Di      CD     Cr    CD     1    ft    Cl)
Cl)    CD            Cl)          Z     ft    Cl                         CD    CD    3     Cl         CD     -‘              Cl)    (Cl   Cl    Di     0’
Mi     <             I     ft    (C)    Di    CI     Cl)    rt           ft          0                ‘1             r)      F-’    C,          Cr     CD   0
CD     CD            Cl    CD    .      ‘1    U)     )-.     3    I            CU    I-’   0          (Cl    )-‘     0       ft     CU          F-’   ‘<    0
•      1-.’                U)    5      ft    ft     )-‘    0     CL     S     <      0    Z1         Z                      0’     5     ft    CD          ft
       (C)           ‘1    ft    CD     CD                  (I)   l-’•   I-    Cl)   to    )—         ft     0       S              CD    0’          ‘CI
                                                                               I—                                    F-’•    ft                        ‘i   I-”
                                                                                                                                                                    Filed 08/14/09




                     CI    l-’   CD     CL     CD    0      CD    C)      -.         ‘<    ‘<                                             CD    ‘1
I-i    Cl)                 S                   X     H            Cl)    )—                           S              F-’    ‘       S           (C)    0    0
ft     ft                  0     CD     l—    ‘CI           ft    ft           Di    Cr    Cf         (Cl    ‘CI     -‘     ‘CI     0     (1)   ft    C,    Cl
                     Z
                     -..   S     Cl     I      0     ft           CD     0     cr    (C)   CD         0)      Cd     I-’.    CC)    M     ft    CD    CD    .
       ft             I          -             U)    3•     0     Cl     Z     —     C)               U)     ,       0       (0     CD    Cl)         CC)   C)
                           ‘<
                     to                        Ci    Cl)                       CD    Di    C)         CI     ft      0                    0           Ci.   Di
<      CD                        Cr     to                  Cl)          C)    -     S                                       0      (1)   Cl          (0    ft
0                    Di          CD     0)    CD     Mi     1     rt     Z           CD    CD         CD     ‘CI    ‘CI      Mi     ft    Cl)         0.    CD
                     I           C)     (0    •      CD     Cl                 E           Cl)        S       CD     CU                   ‘1                Cl
<      CD            Cl          Cl)                 CL           Cl)          •     (C)    1         (I)            M       ft     F-”   0.          ft
CD     ‘1                        Ci                  CD     ‘CI   ft     (C)         <     CD                                0’     0     U)          0     CT
Cl     S                   Cf    U)                  ‘      CI      -    C))   )     (I)   Cl         ft     0               F-’.   IL)
       )                   CD    CD                  Di     tt    Cl)                                        CI     ‘Cl      0      (Cl   ft          ft
                                                                                                                                                                    Page 28 of 48




ft     C)                                            C-’                             -‘     CI        C,     CT      (I)    tO      0     0’
       i                   ft    ‘•     Cl                  Cl)                C)    Di    ‘CI        Di            i-       C))    ft    Cl)               0’
C-•    I-’                 3     ft                  Cl)          :i                 Cr                      C)                           ft                (C)
(C)    .                   Cl,                                    (1)          Cl)   i-’   U)                               CC)     Di                ft    ft
       ft                  ft           ft           Cl           ‘1           0     CD    0          CD                    U)      Cl)               0
       CD                                                         CD           CD                     (2.
r%)     )      J     CS.)    IJ     (‘3    I      1-3            -3    1-      1-                  l-     1-3
(11     4      C)    (‘3     )-     0      C)     CD     ‘4      CD    O             L)     (‘3    l-     C)                    ‘4     CD                          CO     1--’




(1)            <     Cl)     (1)    d      0      ‘tS    (C)     CU            1-h          C      0              CT      Cl    CU     C)           C)      1-’.
(ft            0     (ft    ‘ti     ‘1             CT     II     U)                         U)            CD      c       CU    1-     C)           0       )
CT             ç     CT      0      0      ft      0     0       CT            1     II     CD                             1    CD                          <      ft     0
CD                   CD             CT             rt    C       IT)           CD    CU     Cl            CT             (0             0                   0
U)             i-’   (ft     CD     1—’    0       0     )       (ft                 C)            J      CD      0       CT)   ‘1      CD          l-’•           1--    (I)
        I>     )     ft             CD     i-h    (C)    (1      rt    CU      ‘Ui          0      (ft    CU      ‘1      i-f   CD     ‘1)   Z      rt      <
o                    0       0                     ‘1            0     C        1    CD            C      ‘f      CD      0     I-.     rt   0              CD     ‘-    ‘Cl
U)     ‘ti     ft    Cl)     i-ti   U)     ft      CU            U)    rt       0                                         C     CU                  CD      (1     (0     i-f
l-’•    CO     CT                          CT     ‘Ci                                i-h    i-b    (U     0       (1      U)    rt     0            l              ‘4     0
Ci)     ‘1     l-            I—’    (-‘.   CD      CT    ‘-<           (U      CT)   1-     Ti     ft     1-b     (U            CD     1-h          ft      C)     4      C)
*       (ft    U)            Ti                    Cl)   0       ‘     ft      C)    (3’    ‘      t-’•                   (ft   (1                          0      -      CD
        o                                  (CT           (I      U)            rt    CD      1     0      ft)    (0                    0)    II     C)’     C)            (IT
        i      C)    CT     (C)     U)      ‘1    ft                           T-”   i-     CU     C)     (I)     CD      Cl’   ft     (I)                  (I)    CU     (I)
                     0)             (1      0     0      C)      CT)                        C)     U)     CT      i-(     U)    0      CT                   i-’•   C)
i-f            (ft   rt      C)     (ft     Ti           (U            0’      CD    CT     CD            CD      C)      ft           CD    CU             Cl     Cl     0
                                                                                                                                                                                  Case 01-01139-AMC




        CT     CD      -     CU     C)      C)    (ft    l       C)    0’            i-v    Ti)    0      U)      Ti      CU    CU     (ft   0)     •       CD
               •     CO      C)     CD      Cl    CT             C             Cl    C)            ‘f     ft      (C)     C)    (I)    ft    *              II     ft
        o                                                              <
          -                  C)     ‘UI    •      0      ‘Cl     rt    -       CD    (U     0             0               C)    CT     0     N      CI      (T)    C)’    1-”
 o      C/)          C)      CD      ft                          Ti                  Ti     ‘1     1-1’   (/)     ft      CD    CD     Cd)          *       CT     (I)
CT                   0       i-     l-                   C)      i     c-C     I-”   (ft           1-”            CT            (0           CT            I—’     C)    ‘CI
C)      (I)          ft             (3’    CU     ‘<      S’     Ci)   CT      C)    CC)    CT     ‘1     (3’     Cl)           ft      CD   CT)    Q       CC)
U)      si                          1—’    Ci     0                    CD      CD           0      CD     CD      C)            0       X    U)     ‘i             ft     0
o       H-,          0       CT     CT)    ft     Ci     Ci                          i-’-   I—”           i-”             (C)   (1)    ‘ti          CU      Cl)    CT
C)      1-h          C)      CD                          ‘CI    ‘UI    rt      ft    c-C    I—’   ‘C)      C)     0      )-‘*          0     Cl     C)      X      CD     CD
                     CD      ‘1     ‘(1    CU     0              ‘1    frf     CT           CD     ‘1     (C)     rt     i-I,          U)    CD     Cl)    ‘(3
I—”     0                    Cl)     CD    U)     1-h    ‘CI     0     CD      (C)          ‘1     0              C)’    i-ti          Ci    U)             CD     C)     CD
 (C)    I-,.         0               0                   i-’•    (1            c-C   CU     (ft    c-C     Cl     CD     CD            ‘t    C)     c-C     C)     0      C)
        CT)          I-ti    ft     ‘CI    3      ft     CD     Ci     0             U)            CD      CC)    ‘1     ‘1     Ci)    CD    ‘1     0       Cl     C)     ft
                                                                                                                                                                                  Doc 22814-28




                                    I—’                                I-’     CD                                        CD                  $-             i-’.   U)    —
CU      C)                   CT            CD     CT     C)     C)                                 C)      C)
C)                   rf      CD     CD            CD     CD     ft     I-’.          ‘C)           ft     (0      i-t.   C)     3      Cl)   CT     r+      ft     c-C
                     :3’     I_f                         U)      •     ft      l-’   CD            I-’.    CD     0      c-C    CD     C)    (1)    CT      Ci     H      I_li
CD     ‘<            CD      CD            C)     CU                   CD      (1)   ‘-C    CD     0       H      ‘1                   Cl    Cl     CT)     ‘-C    Ti
X                                          0      (0     0             -       c-C   CT            C)      0             H-,    C)                          Cl)    C)     ‘I
CU      0)                   CC)    “I            (7’    ‘-ii                  CD    Ci)     ft   -        Ti     U)     0      C)           CT     (I)     If)    ft     (ft
S                    0)      ‘1     0             CC)           c-F            Cl    ‘UI     CT            U)     •      H             CT    H      CU             I-”    c-t
                                                                                                          -                                  i-’    1-h
‘Ci     (0           c-C     CD     H      C)     Ci)    i-            CT      •     U)      0    0                      S             CU                   C)     0
I—’     0            ft                    0      ft     ft     C)     I-’•                  Ci   ‘-C                    (/)     ç     ft    CD     CD      I-ti   C)     I_-ti
CD                   CD             ‘--‘          0             0      C)            ft     CO                    Cl                         I-ti   ft                    ‘1
                             CT            E                                                                                    C)
        (V           H       i—..   C)            U)            S      C)’           CT      CT    )Z     (C)     (0     0      0      CT    i--’   ‘<      1-ti   0      0
o       X            Cl)    (C)     U)                          (I)                  CD     c-C   CD              Ci     —t,           CD                          -j,    5
i      ‘Cl                   C)’    c-F    I-’.   CU            U)     i—•                                CT      0)                   Ci)          0       C)
                                                                                                                                                                                  Filed 08/14/09




        0            rt             0)     rt     (ft    CT)           U)            CT’    ‘     H       CD      ‘      CU                  1-b    Mi      Cl     ft     c-i-
CU      U)           CT      CD     C)                     -    H                    CD     ft    CD      (U      i-—’   (0     (1)    ft    0              (1)    CT     CT
        Ct)          0)      >      C)     C)     I-”    I-’    I-”    (U            U)           S       ‘C     ‘<      CT     (ft    C)’   ‘—C    l              CD     CD
1(3     Cl           ft     ‘(I     CD     CU     c-F           (Cl                  c-F    l     CD                     CD     CT                  c-F    CT)
 CD                          0             C)                   CT     ‘--ii                CU    5       0              (ft    CT)    CD    ‘<     (C)    (I)     C)
i-f     C)           C)      (C)                  Li.    CT     c-F    0              —‘•   U)    CT      Mi     CT      c-C    (I)    Mi    0             ft      CD    (0
(ft     0)           C       Ci     Z      C)     Ti     (C)           ‘1            C)           CD             0       0      c-t    i-h   ci     l      CC)     E     CD
o                    CD      H      H      (I)    CO     <      0      5             Ci)    ft    ‘1      I-”            (ft    C)     CD           0      Cl’           ()
C)                   Cl      CD            Ci     ft     CD     Ci                   (I     CT            c-C    CD             CO     C)    c-I-   H      1—.     5
       Ci)                   C/)           (0                   ft     0             I—’    CD    i-..                   (C)           rC    CT     ‘      1-      -‘    ‘CI
       1—’           C)             CU     CD     C)                   ‘-ii          (U     C)    c-C     1-”    CD      CD     ‘-‘•   Cl)   CD     CD     (I)     1—’    CD
1-’    (ft           0       ft     0)            0             0                    ft                   C)     ‘-C     CD     (ft                 i-f    CT      I—’    H
ft      0            C)             I-”                         I-h                         Ci)                                        ft           (C)    )-.           I—’.
                                                                                                                                                                                  Page 29 of 48




                             0                    S                                  0            0’
C)’                  C)             N             CD                                 ‘-C          CD      c-f-                  (it    CT                   C)           0
       (0            CD                           (ft           ft                                 -‘.    CT)            ft            CD                  (0            Cl
        (C)          H                                          CT                   0             C)     H      CT      0             ‘1
        ft           C)                                         CD                   ‘-C          (C)     S      CD                    CD                  CU
                                                                                                          Ti)    C)
                                                1                                                        —          I




10     10     10    10     10      10     pa        ha      pa     ha     ,a    pa     pa    pa    pa        pa
a      a      ci    ea     i’      o      w         a              a      a     a      Ca    10    ‘a        0      ID     0       ‘4    0     01    a     C.      10     ‘a



a      a      a     a              Pt     a         it      >      o      4     a      it    s     a         it     it     it      it          a     a     Pt      ha     $
       a      a     a              P5     a                        0      ‘a    0      5’    ‘a              5’     0      5’      0            X     it   ‘a             U)
x                                                   5’      9                                      ‘4
‘a            U                     a               a       a      4            4      a     ‘a              a                                 ‘a          U        5     U
                                                                                                                                               ha          P5      ‘a     a
                                                                                                   it
                                                                                                                           ait                       .4
                                          ‘
       a9           aa                                                    aC)                 5’                    a              a
                                                    ‘a                                       it                                -                                   a      a
                                                                   aP5          aP5                          ‘a                    a           a      o
                                                                                      ‘a           E
                                   aC     ‘a
                    S
oa     a
              aa
                                                                                                             ha
                                                                                       i-i
                                                                                                                    aa     a             ‘-    ‘a
       -                                                                                                                            U                 C
                                                                                                                                                           aa
               it   it     so       a     it        S
                                                            z‘a
 a                                                                              a
                                                                           as                      a
                                                                                       a     a               a      a              a     5’                 ‘a      U
                                                                    ap.         a                                                              9
 a                  ‘a     a                                it            a
                                                                                                                                                     it    a
                                                                                                                                                                          aa
                                                                                             P5    it               ‘5                                             ‘4
                    a
                                    u.t             a‘a                   ‘a                                 C             ‘a            a     a
 •     a
               aa                         aa                                           C
                                                                                                                    ‘a     ha                                              ‘a
                                                                                                                                   ait
       3      •     ha     ‘a      ha      0         a              U            U     P5          ‘a        P5                                ‘      5’
                    ha                                                                                              U                                 P5   •               a
       a                   Pt      ‘4     it         a      ‘a     ‘4     ‘a    ‘4                           a             a
                                                                                             ‘a                                          it           0
                                          ‘a                pa            ‘a
                                                                                       a‘a         ait              a      C
                                                                                                                                    aa          U
                                                                                                                                                                   aa
                    ‘4                                                                                                                                C
z             i3           ‘4             a          a      a      a      a     a            a      a        ‘a            ‘i            9’    ‘4          .4
                                          a
                                                                                                                                                                    aP5
                           a                                                            a                    a      it     a       z     a           ‘a    a
                                   aa
a      aa     u     z5’                                     P5     4      P5    ha    ‘a     it    0                5’     ‘a      9’    P5    it     5’           P5
              a            C                                                                                                       ‘a                          -
it     i-s                                          it      a      a      a     a       a    5’                     a                                a             ‘a     z
                                                                                                                                                                                     Case 01-01139-AMC




              <                           a                                                                                              a-                ha S
                                                            ‘a     ii     •     ‘4                                  it     a       a                 C
                     ait   5’       C     9         5’                                       a
                                                                                                             as                                a
5’                                                                                                 a                                                 it    ham            it
•   a          it          a       a                                             a                                         ‘a      5’    a
                                                                                        aa                    a
                                          a          a             ‘4                                                                                                     5’
it  a         ‘<    ‘a     c       it                       a                    P5    •           a                ‘a                          a
                                                                                -                                                  ‘a    a     a     it    ‘a      it     a
                                                                                             a5’
                                                    ‘a      ‘a     it     .i
                                                                                                                           aa
 -‘<          ‘a    it     a                                                                       a           z    a
              ‘a                                            a      5’     5’                       ‘4         5’                   a     5           5’     P5     5’     it
                                          aa
a                          s’      a                 aP5    a      ‘a     a     a      z
                                                                                              aa
                                                                                                                    U
                                                                                                                            aa           arI   ait   a      o      a
                                                                                                                                   ‘a          0
                                                                                                              aP5                                          U
       ‘a                                             ‘a           9                  ‘4     it    it               .4       a                                             a
                    aa             a
*                          a               x                                                                                                                       ha      ‘a
       it     ha     a     a       a      P5                                                       5’          a           •       9     ‘           ‘a    a
                                                            aa            a
5’                                                                                                                                                   a
                                   ‘a     •                        ha                  ha                                                a     a           U        C     a
                                                      ait                                                                          <
S             ha    S                                       a             5’     a4           *
                                   ha                                                                        it                                      P5    ha       S     a
                                                                                                   ait                                   P5
it      o           a          ,                    a              a      a      P5                                                0
                                                                                                                                                                   ‘a
                                   ‘a     w         ‘a             ‘4           ‘4
                                                                                       aPt   aha             5’            ‘U      ‘a          a     ‘a    ‘4
        S                      i                                          a                                                                                               aa
                    ‘a                                                                       ‘a                            ha            a     .i    a             a
        ha                                                  it                         it                    a
                                                                                                                    aitC           c
              0                     S                               a     it                       a
                                                                                it           a                                           ‘a                ‘a      •
                                                                                                                                                                                     Doc 22814-28




                    a      i-s
                                          a‘a       ‘a              P5                             .4                                                a                     a
a*     .4     z                    ‘a                       5’
              ha                                    ha                                                              ‘a                          U                         -
                                                                                                             ‘a
                                                                                                                           aC
                           Pt             N                                *  5’       5’
                                                                                                                                   aa
                                                                                                                    ‘a
                                                                                                                                                           ait
                                                                                                             ha
                                                                                                                                         aa
       a            it              a               a                                        it    ha                      P5                  ‘4    0
                                                            ais    a
              .4                                                                                                    ha             ‘a    a           Pt            so     it
                                                                                             5’                            a
                     5’                              C
                                                                          a‘aS‘a       a9
        5’                                a                  a                                     a         a                                                     0
                                                                                                                           ha            a                                5’
 a•c    o     a      a     0
                                    aP5
                                          a         P5
                                                                   aha    ha           a     a     .-t       a      C                           *           a
        S     5’     it                   ‘a                       ha           l—     a           it                                    a           t                    a
  a                        C         a              •a                                                              ait            it                       ha
                                                                                                                           ‘a                  0     5’
                                                                                                                                                                   aa
        a     a                           a
                                           a                 aes   a      ‘a    a            a               aC            ‘a                        ‘a            it     a
‘a             5    ‘4     ‘       a                          a    a            ‘4     0     ‘a    a         a      P5             5’    ‘a    a            a
        it                         Pt                                           a      n     a     .i               a      a       ‘a    P5          a.     it     ‘a     a
                     0
                                                                          aii                                                                  4
9
4      5’      C     0                     a        ‘-i     ‘a     it     it    P5                 a         Pt     it     a       a     0     a                   a      U
              ‘a      -                             5’      ‘a     9’                  .                      a     ‘a     a             a     P5    it    a       a      a
                                                                                              aa
oha    ait           4
                           a       aa      a                a      a      0            s’          ‘a        ‘s     a      a       ‘a           -    P5    Pt      a      a
                                                                                                                                                     ‘a                   it
                                                                                aPt
                                                                          Pt           a           a
                                                                                                                                         aa
4             o     a      ‘a      U                                                                                ‘a             a           a     a     .t      a      a
                                                                                                                                                                                     Filed 08/14/09




                                                                                                                                         a
                                                                                                                           a•
       it                  ha      a
a                                         P5
                                                    aao                                                      a•
              a                                             a      Ig
                                                                                             a‘a
a      5’                                  a                                    it     ha          it                *             it          it    ha    5’      a      a
                                                                                                                                   ‘a                —             ha
                           aC      ait    Pt
                                                            :      P5           ‘a     C       U   9’                5’                  S     a
        a           aU                                a     a             ‘4                                                                                       ha     a
‘a                                                                 ‘a
                                                                                                                                                           aa
                                                     P5                                                      >             >       a           a
              xi     a      P5                                                  a a                a                a                    s’                        a      Pt
                                                                                             ait                    P5                   ‘a    it    U     a
                                                            it     a            am                                         9
                                          aP5       a                                                        5                     C
       ‘a                                                                 s’
                                    aa
a             a     s       a‘a           P5                5’     it     a     C      a     *     ‘a        a      a      a       ha    a     ‘a    C             a      Pt
it                                                  it      a      a            a            a     c                               a     s’    Pt    it    it             a
        aP5
              ‘4     a               a     a
‘      a      a      N     ‘a       N      a        .4      it     ‘a     a            z     a      9        ‘a     ‘a     it      P5          ‘4          a       ‘a     a
‘a     0            ‘a     ha      ‘a               ‘a                          5)     0     9     ‘a        Pt     it     5’            ‘a    ‘a    it    P5      9      it
a      s      o     o      a       o      it        ‘a      Pt     ‘a     *     a      o                                   a       a     a     s                   it     a
                                                                                                                                                     a             a
                                                                   ha           ha     ha                           ‘a             a
                                                                                                                                                           aa
                    a      a       a      o         a       a             0                  ‘a    a         ‘4                                ‘a
       S            a      C       C-                       P5            C     ha     a     a     5          0     a      U       a           •                   P5     it
                                                                                                                           a             a            -    it      a
       a      a     a      a       P5
                                                    aha            aC     ‘a    a                  a          C                    a
                                                            •
                                                                                                                                                                                     Page 30 of 48




       a      i            a       a                ha             n      a     a                                   it     a             ha          ha    5’      it     a
              p4    it     a       •                ‘4                                                       it     5’     it            a           ‘a    P5      ‘a
                                                                                             aa
                                                                   a•     U     it
                                                                                      .aU     ha
                                                                                                   a         a      a              a     it                a       it
                    0
                                                            o9                                     .4
                                                                          a     5’         \ha               N      it     5       5     a           U     S       ‘a
                                                                                a            a               a             a       a     a           a     a
                                                                                                                           .4                                      ha           10
                                                                                                                                                                                0
C’)   1’)    C’)    C’)     C’)   C’)     )—     )-      )-     l-      I-     f-      l-           )—      )-
(7)          03     C’)     )—            (0     03             C)      (7)            03     C’)   i-      0       tO    03              C)    (Si     4       03      C’)
                                  0


‘1           it                   0       0      tO      S      ci      d                     it    CD      it      i—’            0      <      U)     it      )-             iti
                                                                               E                                                   h)i    CO                    U)             Di
CD                  CD      CD    Z       I      0       )-     Di      ‘1                    J      >      0       U)    0                     t3
             CD     Cl)                   Cl     Di             ‘-      0                     Di    ‘ti                                   CD    0       5
CU           S      i—i     CO                   ‘i      )-‘    it      <                     it     0      I-fl    C)             it     1     ç       CD      it             it
                                  ‘<                                                                                      —        C            CD
             0      it                           $1             U)      I-.    -                    U)      I-      0                     Cd)
CD    ‘—3    -      Z       C)    0       0                             Cl                    it    C)              Z     0        CD                   0       CD      ‘—3    1)
      r      i-’-   tt,     0     Hi             0       Z      0       CD     ci      0      I-’   H       Cl      C)    0               CY    0       I-h                    C)
Cl                                        C)
      CD     it     C)                     -     I-ti           I-h     Cl     H              S     CD              CD             Cl     CD    I-ti                    CD
                                  it      I-             C)                    Di             CD            0       H              I-i-   it            it      Di      H      Ci)
it           CD             C)
      it     •              CD                           J      it       H     C)                   Di      Ci            Cl)      U)           it       J      rt      Cl)
o                                                CD                      CD    CD      CI)          5       it      CD    it       11)    CD    J       CD      CD
      CD            it      H     CD
                                                                CD       U)    -       U)           Cl              Cl             Cu     CD    Di                      I—’-    C)
it    U)            0        1                   Cl)     E                                                                                                                      Cii
Y     rt     i—3            CD    Cl      C)     i-’     CI)            ‘ti                                 )1      -              U)     )     rt          I   C)      U)
CD    i-i-   T      it      Cl    H       it     it      (1)    5                      1-4           CU      7                     CD                                           (Cl
             CD                   <       CD                     —“     H      Di                   (Cl     Di      ‘<    Cl)             it    Di                      0       CD
      5
                                                                                                                                                                                            Case 01-01139-AMC




                                                                        Cl)    (I)     C-                   it      0     it       it      J    U)      it      ‘TJ     i
o     o      H      CD
it    Z      CD             C-•   S       it      H             CD      it                           ‘—ii           C)        -    0      CD            J        CD     CD
                            it     -.      D      (0     CD             0      (U      Cl            Cl)    rt            U)                            CD       H
                                  I—.     CI)                   (I)     H              l-                                          it     it    Cl)             I-i-    U)
CD                  0                            ‘t3
                                                         Cl     i       (I)    Cl)     C)                   CD      Cl)     J      Z                    Cl      0       ‘
H            Di     ‘1      •             it      0
             U)                   -               ‘1     Ci     Ci      -      H       Di            Cl)            <      Cl)     CD     S             ‘-‘     Cl      S
                                                  it     (I)                   CD      it            (Cl    (Cl     CD    ‘ti             CD            (I)             1-”
I-h   I-            (I)                   S
      i—            H       ‘-3   cr      0       U)     it     S       0              CD                   l-            ‘ti      ‘ti                  CD       I-fl   I-
o            <                                                                                                                            0             Ci)      H      Cl)
H            Cl)    Ci)           Cl)     Cl)                   1-      H      0       Cl            it     it      it     CD       0
S     CY     ‘-I    -       CD    C)      it     0       C)     1-’     CC)    Hi                           Ci      0       i      1-’.   Mi            (0       0      H
(1)   CD     ‘<                   CU                     H              Cl)                          CD     Di            I-•      i             (I)    CD       S
                                                                                                                    —              it     it       -                    it
                                  C)      0              CD     -       it     it                           it
      it     I-             )     U)      h-ti   it      Di                                          ,c     I—’-    o     t                             o        it
                                                                                                                                                                                            Doc 22814-28




o                   Ci                                                                                                                    ((I           CD       3
Mi    3      C-’-   it      Z     CD                     it     S       I-•    CD                    1      0       0              it            CD
      Cl)    it             CD            it     Ct)     0      CII                    1             0      l              it      V                    C)       CD     0
Cl,   it     it     it            it      J              ‘i     Cl      (C     Cl                                          0       (U     (0     it     0               Cl)
(I)          I—’    T                 j   CD     ‘ti            CD             C)                    I-’            0      Cl      it            CU     S        it     it
                            it                   i-’     C)             Cl     (Cl     C)            CD     C’)     Di     Ct)            ‘ti    i—’    CD       C-’
CY    it     CD      CD           (0      5
CD     J                          it             Di      ‘CI    it      CD     it      H             Cl     U)      C)    ‘<       ‘<      0            (I)      5      Cl)
                    ‘<                                                                                                                     U)    I—              CD     CD
C))   CD                    Di            H      i-’-           r       <      ‘<      Di           ‘.0                            0
it           H      Cl      it            Cl)    I       it     CD                     C)            CD     I-’            Cl)     C)     Ci     Z      Cl)
                                  Z                                                                                                             tq
o     U)     k-’-   I—’           Cl)     C-’    it             S       C)     C)      CD                   i--’•   I•                    ‘-i           iti      o
U)    it     it     Cl      it    (I)     Di     1-’-    CD             CD     0                     C)      s      Ui             C)     CD            ‘ti      Mi     Cl)
                                          it     Hi      H              (1)        )   0             0      CD             ‘-ti    C’)           i-’-    Ci)            C-’
      C)     it     1                                           S
it    C-C,              -   CD    it      CD     Mi      CD     CU             Cl      ‘1            i              it     Ci)     I      Cl)    I       H       CC)    1-’
             CD
      I-h                                                •              I-’-   C-’-                  C)     Cl)     0      H                             ID      X
                                                                                                                                                                                            Filed 08/14/09




::           Z      it
C’)                         Cl    CD      it     i--’.          Cl             it      N             CD     Cl)                    U)     Cl     it      i      ‘(3     0
it    it     Di             Ci            0      $              Cl)            i-’.    0             ‘1             w      Cl)     CD            CD      it      0      Mi
                            U)                           ‘-     it      it     0       i             i      i-ti    ci     C’)     CD     it     H      •        U)
             cr     Z             Di
CU    Di     0      0       it    *-      ‘—‘•   it      0      0              I       0             I—’•   Cli                                  S               C)
H     it     C)                   CD      i              C)     H       CD     U)      I-             1     H               J’     i---   (I)    U)              H
CD           it                   Cl)     U)     C-       -                            I-’-         (0              CD     CD      it                            CD     CD
                            Cfl           ‘CI    U)      C-’            Cl     Di      it                   CD      Di     CU      •      Cl     0      i               C))
      E             CU                                                                                                                                                  CD
S     Cl)    it     cr      (Cl   it      CD             C-’    i--’-    Ci        Z   Cl)           Cl)    (0      ‘1                    CT)    Mi     Cl       Ci
0     U)     H      0                     C)     Cl)            Z       ((3                          (I)            U)     it
H            CD             i     Di      it     C)       cr            it             0             o      it                     (12    CD     :               it
                    Ci                                                                                                                    -‘     u      H        ,-‘-   Cl)
CD           S      it      0     it      -‘•    it       Cl)   it      I-’-   it      CD            CD             CY             0
                                          0       -‘-                   Cl)            Mi            U)     CD      CD    ‘(3              0            •        i--’   I
      H      0              it
                                                                                                                                                                        Cl
                                                                                                                                                                                            Page 31 of 48




      I-’.   C--’                 it       i     0        Cl)   CD      I-i     CD     0             it             Mi     i--’•          ‘CI    it
      it     1-’•                         Cl)    Z                             ‘<      H             0              0      C)      J      5      0      03       it
                                                          0      Cl                    ((I           (I)            H      it      CD     Cl)           CC)      Y      it
      it     it                   CD
                                                                 H                                                  CD     (i      Z       3     C.)    C-’      CD      3’
      CD     CD
                                                                ‘<                                   0)                    H              it     0      N               Cl)
                                                                                                                           CD                                           it            C’)
                                                                                                     it
                                                                                                                                                                                      (0
\)    C’)    CO      C’)    CO    C’)    I-      I-    -      -                         I-          I
Ui    .P.    (,      CO     l-    0      (0            -i     cn     ui     4                 i     o      o       o            o-      o



      Di     N       ft                  l-•     CC)   ft     Cl            0     ft    0     ft    0      A       ft     N     ft              CD             CD   C)
      Cr         I   J      CD           I       I     CD     C)            b                       i                      I     Y      CD       S              N   0
             ‘1      CD                  ttl    <      l-     )                   CD          CD    CD     CD      CD           CD      U)      tI             tI   S
II    0      Cl)     i-’.   CD           0                    CD            ft          ft                                CD                                   0    5
U)    1                                          C)                               Cl    i           0                                   Cl      0              CD   0
      S      U)             i)    Z      5       0     ft            X      Cl)   0     CD     I    it     ‘Ci     0      CD    Cl      CD             Z       i
o     CC)    -       Cl     <     0      CC)     I     0      CD     ‘1           0     CU                 ‘       C)     Cl    CD      (I)     CD     C)
M     i-             0      Ci)          ft     Cl            U)            4     ft    ft    CD           0       ft           CD      l-’     CD             CD
             Cii     0      I—”                  I—    ft                    I    0     i—S   <     C      <       0      ft            (0      (CC
‘     C)     (CC     it     l—           0       ft    3      (CC    t1     1     ‘1     1          CD     1-      1      0     Z       :i                          ‘-3
CD    r              0      CD    ft     I             Cl)    0      0      CD    U)    CQ                 Cl      U)           CU      Cl)                         ‘1
CU    ID             ‘1     Cr    3              0                   <      ‘<                Cl)    CD    CD             Cl    U)      Cl                          CD
(C)   U)     ‘-IC                 CD     ‘Ci     i     i-     rt     I-’.         l)    ft    ti     S     Cl      (ii    Cl)                                       5
o                           CD           ‘i      U)    i             C)           0     Z     0     ‘ti            tO     ft    ft      •       Z      ‘-‘          0
                                                                                              1            ft      t-     CD     Y      Z       Cl     (0
                                                                                                                                                                                Case 01-01139-AMC




i     U)             r                   0             Cl     CD                        CC)
U)    -      C))     CD     CU    0      <       ft    l-.    ft                  I—’   ft    H-    0      3’      CD     ‘1    CD                     0’
                                  ‘1     l—      T                                Cl                        CD     CD     5     ft      C)      i—S    tO           ft
•            CC)      Z
      o•     —              Cl     c     Cl      CCI   I-’.   ,C                        ‘C)         CD             Cl                   0       ft                  CD
      C      N       ft           CD     CD      ft    Cl     Ci                  ft    CC)   CD    CD                          Cu      0
      ft                    (CC   ‘1     Cl            Ci     CD                  r           U)    U)      II)    ft     CT)
             ‘       CD     C)     U)            ft    Ci)    i—                  CT)   ft          -       U)     V            i-      CD      CC)    •            U)
Cl    ft     I                            Cr      Y    I—’    I-’.   ft                 ,-•   ft            Ci     CD                           U)
             Cl      N      ft           ‘<      CD    Ii)    i-t    CT)                C)           UI            ft           0       Di
      CD     -‘•      I            CD                         )-•    (1)          ft    Ci    CD     0      ft            CD    t-      ft      CC)                  CC)
r            C)      ‘C      CD   ‘-      )            E      CD     ft           CD                        (CC     ft    ft            )-‘•
CD           0)      CD     ‘<     CT)    0      S            Cl     •                  Cl)   Cl     ft                   J     ft      0        (0    G)            ‘1
             ft      ‘<                   )      CD    0             I-h                ‘-C   0             ft      .     CD    :       Z
                                                                                                                                                       CU
                                                                                                                                                                                Doc 22814-28




      CD     CD             E      ft                         S                               C)     CD     0       U)    ‘1    CD               (I)
             Cl      ‘1     CD     0      5                   CT)                 ft          ft     rt                                          ft    C)
CD    CD             CD     ‘-     I—i    Cl)    Y     Cl’)   Cl     rt                  1    0             ft     ‘tI    ft     CD     l-•      Cl)   CD            ‘-C
                     ‘ti    Cl)    Cl     Cl     CD                               CT)    Cl   ‘1     ft     3       ‘-C          5      ft      S                    CC)
(0    CD     Cl      0                           <     CD     0      0)                 i-•                 CD      0     CD    tO                     ft            ‘1
 o    tr             ‘1      U)           C)     CD           C))    ft           CT)   <     ft     CD             C)    <                       I    0             CD
             Cl      ft      Ci           CC)   -      ft                         S     i-.   J                     CD          0       ft             0
I-•   0              U)     tO     CD     I-’                        ft           ti    Cl    Cl)   ‘Ci     0)      Cl    3                                          CD
J     ‘-C    I-•            ‘Ci                  ‘1    Cl)    ‘Cl                 I-’   Ci    ft     CD     S       Ci    CD    CD      CD       A                   U)
ft    S                      0           tO      CD            CD    Ct)          0     CD           ‘-I    1-•     i     Cl    CD                     N
o     cii            CD      U)    ft     CD     ft           0                                      U)             CD          U)      Cl       CD        I         I-C’
      I-.    ‘-ta    ‘1      CD    3      ‘-C          0      ‘ti    ‘1           CD          CD     0     ‘<                           0       ‘<     ‘1            CD
ft           CD      CD      Cl    CD     (I)    CD    ‘-C     —.    CD           CD          Ci)    I                    Ci            C)             0)            ‘1
                                                                                                                                                                                Filed 08/14/09




      I-ti   0                     ‘-•    0      ‘-C          CD     CD           U)                       ‘(1      0     i     0       ft       Ci
CC)   C)     ft      Cii    ft    ‘-C    i             CD            (I)                A                           Ci    (0    Ci      0        (CC   U)            CD
ft    ‘1                    0            i       ft    ‘1     D      0            Cl)         0      Z     ‘-<                          ‘-C      CT)                 (C)
             (I)     CD            N      CD           U)     0                   Cr    Cl)   ‘-C    0      U)      Cl    tO    Cl      U)       Cl    0
‘Cl   ç      r        -•    (C)     j    i-’     CD                               o           S                                                                      ci
CD    i-     0              0     ‘-                   Ci            ft           Ci          CD     CD     C)      Cr    0     Cr      ‘—‘-     CC)                 C)
‘1           E       CD           CD                   tO     Cl                  ri-    CL   I—’    I      i—’.    CD    Cr    CD          )          01            C)
                     Cr           <                                  CD                 CD           Cl     Cii                                  (C)
      CL     CC)                                 CC)   ft     Cr     ft           ft    CC)   ‘-<    CD             ft    CD        I   t-      ‘<     1—’          ‘C)
C)    I-•            CD            ‘1                         Cl)                                    Cl                   S         I   l-•      U)                  CC)
Ci    i-ti           •      CD     CD            CD    CD            ft           CD    D     i-•           0       CD    U)             Cr      ft    ft            ft
I—.   i-     i              I     tO                   ‘1     Di                        CU     )    Ci     ‘-ti                          Cr      CD    3
CD    CD     S              CL     0                   CD     Cr     CC)          ‘-C   U)          V               Cr          0       ‘<       S     CD            0
                                                                                                                                                                                Page 32 of 48




‘1    ‘-1    Cr      A             ‘-C                               ft           CD          C)            CD      CD                  •              i-’•
      CD     CD             (0     ft            CD    CD     CT)                 Cl)   ft                  CU      U)                           ft    ‘-C
             ‘1      CD     CD     U)                  Cr                         Ci          CD    --      0       ft    0     Cl
      rI                    Cl)                        C)     ft     Ci)          )—    CC)   ‘-C   ft     T
             0                                         Ci     0      U)           ft    ci-   (C)                               Cr              ft
             I-ti                                      H-                         U)          CD                                CD                                          W
                                                                                                                                                                            0
                                                                                                        (—i              (—         )—         l—
            P3         P3         P3         t’J        P3    (—          l—        )—        (—                                                                                                               Ui          iC        C.)        P3
P3                                                                                                                       Li)        P3                    0         CD         CD         ‘-)        CD
                                             P-         C)    (.0         0)        ‘)        0         (31
(71         4.         W          P3


                                                                                                                                                          It        (3         CD                              Z           It        X                    0)
                                                                                                                    rt                         It
o                      0)                               It    Cl          Mi                                                                    j                    j                                         CD          0          I
                                                        Y     •           1         i                               CD   p..        CD                                                                                                                    CD
Mi          (0         U)         I                                                                                                 M          CD         0                    Cl)                             ci)                   ‘1
                                                        )     Cl          C)                  CT                    U)   It                                                                                    I-          It        03                   0)
            0          CT         Cl                                                                                It    3         CD         <          U)        l
                       (CC                              rt    1                     —         0                                                                                           40                   It                    <                    -
It           i)                                                                                                     U)                                    CD        0          <
                       (I)        C)                            -                   (0        <                                                                                           CD         <         3           CD        U)         -4
                                                              It          It        (31                 Ci)              ‘1         (          0)
CD                     It         CC)        C))                                                                                    CD         It         ‘tI       0)                    iC         0
                                                                          ;j•       CD        CL        I-’              CD                                                                                                          CD                   Ct)
                       o          rt         0          03                                                               (0                    It          C        ‘-C        CD         -                    0           ‘1
‘ci                     to                              (fl   ‘tI         CD                  0                                                           l-                   CC)                             (It
                                             Ct)                                    0)        C)         -‘              CC)        It         CD                   <                                                                CD         (0
 CD         Z          -•         0                                                                                                                                                       Cl)        <                     Cl
                                                              CD          X                   It                         II                                                                                                          ‘-C        0)
 o          Cl         U)         Z          to         Cl                                                                                     ‘(3         0                                         CD        It          0
                                                        0     Cl)          I        Cl        0         0)               Cl         0                                                                                      o         <
                                                                                                        ‘-C                         Mi         It           i       ç                     Cl
            03         t3         0          It         l     CD          ‘I                  ‘1                                                                    3                                J         CC)         It                             Cl.
                                                              I                     Cl        (0                         It         Mi         CD          CC)
 CD         rt         CD         Mi                    CD                0]                                                                               ‘-C      0          Cl         It         CD                    0
                                                              It                    -‘                                   0                     Cl                                                                                    CD         It        U)
                       0)                                                                                                                                 ‘<         It                   r          CC)       CD          M
                                                                                                        -                           CC)
                                                                                                                                                                                                                                                                            Case 01-01139-AMC




            It         ‘1         It          (P        1                 (I)       0.        C)                                                                     i-..      It          CD        M                               CI)                  C)
                                                        t-     CC)                  i         C)                         It                     It                                                                         0)                   CD
             3                                                                                                                      Cl          0          Mi        0                               Cl        ‘CC                   M
                                                        It                CU            -                CI)                                                                                                                                    ‘1        (1)
 o          CI)         i         CD                                                                                                                                 3         CD                                          CT
                       (C)                    CD         3     0..        U)        It        U)                          (C)                                                                        It         0          0                    (1)           C.)
            rt                                                                                           (fl                        J           C)         i                               U)
                                  Mi          1                CC)                            r                                                                      It         CD         It                              (3
                                                        It      i         It        Mi                   It               CD        0           0          0
 CD         ‘CS         0)                    It                                                                                    It          1          It        Cl)                   0)        CC)        CD         It
                        U)        ‘I                     3    CC)         C)                  It         (3               X                                                                M         It         (C)                    1        0)            It
 ‘1          0                                                                                                            (U         3          M          F-i.      (0        ‘ti
             i-i.                 0)          0         CD     CD                   i         CD         Cl                                                                     I-’           It                U)         It         (1        0)
 CD                                                                                 Cl                  ‘<                                      CD         (3        It
                        Y         ct          I                ‘i                              0.                                                                               0                    ‘CI
                                                                                                                                     i          P’
 It         rt          CC)                              Cl                                                                                                                                          (3                    CD         It         (t)          i
                                                               It          CD        0)                                    1        ((3         03                   ‘1
            -           U)         (0                    0                                                                                      It         It        Cl)        CD        ((3                   CU
                                               -•        0     0           It        5            -      0)               03                                                                                                          CU        ‘CI           $
 CD                                U)                                                                                     It         0          CD         CD        (0         CD                              to         X
                        CT         CT         I          It                         ‘<         It        U)                                                                                   I-..    0                         I                ‘-C          0
                                                                                                                                                            U)                  U)
                                                                                                                                                                                                                                                                            Doc 22814-28




                                                               It          CD                                             )-         Mi                              (3                                                               .•         (3           (I
 CD          •          CD         CD                    0                                                                                      It         It        C—
                        (9         (I)        It         ‘1    b           ‘-5       0                      I             0                                                                                     0           £)        i         (C)           CD
                                                                                                                                     ())        r          Cl)       It                               0)
                                   It         T          Co    CD                    0         ‘-s          I                                                                   CD            Ct      1         Z          ‘<         Cl         ‘-5
 ‘ci         3                                                             LI        I         CD                                               CD         -         (0
             •                     0          (1)        -                                                                                                            •         ‘1                               —•                   i-”        CC)           Cl
                                                                3          I-•       0        (0            0             0          0                                                                                      ‘1                                 CD
 0                      0..        U)                                                                                                0                                          CT)           CD                 It                   <
                                                                CD                   I—’       CC)          ‘-C           Mi                                                                          Mi         0          (I)        P-                      It
 <           (C)        •          I-’-
 CD          ‘-C        U)         to         I                 0)         CT        (3        ‘-C                                                                               It             -     Ci         ‘-5       ‘CI         Cl        C/)           (C)
                                                                                     I))       (3.          It                It     C)          i-i-       C-’-                                                                                 Cl)           C-’
 (1)         CC)        C)                     Cl                —‘       ‘<                                                                                                                  ‘—]     I          CD         0          (3
                                                                                     C-’.                   T                  3     C—’         It         C)            3      C)
  U)         C)         Ci         C)                           It                                                                                                                            0       C)         Cl         ‘-5        CC)       It
                        U)                                      Y’        ‘Ci        0            It        CD                0      (3                                                                                     It         C-’
             (C)                   CC)                                                                                        U)     (1)                              ‘--        (3..         (I)     It
                        10         U)          (3)                         ‘1        I            C)                                                                                                  C-”        0          0)         to        (3            C-’
  Ci                                                                                                        Cl                (C)    C-’         It         CC)       (1)
 ‘(3          ‘-        CD         (CC         0                0          (1)       U)                                                                                          0                    0          i                              ‘ti             1
                                                                           Cl)                    It        0                        <           3          ‘l        CD
                        Cl         -           U)               Mi                                                                                                                            It      3                     CD         )
                                                                                                                                                                                                                                                                            Filed 08/14/09




              CD                                                                                  3’        0             ‘tl        CD          CD         CD        ‘I         Mi
  It          C)                              -                            CD        It                                                                                                                          CC)        <          CD         U)           It
      J’      C)        ‘Ci                                     It             3     f            CD        It             (3                                                    0)           CD      It                    (0         ‘-5        0            T
                                                                                     (C)                    (3                C-’        1       >          CT        l)
  Cl)        (C)         ‘1        i—I         It                   Y      It                                                                               C-                   C-’          <       CD        ‘<          ‘5         CD                      CC)
                         CD            J           J’           Cl)        CD        It           X         ‘-5                      0)                                                               Cl)        Cl)                              It
  ‘-C          1                                                                                                              0      It          ‘1         CD           CD      1-’
  CD             C--     <          CD         CD                          Cl                               0)                                                                                        It         CU                      It          3’        It
                                                                                     0          ‘1                                   Ii          CC)         CI)          1                                                                                    CD
                 P-I     ‘-‘-                  ‘-5                                                                                                           It                  0             CD     C.)        ‘1                      0        CC)
                                                                            (C)      0          CC)         C)                (C)    ‘1         ‘-<                                                                                        —                   U)
                         0          Mi         CD               0                                                                                                                                                ‘-‘        CD                    It
                 CD                                                                                                                              U)          ‘           It      Mi            ‘1
                                                                ‘-5                     Ci     ‘<           0                 ‘-     CD                                                                                     Ct)                                It
     C-’         CI      (3           i-’.                                                                                                                                                     CD               ‘<                       Cl
                         U)           ‘I                        )“          Cl          C—’     (I)         I             ‘<                     •           C-’                                       CD                   ‘-5                   It
  (C)                                                                                                       0)                                               I            CD        It
   T             It      I-’          Cl)      CC)              CD          CC)         0.                                                                                          3’         It      M             CT                  It       r
                                                                                                ci          (3                Mi      CC)                   CC)       ‘<
      It         T      ‘<            It       U)                                                                                                                                    CD        CC)     CD            CC)        (0        0       CD            0
                                                                 Cl)       (0           0’     ‘Cl          I--’              (3      U)            ‘-3                                                                                           ‘-C           :i
                 CC)                                                                                                                                T          It         It                                         U)         0
                                                 U)                         CD          CT)                 It                                                                                                       C-”                  It      CD           ‘<
                                                                                                                                                                                                                                                                            Page 33 of 48




      (3’        it                                                                                                                      Mi       CD        CD            C)                   CD      It
                         CC)                     0                                                It        (C)               C)                                                                                     U)         It        CC)
      CD                                                                                                                      It         0       ‘<         U)            0                              CI)
                 U)      (I)                                                            Cl                  0..                                                                                          )‘‘                    i’        C-’
                                                                     03        0        ‘-5        CD                         I-”        Ii                 It                                                                            ‘       CD
                 0                                 CD                                                                                    I                  U)                                         Cl)                      CD
                            C-’                                                ‘-       CC)        ‘1           I             0                                                                                                                   ‘5
                                                                                                                                         P..                -                                          I
                             3                                      (I                  3          CD           I                                                                                                                                 CD                 Ui
                 CD                                                                                                                                                                                                                                                  I.-.
                   )     (‘3    (‘3   (‘-i                 I-       (-     I-’      (-     (-‘
01           N     (‘3   (-     0     L      0)            0)       (Il    4        N      t’3    I-     0                    -.    0)    0)      ‘      (3     (‘3




U)    ‘U     U)    -t    o      ‘U    U)     U)            i-i’.    ‘1                            ((     r-t    CD     <            U)    rt      ft     C)     U
C)     ‘1    ft    U     Cl)     ‘1          0      I      0        CD     ‘1                     CD     3      U)     U)           U     0              0      i      CD
0      0     U     Z     C)      0                  N                      •                -     Cl     CD     C)     ‘i           CT            (U     3      Cl     rt
             Cl    Cl    U)     <     CD            I      ft       U                       0     Cl)                  ‘•           U)    -C      ‘-     Cl     CD      -t
o     ‘U                                     CD
       0     •     U)    U      .     U)                            CD     UI               1     U)                   0            ft     CD     CD
‘Ci    U)    CD          U)     Cl    ‘1 ‘1                •        U)     U)       0      (C     i-     CD     0      U      Cl)   U)    ‘U      U)     rt     ft
       CD    U)    ft    CD     CD       Cl)        C)              ft     )•       ‘U            CC)    U)     I      U)     0     i     )—      )h            0      CC
•      l           0            Cl    0U)           0                      N        CD     ft            1—’    Ct)                 ft    U)      ft     0      0
U)           ‘U          0            ‘1 U)         U                               ti     I-’.   CD     rt            )-     0     (-.   C)      It)     1            Cl
      Cu      ‘i   Cl                    0                          0      Y                      Cl      J      0            ‘U    U)    CD      1      (U
It)    1      0    0             ))   ft I          Cl     CD       1      U)       rt     CD                          ‘U     CD                                       U)
CL    Cl     ‘U          ft                                ‘1              Cl                             d             ‘1                ft      •      U)            CD
•             0    ft    t)     Cl    0      0      C)     CD       ‘-‘•            CD      U)            CD     ft     0           C)            (C)    ft     H-     U
      ft      U)   3     Cl)                 ‘1     0                      ‘U              (C)           ‘U             ‘U    ft    0     CD                    J      Ci)
       3      CD   CT)                                                      0       ‘<      0     I       Cl)    C)     CD          U)                   ft            Cl)
                                                                                                                                                                                   Case 01-01139-AMC




      CD      Cl                 I    U)     CU     Cl     U)       C)      •       CT)     •     Cl      ‘1     Cl)    i     CD    ft                   J      CU     Cl
             -     U)    Cl)     N    ft     I      U      U)       (‘C    I        Cli                   rt     CD     CD          -             CD     CD
      Cl           ft    C)      I    CD     0      C)                     rt       ‘1            rt                     1                0       i             U)
                   U     ft           ‘1     rt     ft     C))      Cl)    CT)      Cl)            J      CD     Cl)    ft    CD    H-    I-                    ID
      -h     CD    Cl    -                                          rt              -             ))       1     ft     U)    CU    3     CD      ft     i-     I
               -                 Cl          CD     U)      1       I-’                           ft      ft     CD                 CD                          U)     rt
      •      1-’          Cl)         ft     t-             CD      0      0        U)                          ‘CI           (C)   “U     H-     CD     CD     CD
      C)     I-’   Ci)   ‘U      Cl    J             Cl)   ,fl      I      U                              Ci)    Ci)                                                   ft
      U                  ‘U           CD     i       ft     U              ft       U             U)      U)     •     H      -t    ‘-     -•     It            0      Z’
      F-     rt           Cl)    1           C)      U      CT)     C)              Cl            (I)                         J      CD     1     CD     i             Ci)
      ft     Cli   ft     )1     0    i      ft      Cl     Cl)     0               I-’•                  U)           CD     CD    ‘U    (C)     C)     Cl            rt
      )-‘•   )-     J     CD     rt   U)            “U      ft      S      )1       Cl)           1—’     I-’    H                                 3’           U
                                                    -                               (1)            -i                  Cl)    Cl    U)                                 ‘U
                                                                                                                                                                                   Doc 22814-28




      CD           U)                        ft                     C)     0
      Ii)          rt     ft     cT   CD      J.               -b   CD     ‘1                             Cl)    CD           U     C)            0      I-’.   (C)    CD
             Cii          I-’    I    (U     CD     Cl)    0        ‘1                            “U     “U                   U)    CD     i-                    CO    ii
      )-‘•   CT    rt    “U      Cl                 I      ‘1       I      CD       Cl)            CD     (0     Cl)   )-•    ft    Cl     i       0             I     “U
             0           -       CD   U)            Cl               -‘    X        Cl             CU     •      It                        Cl     CC)            C)
      Z
             U                   ‘-   1      ft            ‘U        ri    u                       ,-i                        l•    ft            “U            “U     (I)
      (C)    rt    CD     rt     ft   Cl     0      ft      ‘1      (C)             CT             U)            I            CD           CT)                         U)
       CD                        (U                 J       0              ‘U       Ct)                    1’    Cl    CT     ‘U    CD     U)     b
       ft    ft           (1)         I-”    ‘U     CD      ‘U      CD     )-       CD             U)            CC)   CT)    CD                  C-”    CI     rt     CD
      rt     CI          ft      CD    1      )1           I-.’            CD                     (0      Cl     ‘C           C-           F-C    CI     Cl      J
             C))   CO                 -h      0     CL     Cl       ‘U     -.                      0             Cl    ft     Cl)   CI’           U)            CD     ‘U
      CI           0     ft      ft   0       ‘U    CD     i-’      )-‘              U)                  ft      U)    CI’          0      C-’.   C-’     ‘U            0
      (0     (0          CI’    CI’   ‘i     i-’.   C)      CI       0               U            rt     CI’           CD     CI’                  I-’    CD           C-”
                                                                                                                                                                                   Filed 08/14/09




             rt          (V     CD           Cl     C-’.   CL)      “U     CD       ‘C)           CI     CD      CI’          Cl)   Cl)    CL     “U      ‘1
      ft     U     r     “U           U)     CD     Cl)              CD         -   (C)           U)             U)    r-I-   Cl           C-’.          “U     ‘Ci
      CI’    Cl    I-’          rt    ft            F-     ft        CD    C-’       CD           ft     ‘U      Cl    CD                  (_)    CT
      0      F-’   I—’   Cl     CD    C-     rt     0      CI’       U)    i-’       U)                  I-’           U)     CT           (U     CD     U)     0
      U)     CD    CD    C-.    (I)   0      zr     CI     CD         -              ft           ft     CU     (3’    rt     CD    I-’    ft     C)     CI’    ‘U
      CD     U)          Cl     ft    CI     CD                            ft        CD           CI’    CI     CD     C-’.   Cl)   C-’    Cl)    CC)    0      CD
                   ft                                      CI       CI     C))       Cl           U)     rt     CD            CI           Cl            ‘1
             H-    3’            U)          CI     Cl)    U)       U)     ‘                        t           CI     0                          CD     tt     CD     U
             CI’   CD    ft      .    CD     (()    CU                     CD                                          CI                                C-’    CI
             U)    ‘                                       CD       (V              U)            E      U)     C--’   “U     0            (U     (C)    “U     ft
             ft    CD    CI’    ‘U    CD     CD            U)       U)     rt       :i            CC)    Cl)    0                         H-      ‘U
                         U)     ‘-‘          (0     Cl)                    CI’      Cl            (C)                  CU     CD                  U)            0      ‘-
                         ‘U     “U    U)     •      Cl     U)       fl)    CD                                   CD     0’     ‘-i                 C-’.          i-ti   C
                                                                                                                                                                                   Page 34 of 48




             CD    CD    CD           C-’           CD     0        CI                            Cl            ‘1     0      CD                  C—’                  C)
             ‘1    ‘i                 C-’                           Cl                            0             CD     U      Cl                  (Ci           ft     CD
             CD    Cl)   ft                  (II    C-ti   rt              I                      CI            Cl     ft                         (3’           CI’
                         CI’                 U      0      CI’      U)     N                      CD                           0’                 C-’           CD
                         CD                  ft     ‘1     (Ci      0      I                                    (3’           “U                  CD
                                                           ft                                                   “U                                                           C’)
                                                                                                                                                                             (‘3
                                               —               ,-      ,-     .                           .
r)      \)      r.J    )        t)      tO
                                                                       (7)    (Y    4       ()     tO     f      0     (0    0)      -)     0)       (ii          C)     tO
C)1     $       L)     tO               0      (0       CX)    ‘-.)




                                                                                                   cJ     o            Cl    CO     ‘trn)    CD            tJ     ft     U)
        i-•                                    c        ci                    <     E       <
                       ‘1       Co      0      I        CD     tY             0     Co      CD     CD                  0     Q        0      X       Z
Co                                                                                                 CD     CD                 0              tI       Cl    CD            CD
        Cl             ctt      <       I-”    Cl       d      CD                   (1)     Co                         Z
                                                                                                          CO            -            J       0       •     Si     U)     I
                       d        CD       .i    CD       0                                                                                                                Cl
                                        5Q     t-       U)                    S)    ft      (C)           ft           ft            H-      (fl     C)
 i      C)             CO                                      CD                                                                                          C))    CC)            Z
                C])    ‘1       H-                                     F-     0     3                      Z’    U)                          Si      Co
o       CO                                                                                                -.     :•    C)    CO      p.      j       ft    -             Li.     0
        rt      0               0       ft     C)       ft                    0     Cs)             CD
                                                                       U)           ft             rJ            CD    C))   Si       1      CD      CD           (0     Si
5       CD                              0      Co              CD             5                                                                                          U)      -
                                                                -      Y                            0     Co           i     ft             -        Cl    ti     C)
ED      Cl      Co     (fl      ‘1             ft       0                     ft
                                        (C)    3         1     ‘1      0            P•      CD      ‘1    i      C)    (C)                                               ft
Cl              ft              CD                                                                                                           Co      ft    CC)    M              1-1
        ft              ‘-i-.                  -        (C)    CD      Si     CO    ft      1       H-    Cl           CD    ft      CD
p.                                      CS)                                                                                                                Q      P      C))         -

        3       H-      0       <                                                                   CD           C))                 ‘1
C)                                                                                                               P     CO                    Cl      CO    Si     C)
CO      Co                                     Co                      41     s-    CL      ft      Cl    ft
                                                                                    P       CD                   S     I     P•       —‘             ft    CD            Ih      Cl)
s-      ft      CD               Si     C))    tC                                                                                            (C)           U)     C)     (1)
                        0               J      Cl       tr     CD      5      0     Cl      U)      (Y    CS)    (I)   <     C)
                                tI
                                                                                                                                                                                                Case 01-01139-AMC




                                                                              t-h   S       H-            ft                 C))     Mi      0       H-           CS)            ft
 CD     P•      ft      Si       0      Cl                     C$      CD                          ‘<
                                               U)       C)      Co     Z                -   p.              -          (I)   S-      CD                           U)             CS)
 X      ft      P•               Z                                                                                                   -       U)                   CD     5
                                                                       H-     ft    ft      S             U)           <     S—i                     C)
‘ci             S                              0                                                                                                     CC)   F-I           0       (5)
 CD     CL      CD      C)                                     P.      P.                   0      CD                   5
                                                        CD       i     0      s)    s-’-     1     F      cr     U)    ‘CI                   CD      CD    ft            S
 Z                      C))     ::3      CS)   E                                                                                                             —           CD
U)      CL      H-      U)      C))      rt    CD       i      (C)     1      ft    i                     CD     •     H-             ‘CI
                                                                              •     ft             ft     CD           0     ‘CI      ‘1    ‘C)      C))   U)                    ft
CD      I         3     CD      ft                      CD                                                                                                               H-      0
                                                               ft      ft           CD      C))           I            S     i—i      CD     0       ‘-           U)
            -   CD      U)          -    ft                                                        0
U)                                                                                                                     Cl)   CD       U)     ft      CD    CY            U)      0
        ft                       Cl)           C))      (1     C)                   ‘1      H-                   0
                                         CD    ‘        0              C))          F-h            Y       ‘1          •     Si       Si                   CD
 CD              Cl                                                                                                                          H-      ft    CT)    CD             S
 X      P.       CD              C))           CD       C)     (0      ft           CD      ft     CS)     (55                        5
                                                                                            r                    U)           Cu      Co     J       J      Z       -    P-
 C)     I       ‘CI              Co      H-             Si      CC)                 -s             <      ‘CI
                                                                       Cl           CD      CD     CD      0     0            i-      Cr     CO      CD           <      ft      C)
                                                                                                                                                                                                Doc 22814-28




 CD     H-       0                       (0    CO       5       ft
                                         U)     1       CD             Si                                                             F--    ft             Cl    CD
‘CI     CD       (C)             Cl                                                                                                                  C)    P•
 ft     M        P                       ft                                         E       ft     CD      ft                ‘Ci      <
                                                                        —.          ‘-i-    s-.            CD    C)           s—’            CO      C))    C))   p.      -i     0
        F-h      ft              P       P     s--      ft      CD                                 >
                                                        U)      C))     Z           H-      S              £1                 C))     5J•    U)            (C)    :i      CD
 F-h    CD       s-.             I       S     Cl                                                                                                    p-      1            U)
                 0                       0     CD               Cl     CC)                  cp     CD            CO          ,Q       CD     Cr                   Cl
 o                                                                                                                                    H-     CD      p.     0     .      iTJ     .<
 ‘1     CD        5              ft      1     CS)      ft     ‘<                                  ft      ft    P•           Ci
                                                                       ft                          (5)     0     5            CD             U)             (C)   C)      CD     0
                                 :J_    ‘<                                                                                                           &Q                   C)     Si
 ft                              0                      t)                          CD      CD     £1            U)           (C)     CD     ft             CD    CS)
                                         I--       3    ft                          ‘1                                                (5)    0              Cl    ft      ft     ‘1
 3      P.       P3              U)                             0      CD
        H-                       CD      U)    C))                                           ft    0       CD    (ft          Cs)     I      (I)     C)           (5)
 CD              U)                                                                                                                                                       ft     ft
                                               ft       C))            ‘ti          2        0      <      ‘1    0                                   Co     Cr    Cl
                                                                        C))                  0      CD           S            CD      CO      CD     M                    0          P
 H-              ft              Cl     (0              ‘1      H-                   0
                                                                                                   F                                  0       X      Cl                          S
                                                                                                                                                                                                Filed 08/14/09




 E               C))             (1)     0     ft       CD      :       ‘-i          ‘1                   (0     CD
                                         P     J                CD      H-                                                    (U             ‘CS     U)     X     X       M      CD
 o      CD                      ‘Cl                                                                                                                          S            (5)    -
-       ‘-       CD              0       5     CD       (ft                         -               C))   ‘<     U)           (C)     CU      C)
                                                                                             CD            U)                ‘<       1       U)     0             U)     I-’
                                 Si)    (C)                     ft     0
                                               0        0       ‘1     Mi            C))                   p.    C)           S       Cl        Si   -s     CO            C))    Cr
                                               ft       j       I-•.                                (      C)    ‘(          (0               ‘1                          ft     (:
        0                        ft      ft                                                                                                                               P•     ft
                                 ‘-i-          T                C))     ft           Cl      Cl     S      P.    H-           ft      C.)     CD     Cii
 H-     ‘1                               0                                                                                                                                i
                                               (5)              1-                           CD     Cr     C))    1           0       C)             Cl)           0
        S        ‘1              0                                                                                                                                       SQ      S-I
 5-’-   •        U)              I       CT    ‘1        U)    -        CD           (I)    (0      CD     I     Ct)          S               C))    Cr
                                 (C)     CD              ft                           Y      0      ‘1           Cl)          Co     ‘<       ft     CD
                                                                        s—’                  (C)                 U)           H-      CD             U)     CD     (1)    F-’-
                                               Ci)       C))                         CD
                                 s-’-          s-’       ft     CD      CS)            -     P•     0      Co                 P       CO      U)     H-      -     0      H-         Co
         C/)
                                                         Ct)                         F-      H-     Mi      )    0            C)      I-      0      0      Si
                 0                             Cl
                                                                                                                                                                                                Page 35 of 48




                                          P                     ft      U)           I—a     p.            l     F-h                  U)      El     Cl)    CD            H-     ft
 Cl      CD                                    CD        5
                                                    -    (5)    C))     Ci                   0                                                CD                   3’     0
 0        -       1                                                                                                                                                              ft
                 (/)                     Cl    U)        i              P            ft      I             P.                                                      Co
 C)      (1                                                                                                                                                        U)            0
 ft              0                                       ft     CD      H-           CD                    H-
 0                                                       1))                                                 -
 II                                      CD                                          I-’                   (I)                                                                            C’)
                                                                                                                                    _*            -4                4-’         4-                                                                                               U)           10          4-’
                                         10            1)          10                                                                                                                                    (0          0)             ‘)           C)            Ui
10           10            10
                                                                                                                    O’i             Ut            4      U)         10                       0
                                         L)            1-’         0          cO           D
UI           4’.           L)

                                                                                                                                                                                                                                                 rt                              tJ           U           (
                                                                                                                                                                    5                        ft          CU          ‘d             C)                                           II           ‘1
                                                                   ft         CU          ‘<
                                                                                                                    (Cl                                                                                  )                          0            ID                       CD
o            C1                                                                                                                                          CD         0           I-’          3’                                                                           I-’    0                        U)
                                                                   ‘          (Cl         0             Di          CD                            CD                                                                 0              C)           U
o             1            0             J’            U)                                                                                                 -         ft          C))          C))         Cl                                                               (U     C)
                                         CD            0’          CD                                   0           CD                                                                       ft                      u’             C)           it                                                       ft
C)            CD           i                                                                                                                      Di     1          J                                                                            I-’.
                            —                          CD                     (U                        it                                                                                    —          rt          b—.            CD
4-ti          (I)                                                                                                   Cl)                           it     CD                     C)                                                               4-ti          Z          CD     (I)          C)’         U)
                           4—’           4-ii          (I)                    C)                                                                                     C)         ft           U)          C)’         CD             1                                            U)           4-”
CD            CD                                                                          0             ft                          3             CD                                                                 El             C)           ‘-<           0          Cl
‘l                         t-            C-”           it          0                                                <                             (1)    0          CC)         I-”                      Di                                                                      U)           ft          0
                                                       0           ‘1         CD          0             ti                          C)’                                                      0’          ft          -
ID            ft                         CD                                                                                                              C)                                                                                                               rt     4-’          D
                                                                                                                    •               CD                                                                    -                          C)          C)’
                                                       U)                                                                                         ft                            ii           II)                                                                          0       0           C)’
C)                                                       I         Cl         C).                       CD          Cl              ‘1                                                                   U)           C))           CC)          CD
o            C)                          Cl                                                                                                       0      ‘<          C)’          -                                                                                                           C)          El
                                                                        -                  Di                       ID              CD                                                                                                            4-C
             LQ            C)            -              11                                                                                                           (U         U)            C)                                                                                                          C))
CD                                                                 U)          cJ’         ft           ft           0                                                                       (C)         CU           I—’            ft           CD           C)         C)’
                           Cl                           CD                                                                                        it     C)          it                                                                                                   ID      4-.         (Cl         ‘<
                                                        I-                     t-’                      C)’          ft                                                                                                                                        Cl
               (I)                       C))                                                                                                                         U)          0                       -                                                                                    Cl)          0’
I-’.                                                                                                    C))          C))            Di            C)’    0                                                                                        (1)          0          )C      C)
                            0            C)             (U         Hi          it          C)’                                                                       0                        Mi                     C)                                                                                    CD
C)                                                                                         I-”          ft                          U)            C-’.   C)                                                          LQ                           ft            c
                            ç            Cl             ft          0                                                                             U)     C)          CD          C)           0                                                                            El     C)’
                                                                                                                     CD                                                                                                              Mi                         ‘
                                                                               i-”         U)
                                                                                                                                                                                                                                                                                                                      Case 01-01139-AMC




 (1)           Dl           rt                          CD          1                                                                                    CD          <                        M           0’                                                               4-     Cl)                      ft
                                                                    CD         C)                                                    (Cl                                                                  CD                         (4)          ft
                                          ft            C),                                                                          -                   ij          CD          C)                                                                             CD         U)     ‘C           4-3         C)’
                                                                                           C)            i-’.        Cl                                                                       (4)         CD             ‘C          C)           1
                            Mi            C)’                                                                                                                                    -‘                                                                                                            C)’
 CD            CD                                                                                        U)          CD              I-”           (I)    C)                                                                                                    Cl         CD
                                                        11          0          rt          C                                                                                                  ‘1          C)             0           ft
 Cl            ‘C           4-
                            C             CT)                                                                       ‘tI             EQ             ‘1     CD                     Di                                                               Di                       U)     Cl           11)         CD
                                                        4-          U)         C)’         ‘1                                                                                    ,.           Cl                         tj’
 CD                         0                                                                                                                      rt     Cl         ft                                                                                                    (i)    .            ‘1          CD
                                                                                           4-            t-ti        0               C)’                                                                                 I-’         rt           )-‘          ‘<
               0                                        U)          ft                                                                                               0                        CD          Cl)                                                  -                  (Cl          CD
 C)                                                                             U)                       CD          U)              ft                                                                                   CD         C)’                                   CD
               C)                            CT)        CD                                                                                         C)     (I)                                 Cl          C)                                                                      CD                       Cl
                                                        C))         CD                     C)            CD          I-”                                                                                  ft                         Cl)
                                             CU                                                                      ft              El                   j’          Cl                                                                                                                                   o
                                                                                C)         C                                                                                                                             •           it
  U)            Di          I-”              U)         U)                                                                                                a           0                                                                            E’           CD                U)           4-’          C)
                U)                           0           CD        ‘ti          Di                                                                                                ‘-C         CD          4-C                                                                                  4-           ft
  o                                                                                                      (            0              C)            Di     (                                                                           ‘
                                                                                                                                                                                                                                                   1            ‘1                CD
                ci’                          C)          U)         CD          U)         l                                                              ft                      U)          ‘1          CD                                                                                   1—’          0
                                                                                                         (J)          C)              rt           ‘1                                                                                 CD           Cl
                CD                                                  4-C         CD                                                                                    I-’-                    CD          4-’
  ‘
                            Cl                                                                                                        4-.                                                                                                                                             CU
                                             ft                     ft          -                                                                                     it
                U)          CD                                                                                                        0            C)         J                                                                                    ft                                 C)       0’
                                                                                                                                                                                                                                                                                                                      Doc 22814-28




                                                                    (Cl                                  Mi           0                                                           L            0’                                     C)’                       C                                             <
    U)          ft          ‘tJ              C)’                                                          (4)         Mi                           C))    CD          C)’                                                                          C)’          U)                    Cl       Cl)
                                             C))         X                                  i-’                                                                                   0           <               ‘-C                     Di                                                                       4-’.
                o            0                                                                 ft            -‘.
                                                                                                                                                   (C)    “C                                                                          U)            CD          C)’
    ft          U)           U)              ft          CD         0           0                                                                  CD                   )         C)’                         CT)                                                  (U                 ft        ft             U)
                                                                                               Di                       Ii            0                                                        ft             U)             0                      ‘1
    CD           I           ‘-“                                                           -                 -‘         ‘1            I-ti          •     ‘TI         C)          C)                                                  C))           CD             C)                 C)        CD
    (Cl          4-C         ft              ‘           C)’                                                                                                         ‘<           (Cl          C)’            0              C)’                                                      C))       (Cl            ft
                                                                        “C                                                •
                                                                                                                                                           C)’                                                -              C)                                    Cl
    ft              CD       i-’•             CD         Di                                                                           U                                           0            CD                                                               -                     ft        ft             U)
                    4-’         0                        U)             Di          s-”        C)’                                                                      C)            C)                                     (Cl         (Cl
     4-’                                                                                                     U)       U)              ‘1                      U)                                                                         CD           4-’                                          4-’
                    C))         C)            C)                        Cl          4-’                                                                                                -       “(I            CD             0                                                         ft          El           ft
     El                     -                                           C-”         i-’        U)                     Di              •                       4-’                                 1-’         (1             C)          ‘1           C--’          U
     o              it                        Di                                                                       ‘1                                     ()          (4)         U)                                                                            0                              0
                    CD                        C)         ‘-             0                                    0’                                                                                   Di                                     •                                                         C)           C))
     C)                                                                                                      (Cl      EQ                                      Di                                                                         0                          C)                 ii)
                    Cl          .                  -         •
                                                                                    U)                                                                        i—’         El          0           i-’.                       C)’                                                                                ft
                                                             ft      0              CL)        CD            ft        CD              Di                                                                                                              C)’
                                U)            ft                                                                       C)              ‘1                                                                                                                           C4                 CD
                                                             ft     (C)             CD         U)            Di                                                                                   ft          (I)            U)           (fl          CD                                           ft          U)
                ‘TI                                                                                                                                                       Cr          C)
                                                                                                                                                                                                                                                                                                                      Filed 08/14/09




                                                             CD     ‘<                                       C)           it          EQ                                                          4-’         0                                                     0
     U)             4-C                       Cr                                                                          -                                   0           <                                                                                                                         C)’         C)’
                                                                                    ft         S              ft                       CD                                                         Hi                         C)’          C)’          ft           C)’
                    o           ‘             CD             C)                                                                                               C)                      C)                                                                                               CU           CU          Cl)
                                                                                    C)’        CD            i-’.                      C)                                             I-’         Mi                         Di           ‘-C          ID           C)
    (C)             0’          C))                                                                                       Di           ft                     Cl          C)’                                                                          U)           U)                 (Cl          c-I
                     ‘          ft            C)’            CD         >           C))                      )                           •                                CD          Di                       C)’           Cl           CD                                                                    C)’
       o                                      CD             <           I          ft         ft                         C)                                                                       •           ID                         C))          ft           0                                           (4)
       .             CD                                                                                                                                       ft          C           4-’                                                               4-’-                           C)           ft
                                              4-C            ft         4-
                                                                        C                      ‘
                                                                                                                              (1                                                                   U)                        C)’          ft                        C)
      C)             5          C)’                                                            C))                                                            I—”                     El                                                                El          -                  0            C)’         Cl
                                                             CD         Di          C)’                                                                                                                        0              -‘.         ‘

     CC)             ID         CT)            CD                                                                                                             0           C)’                                                             i-’.          0                                           CD
                                     -                                  ‘<          CD         ft                             -•                                                                   ft          C)             U)
                                                             C)                                                               ft           C)                 C)                      it                                                                                                Cl          ‘1          C)’
                                                                        U)                          -                                                                                                                                     C)            C)
                     C)i         (Cl            Di           (Cl                                                                                                          U)          C)’          C)’         i—’                                                                      1-.         CD          C))
       ft                                                    4-.        -                      (Cl                                         Cl                                                                                            (C)                        -‘
                                                ft                                                            C                                                                       0)           CD         ‘-<             0
       o             ft                                                                                                       4-.                             (4)         0’                                                                                        -                   U)                      Cl
                                                                                    U)                        ft                                                           (U         ft                                                                                                C))         )
                                                                         0)                     Di                            (          ‘<                   U)
                     C))                        ft           CD                                                                                                            C)                                  C)             C)                                                                    CU          it
       a’                                                                                       it            D                           0                                                                                                                                             a’
                                                             -‘          C)          0                                                                                                 C)’                                                                                              -‘          (I)          0
                                                                                                                                                                                                                                                                                                                      Page 36 of 48




       CD                                                                                       it            C)’             4-.
                                                                                                                                                                           Cl
                                                .                        Cl          C)                                                      -                ft           -                                   (U             C)                                                        4-’
                                                C))                                  CD         Di            CD              C)                                                       (C)                     .
                                                                                                                                                                                                                              C-
                                                                                                                                                                                                                                                                                        •
                                                                                                C)                                                                                                                            0)                                                                    C)
                                                4-           4-.                                              C)                             -‘                                                                5
       4-.
                                                                                                                                                                                                                              4-.                                                       ft          Q
       ft                                                     C)                     0          C)’
                                                                                                CD                                                                                                                                                                                     ‘<
                                                                                     Mi                                                                                                                                       S
       C)’                                                                                      Cl
                                                     p3     1-                 1-         )-                   1-          )-                                                                                                                  PJ          )-
                      p3        p3        pj                                                                                                                                 0)                 03           0)        4          C.)
                                                                                                    (71                    (7)        p3   I—i          0          (0
u         4           (3        tJ        —          0      (0        03                  03


                                                                                                                                                                                                i-’-         >         0          1)           )-•          M
                                                                                           —        it         CD                          0            Cf         0         Cl)
                                                     ft     N         0        CU                                                                                                               :3                                Cl)          U)           Cl)
                                0)                   3      0         0         1          0         3-                                f   Mi                                                                p3                                             U)
CD                                                                                                  -          CD                     CD                CD                   Cl)                CfJ
          Cl)         l--       <                           i         :3       Cl           1                                                                                                                          ft         ..<          (0          t)
U)                                                                                                    3                                    pj           Cl’        0                                                                                        CD
          Z           Q)        CD                   ft     0         CD                  (0                                                                       ft        0                  Cl           ft        3           0            0
                                                                               ft                   10                                     IL)          ft                                                                                                  0
Cf                              :3                                                                                         I-)             F-                       3        ft         H       CD           f         CD          C
                                                     0      1-        ft        3-        t3         (I)       (I)                                                                                                                              :i          ft
CD                    S          -                                                         CE)                 CD          Z          CD    i           -          CD         3         t3
CD        0           0         ft        Ci         Ci     ft         3       l))                                                                                           CD         CD      ft                     o           o           (0
                                                                                           ‘C                  CD                          (C)                     ‘
                                          0          ft     CD        1-1      ft                                                                                                                                                  CD                       ft
:3        Ci                                                                               -         Z                     0          0)   -            fi)                                                                                    ft
                                                                       0        -                                                                                  ft                   Ct)     CD           (I)       Cl)         Z                        0
                                                                       Ci      Cl)         0         CD                    0          M                  i                                                                                     0
O         <           1-’-      Cl)                  Mi     ‘Cl                                                                             l)          Cl         Z         M                                3        Cl)
                                                     0                (0                   P         ‘1                    i          CD                                                                               ft          (1)                      ft
o         )—‘-         :i       Cl         3                                                                                                                       i-.       CD                 )-‘          CD
                                          (1)        Fl      (U        Z                             CD        ft          0                CD                                                                                     CD           C3          :-
:3        CD          (C)                                                                                                             (0                U)          3        (1)        --       Ci
                       •        it        U)                                   Z           0                   -                                                             U)          -                             )           CD           CD          CD
it        E                                                                    (I)         Mi        ft                     Ci         0    cr          0          (0
                                                     0)      ft                                                                                         5           (1)      0                  (C)          CU        Cl)
                                                                                                               ft           0)              ‘1
                                                                                                                                                                                                                                                                          Case 01-01139-AMC




          CU                    CD                   $i               0        it                                                                                                                            U)        )           Mi                       X
                                                                                           ft        CD         3           i-s-       i    CD          CD
Ci         -          03                   0)        ‘1      0)                                                                                                     ft        U)        Cf       0                     )-          Fl            I
                                                                               (-4                  ‘          CD           0         (0    0)
                      Ci         0        ‘tE        CD      3        ‘<                                                                                            r                   CD       Fl                                0                        ‘1
                                                             (I        CD                   S          -                                                0                                                                                       0           CU
                      ft        ‘ti       ‘Cl                                                                        -                tr       J        Mi          Cl)       Mi                 Cl)         0         ‘CI         5
           0                    ‘CI        CD        Cl                0)      (I)          CD        <                                                                                 ft       0)                     Cl)                     Fl
                                                                                                                                      0     CD                      ft        0
F-i-       Mi          I-.’.     0          1        Si                Fl      0                                                                                              Fl        Cl)      ft          ‘CI        Fl         ft                        Cl)
                                                                       U)      Fl           £                   CD          (-1       5                     Ci
 5                     ft        Fl        C))       Fl                                                                                                     Cl)     0                   Cl)      (--          ‘1        (--             Y
                           -    it         (I        l--                   -   it                     ft                       -      CD    CU                                                                          Ct)        CD           (1)          ft
‘CI        ft                                                                                                                         •                             (U        (Cl                1            0
                                Ci         -           1                                    ft        U          f                                                                                                      ft
 Fl        J           U)                                                                                                                                   Cl)      i                          (0            Cf
                                i                    IL)              ‘ti       0           f                   0)          CD                                                                                          0)         Fl           ft           Cl)
 o         Ct)                                                                                        CD        Cl                          ‘-a-
                                                                                                                                                                              0         5
                       0         F--       CU                          Fl       Mi                                                                                            Fl        0        Cli          CD                    Cl)                      ft
                                                                       0                   ‘CI        I                       I                ft           CD
 CD        CD          i         ft         3         ft     0)                                                                                             I       0)        it                              S                     Cl          0)
                                                             Fl       ‘0        Mi          3                   ft                             ft                                                                                   (-          ft
           <           ‘-I      ‘<         51          3                                                                                       F—i                 ‘CI         i        ‘<      ‘ti           U)       ‘C)
                                                                                                                 f
                                                                                                                                                                                                                                                                          Doc 22814-28




 CD        F.                                         CD     CU        Fl       CD          0        ‘Cl                                                                      CD                 ‘-I                                0                        CD
                                                                       CT)      CD          it         3        (I)          —i                CD            1     ‘CI                                                               -
           51          0         0         5                 C)                                                                                                      CD        U)        Cli      0           1-’-      CD
                                                      ft               C))      I—’         0         0         Cl)                                         0                                                                                   ‘1           t-
 it        CD          0         ‘1        Ci                CD                                                                                             ft       :3        U)        (Cl      Cl          :3        Ci          0
                                                      CD               U)                  (0         ft        Ct)         (1               (1                                                                         Fl         (0            Cl)          0
            i           1                  C)                                                                                                CD             (--
                       it        ft                   (Cl    ‘(3                            Fl        0                     0                                                                     fD          I--       0)         ‘<            •            0
 Mi        0                                                                                                                $                Cl)            0                  0
                                                                                    -‘-     0)       (C)        Cf
 Fl        CD          CD        J                    it      -                                                                                                                Mi        CD       S           Cl        -
                                                                       1-’-                ‘CI        Fl        Fl                —         ‘(I             CD        f                                                                                       Ct)
 0         -            i        CD        0          --      Cl)                                                                                                    CD                  1-                   CD
                                                              3        ft       CD          3         0)        (-           ft              CD                                                                                     Mi           0            CI
 5                      ft                 Mi         S                                                                                                     (--      I         Cl        l-                             ‘C)
                                                      0       it        f                   U)       ‘(3        CD                           Fl                                                                          1-         Fl
                        I-’.     ft                                                                                                                         ft                 Fl                 3-          ft
                                 --                    1                        5-4                   T         Mi                                                                                               3       CD         0             1           CU
 ft         0           0                                                                                                                                           ‘CI        CD        F-’-     ft
                                                              i-.•     Fl            -       (--      U)                                       CU                                                                                                U)           ft
            Si                   S                                                                                           0                 C            C))      CD        Cl)        1        3          CD         Ci         5
                                 CD        0)                     3    CD       <                                    1                                                                                                   Fl                      0
 CD                                                                                                              I-’-                                       Cl)      0         ft         Cl
                        Cl)                ft                          Cl)      CD                     0)                                                                                 I       Z’                     0)                          1        Cl)
                                                                                                                                                                    ‘CI
                                                                                                                                                                                                                                                                          Filed 08/14/09




                                                      CD      (-1      C)                   ‘-‘.       i         In                                                                                                                                   -
 CD         i-’-        :3       ft                                                                                                                                            •          0       CD           ti
                                                      Fl      ‘-        CD       CI          Ci        (1        ft                            CD            Cl)                                                                    (1)             Cl)       Cl
 CU                     (1       0              3-                                                                                                                   CD                   Cl)     Fl            1
                                               CU     CD      Cf        0        0           Cl)                 0           1                                                                                (C)       ‘CI
 ‘1             -                                                                                                                                                                         ft
                                               U)             t         ft       1           ft        Fl        Fl          CI)                                                                                         -                      ‘Cl
 I-’                    0        5                                                                                                                                  (0         H          -       Cf                                 X
                                                      it                         CD                    Si        3-a-        ft                0             0)                                                          Cl)                        Fl
 ‘<         Mi          Ci       Ct)                         ‘<                                                                                              ft        CD                         Fl
                                  i          3         0                ft                   Cl)           i     CI)         3-                                                                                                         ‘1          0         (1)
                        Fl                                                                                                   CD                Ci            Ci        it      Cl)       (0       Ct)                   .0
      -                          ft         0)         Cl               0            3                           U)                                                                                                      Ci          Cl             Cf
                                                                                                                             Fl                ‘C)           Fl                Fl                 CU             Z
                                 ,—‘                   CU                        CD          Mi        ft                                                                                                                CD                         —         it
     Ui       (1         Cf                ‘Cl                                   ‘-                                                                          CC)       C))     CI)        ft      ft             0                  ‘-<
                         CD      0         ‘CI        ‘<                ft                   CD        T         0                                                                                               ft      Cl)            -           CD        CD
     o                                                                                                 Fl        I-ti       ‘<                  ft           I-’        3                  3          :J•
     U)       it         i—      I          CD                CD        3        CD                                                                                                       Cl)         ‘-‘-         Y                                S         (Cl
                                                                                 -                     0                     0                   3’                    0           0)                                                                         ft
                         --                                       —     CD                                                                                                         Fl     ft       1             I—-       (I)          1-’-        U)
                                                              i-                             S         si           ft       ci                 CD          ‘tI        Fl                                                                                     I-’-
                Cl)      CD       ft           CD                                                                                 -                          Fl        ft          CD             (0           tI          s-’-         (1)
                                                                                             5-’-     (0            F-’-                                                                                                    Cl                      0)        5
                ft       ‘-1,     0            Cl                                                                                                                                         ft          ‘       (C)
                                                                                                                                                                                                                                                                          Page 37 of 48




      1                                                                                                             S                           U)           0
                                               -                                                                                                                                          3                                 CD          C))         U)        0
                                                                                 CD          i                      CD        CD                it           0         0           0)
     ft         ft         it    ‘<                           Fl                                                                                                                          CD                             -•             l-
                                                                                  -          ft                                                  0)          CD        F-b
     J           3         :1        0         5-5             0                                       Cl)                                                                         F—     Fl                                            F-          Mi       ‘<
                                                                                 <           CD                                                  i---        U)                                                                                      Cl)
     CD         CD         0)        Ci                        Ci                                                                                Fl          U)                    0      CD
                Fl         it                                  I                 CD          U)
                                                                                                                                                 (Cl                               ft                                                                                0)
                CD                                             51
t’J     r      t’.)   )      .)    3       )-                            )—                 -.    )-     )—
                                           (C)                                        (.5   r’J                               —1     0)      01       C.    (,)    I’,.)   I—’
(5)            ()     )\)    -‘    0                Cn     .J     0      01                              0


11j     ()      L     C)     U)            0        <      Lk                               C)    ft     CD    TJ     C)             CC)     C)      C-’    0’     C        0
Cl)     0       g     0      Dl    )       CD       0       C:    0            0            0     r      <     Dl     Di      CI     CI      DI       S     CD     ft      ‘U
‘1      I       Cl    ç                    -b       :       Cl                        ::i   C:    CD                          Cl     CL      Cl      ‘U     CD      ft      CD
        ft     (C)    ii     CD    rt      0               (0                         CD    (-    <      Cl    rt     )—‘                    CD       Cl    Cl      CD      ‘1
0       CD      CD    rt           f                        CD                 Cl)          CL           CD           0       C—”    it      Ml       0             5       0)
0.      X                    Di            CD       i-..                 t)    ::i    Cl)         T      i     Cl)    C:      ft     CT      C:             U)     ‘C)      rt
U)      rt     (0     0      U)    (/)              C—     ft     C-.    C:    1<     i     CJ    Cl)    C)    (I)    U)       -     Ci)     C-’     CD     C)      rt     I—’-
               C-i.   o                                                               Cl    CD    0.     CD                   (0     rt              S      S      C-’      CI
 C-,.                                      0               CD            C-    tO                              C-.    Cl                 -   S       CD     CD      Ci     (0
        0      <             <     0
 :::s          CD            0                      CC)           Cl     i      C:          C)    Z      U)    t-             0      U)      0       CI            (C)
        Ml                         Di      C:
               U)            C:    U)               E      C)     0      (0     ‘1                0                   U)      Ii             CI      it     Ml             C’)
        ft                         CD               0)     Ci)                 tO     C-’   CD                 CD     li      Cl     D       C-’            C—.    H-      0
 tr     Y      ‘<                          CC)      i-’    U)     (1)    rt     0           0)    C-’.   ‘U            CD            CT      rt      CT     Ci     0       CI
C-’     C-’•    0     CD     0                      ft     CD     CD     7’     U)          rt    Cl     C-’          (C)     CT     CD      0       CC)    C)             Cl.
C)      U)      i            C:            CD                      <     CD     CD    Di    CD    Cl)    ‘<    M       0)     CD     CI      ‘1      U)     rt     C)      I-”
                                                                                                                                                                                        Case 01-01139-AMC




r                     ft                            C:     0      CD            (I)   Z     Cl    CC)          U)     t-      C-.            C-”            Ci     0       it
        Di            ‘-I    Cl    CD      Ci       1             I      ‘U     •     Cl                              Cl      C-’             Cl     CT     Di     Ci      p-’.
 rt     C)            C:                   ‘CI      ct            Di      ‘1                rt    ft     C-’                  Cl)            (C)     CD     rt     ft      0
                                                                  I—’                              ]     C-    Li     0       ti-I                   CD     i-’-   C-j     C)
 3’     rt            U)     ft    rt               C-’    Ml             0                 0
 CD            CD     ii-    ‘C    ‘1      ‘<       -‘     Di             C)          D’          CD     C-’   0      ‘-b            J       0       CI     0      0       U)
                             CD    C:       0              C)      ft    CD           0     tO    ft                          it     •       C-h            C)     C—’
        0
 CD     Z      ft            CC)   U)       C:      rt     ft      r     (0                  CD          u’    :i     CD      CT                     C)     U)             CI)
 <      .      tj     3      ft    ft      i         r     U)      C-.   U)           C).    C)    it    CD    CO     i-’.    CC)    C)       rt     C)            rt      ,--
 CD            C:     CI)                           CD             ZS                 -‘•   ‘U                 0      f+      it     Cl          J   CI            C)’
  1            (0     ft     0)    rt                      CC)    (C)    0            Cl    1—’    Ct)   Di     3      J’            (Ci     CD      rt     C-’    CD      it
 rt            it            1     3’      C-’.     CD             (1)   Ml           1     CD     ‘     I            CD      rC-    C)              C-’    ,‘-t           C)’
 (0     1                          Di                      Cl      •                    -          CD    Cl    t-’-   ‘1      CT     CD       CD     CI     C)’    Cl      CD
               it     0      C-    ft       Cl      rt                   rt           ft    E                                 CD              S      C:            C:
                                                                                                                                                                                        Doc 22814-28




        Cl
 0                    C:     CI                     C-’    CI            CI’                CT                        ft      Cl     rt      ‘0      C-”    ‘-(    U)      5
 C)     0’     CD            Cl    ‘<               ‘1     0             C-’          C)    0      C)    ‘i    rt     CT      CD     0       C-’      Cl    CD     rt      C-’
 C)     ‘<     ft     D      C-    0       CT       CD     rt      CD    U)           0            Ci          CT     CD             0        0      (C)
 C:                   i-’•   <             CI)                                                    ‘—‘                                S’      ‘-<     ‘      CC)    ‘ti     CD
                                   C:                                                                                                                       i-     F)
 M        z                  C-’           rt       C)     0             rt           CD    CD    CL     t1    U)     CD      C-’             CD
 ‘-C    C)     0      i-’    Cl    E            -   0)             I—    1                               0                    C--’   0        Ct)           Cl     0       0)
 CD     0      Ci            i     C-’     U)       (0             I—.   C-’           )i   CD     Cr    <     ‘U     ‘U      -‘              (0     ‘—3           (3’     Cl
 Cl     CI             Di    0)    i-’              CD      U)     i—’   CI)          ‘0    CI     CD    C-’    Di                   Cl)             CT     ft     C—’     )l
        rt            ‘U           C-’     1               ‘<            C-.                  -          C)     ‘1    0       C)     F)       Ml     CD     0      CD
 it     CD     C-     ‘ti                   C-      C-’     S      Ct                 ft    rt     CD           rt    ‘       0               F)     ‘1            S       S
 CT            C-.     i-’   ft    rt      IC)      co     ‘U      ‘                  C)                       i-’.   CD      ft     rt       0      CD     (1     •       i-”
        X
 CII    rt            ‘<     CT    Ii      CT               (I)                             CD    ‘CI          C)     CD                      S             C:             C--’
         z                         (C)                      ft                                                        U)             CD                     (0             C--’
                                                                                                                                                                                        Filed 08/14/09




it                           Di            ft       (0            (0     (1)                       0     C-’   C:             0’
               M      it     ft    0)               Ci      CT    rt                  CT    ‘CI    (I)   -‘    I—’            CD             01      C-”    it     ‘—3
 CC)    1—I    CD     CT           rt      Cl)      (3’    ‘<                         CD    C-”    Ci    C—’   Cl)    Q              5       it      C—’           CT      oi
 1             S      CD     E             Cl       S              ft    C-’                0     t(           C              (I)    C-’             I—’    C—’    CD      U)
 CD            (C)           Di            Cl       C--            CT    C-’          S           CD     it                   <:     CI       C—’           CD     ‘I
        C))    S      i-”    C-’   •                ft             CC)   C-’          C-”   CD           CC)   C)      Di     C-’-   CD      CD      CT     <      CD      —h
 U)     CC)    0’     CC)                  )        ft            ft                  C)    CD    ‘0     I—’   Di      Ci     Cl             CI)     CC)    CD             0)
 C-’    C)     CD            CD        U   CT       CD     CD            rt           CD    (0     ‘1    C—’   U)     ‘<      CD     0)      U)             i--’   E
(C)                          Cl            Dl       Cl            ‘<     ‘1                        0           Ct)            Cl     Cl      rt      Cl)    -      C-’
 Cl                                        ft              ft      0     i            Di    (0     0’                 ft      C)     Cl                            C—’     Di
 C-’    it     ft     C)’    C-’   C)               it     ‘1      ç     U)           C)    rt    I-”    0            CT      CD             I—’     C--”   (3’    I—.     U)
 Ml     CT     CT     CI)    CI    M       U)       0      Ci            rt           (1          CC)    (            C-.            S       u       Cl     Ci
 I-”    CD     CD     ft     ft    CD                      (I)                              rt    5            t-3    tj      0      C-’     (31     Ct)    ft     CS’
                                                                                                                                                                                        Page 38 of 48




 C)                          0     C)               ‘<     ft     C-’-   rt           S     CT    U)     rt    C)’    Cl      i—h    t—.             Ci            Dl
 0)     it            rt           CD       Cl      0             C-’    CT           C-’   CD           CT    CD                    C-’             C)     it
 C)                   T      ft             C)      i      it     -‘     CI)          C-’         it     CI)                  Cl)    •       0       CD     CI’    CD
 et     5             CC)    CT    rt       Ci             Ci’           ft           C-’         C)’    ft                   CI             C)             CD
        Cl)                  CD    CT      (0              CCI                                    CI)                        .<              -       0
                                                                                                                                                     C-h                          ci)
                                   CD                      ft                                     ft
                                                                                                                                                                                  é$
                                                                                                                                                                                  0)
r•3   r’J          r)     L’3   3     H     H      H      i-    -           H     H       H
Lu           C.)   t)     H     C)    (C)   CD)     -i    0)    (ii   3     C.)   t\)     H      C)    CC)   Ci)          0)    Cu     4       C.)   )     H



o            H            0           U)    Di     rt           CD    i     Ft    H                    Ft    (C)          H     ‘C>    i       Ft    Ft    H
o            H             -          0      H             U)   H     0     CD        -   0            0      CD          CD     U)    CD
                          0           5     (C)    CD     ‘C>   U)    Ft    U)    H                    Cl     Z           U)     H     X       CD    5
H            (31          H           CD                  ‘C>   CD          rt    H       H            U)     Ft          0     rt     Ft            CD    Ft
Ft           r\)          0           rt    S      CD      CD         Ft    H             Cl           ‘<    H            I—’   H              C)
-                         C)    Ci)         CD     <        i   ii    0     5     CD                   •     CD    H      <     C)     Hi      CU          CD
             U)           7     C>    S     )              -                0     X       CT                 S            CD    C>     CD      (1)
                                      CD    rt     Cl           Ft    Cl    I     C)      CD                 Ct)   0      Cl    H              CD          0
H            S                                     CD     U)    )-    H     <     C>                               CD           CU                   C>    CU
Ft           •                  H      CD   0        1    U)    H     CD          CD      0)                       H            H      £1      Ft    C).   (I)
                   -            Ft     CU          C)                 C)    Di    CD                         0     Ft           H      0)      J           CD
             Di                        H           CD     H     H     C                                      Hi    CU                          U)    Ft
Ft    C>     C>                        H    C)     -                  CD          ‘<       CU    N                 H                   Cl)     Ft          U)
Y     Cl)    Cl    CE)          Ft    ‘<    0                         Cl)   rt    C)      ‘C>                ct    C>                                CD    C>
CD                                          C>     Ft     0     U)                C>      ‘C>    CD                H            H      U)      H     1     Cl
                                                                                                                                                                        Case 01-01139-AMC




      Hi     ‘1    ‘CI          U)    C>    C>      3     H           rt    U)             ‘1    0           CD                        C>      U)
(-J   0      CT)   H            Ft    CD    U)     CD     C>    i-h   C>    rt    C>       0     C                                     C).           Hi    Ft
C>    H      C)    0                   *    CD            rt          H           C>      ‘ti    CJ                 U)                         ‘TI   H
H     H      0     0                  rt    H      C)     CD    C>    U)    Ft    rt      11     1-3         C>    ‘CI          0               H    C>    CD
<     0      C>    CD           H                  0      $1    U)          H     H       H                  H     ‘U           Z      0        CD   U)
             <     CD            -                 C>           H     C)    S     H        U)                       H           C>     C>       U)   H
‘TI   I-i.   CT)   Cl           H     CD     Dl    ii     0     H     C])   CD             rt                      CD           (U         -    CD   H     C>
 H     C>    C>    H            H     CD     C>    rt     C>          CO    •     0       CD     h3                C)           0      rt       C>   ‘<    0
 (U   CC)    CD     C>                       Cl      -    Ft          CD          C>                         0)    H            C>             Ft    -
 CD          $1    (C)          CD    •            C))          U)                CT)     rt     0)          C>    £1)            -    Ft      CD          H
 CD   ‘TI           U)                       Ft           CD    ii     0)   N              -‘•   C>          C).   rt           U)         J   Cl    )      CD
 C>    H     CU                 C)                 i-s.   CI)   CT     S    C>    0        5                       CD                  l-’•          CD     Cl
rt     0     rt    I—’.         C>           C])   C>     H     5      0    Ft     -       CD                rt                        C>      Ft          (C)
                                                                                                                                                                        Doc 22814-28




      C)           C>           CO           rt    CO     H     H      C>         C)                                                           0     Ft     CT)
      CD                        CD                 Ft     H     Ft    (Cl   ‘C>   H        Hi    0           Di    0             H                   H
 CT   U)           Ft                              H      CT)   Ft          H     0       0      C>          C>    C>            0     U)      ‘<    C>    Ft
 CD   Cl     i-    C>                        H     C>     H     CD          CD    C)      ‘1                       H            r      tT      0     U)    Z
(C)   H      C.)   H            0            H     0            Cl    0     U                                                          0       C>    rt    CU
      C>           U)           C>           H     Ft                 C>    CD    -        C>                      0)                  C>                  rt
C>    Q      ‘Ci                                          U)    rt    H     CD             U)    H           0     Ft            CU    rt      C>    Ft
C>    U)      •    S            Ci)          Ft    (3     i-h   0     Cl)         0)             •           C>    Ft            U)            CD
H             S    CU           C>           Di    C>     rt          CT)   i-C   C>      Ft                       Ct)                 C)      H     U)     (U
 C>           •    Ft           Cl                 U)     CT)   <     H     CT)   C).     0      C)          Hi    C>            C))   Ft      CD    Ft     U)
(C)   Cl)          Ft                        CD           H     0     <     S                    H           0     Ft            H
      H            CD                              0            C>    ID    CD             Ft    U)          ‘1    (-‘.         ‘1     CD      Ft    ‘      U)
U)    CD           H            CD          ‘TI                 •     U)    S     0        CU     J                0            CD     H       0     0     <
                                                                                                                                                                        Filed 08/14/09




                                                   C>
rt                               -           H            0                 CT    C>             U)          CO    C>           CU             Cl    C>    U)
                                H            Di    Ft     C>          0     CD        -   CD     S           CD                 Cl     ‘U      Di          H
H     0)           CD           H            C)    r        -         H           H                          H                  <       CD     <     D     H
      £1           H                         CD    CD     <     C>                H       pi                 <     H                    0            H     CU
H                  CD           H                         CD    Cl          Ft                               H     U)            CT    ‘C>     CU    H     (J
C.)   H                         CD          tI     H                  H     J     U)      C>     H            C>   Cl            CD    H       C>    H     H
      C>           ‘1           CO           H     (U     3     Ft    Ft    UI    Ft      0                  CC)   H             CD    CD      Cl          CD
                   CD                        0            CT)   T           Ft    Ui      0      Ft                CD                      -         Ft
‘U                              C>                                    C>                                                         C>
 •     0           C)           S            CT           CU    CU                H       C>     C>          Z     U)                  (0      0     H     U)
 S    ‘U           CD           Cl)          Di           H     Ft    U)    ‘<    rt             H           CD                                <     CD    Ft
 •     CD          U)                        C3    U)     Cl          C>    0             H      C>          i-f   CD                  C)      CD    U)
 -•    C>          U)           U)          H      C>                       C>    C>      CD                 CD    C>                  U)      H     Ft    rt
                                                                                                                                                                        Page 39 of 48




—                  CD           Ft          ‘<     P.     Ci)   i—    0           CD      C)                       Cl                  Ca
                   C).                                    H     I-’   C>    Di    U)      Ct)    Ft                                    Ct)     Ft    0     0)
                                0                  Ft     H     i—    CD    H     H       CO     J                                     U)      CT    C>    Ft
                   Dl           C>                 CT                       CD    H       C))                                          -       CD    H
                   Ft           CD                 CD                             C>             C))                                                 1<
                                                                                                                                                                  C.)
                                                                                                                                                                  ‘—I
                    S                                                            -
           —                       .                                        .
                                                                                                                                                                  .         .?       .3
     S..




14             tO       14   14        q)     15   Ia   lA       pa   pa    pa       pa    pa   pa      pa    pa
cn             a        ca   so        pa     0    w    a                   (        0     (0   14      pa         50   W    ‘4      0)   (a    S    (a    4          pa


                        E    0         iN          z             a          a        a     it   N       ‘-3         14       ‘a      Ut   (4’4       ‘a    0
                        •    it        b’          o             a          0        a     ‘    0       D           W 0              b’   0   0      I-’   0
                        a              1w          a                        a              a    U       a           a a      it      a    -   a      a
                             Ut        t                                             Ut         0       ri         ‘4        l.a                     ‘a    p
                        a                          “                                            pa                  •
                                                                                                                                     ‘a   a   it           a
                             -                     P.            n                   b’    0                          a      a                       U
                        )4   a          W                        a                   a     o    ‘a      n             U      a       a    0   E      ri    IS
                                                                            Iz
                        a                          0             pa                        Z    Ut      U     U       0’     U       a    z          ‘a    pa
                                       .                                    ‘4
                        a    ‘a.                   a             pa         •        a     a    a       a     a         a    a       a-              it
                        ‘a   pa        it-’        pa                                a     a                            ‘t   a       a    ‘a  t      it     a
                        U    •         10                                                               z     Ut        a    a       a    a   U’           ‘1
o                       a    ‘a        Ii<                       ,                              0       •     U’        Ut                    ‘a     rp     a         ‘.3
                        a              h-i                       a          o                    a            a         a    o       ‘a   Ut  ti     a                N
                             Ut        IC)              •                                                                                 U’ ‘a            ‘0         N
                                                   ‘1            i    N
                                                                                     fta   •    ‘U       a    U         U    ‘4      U
                        a    ‘aIX                  •                        ‘4       Ut    U     IS     •               a                 a     a    a     n
                                                                 ‘.                               s           Ut             Ut      U’                    a          a
                                                                                                                                                                                          Case 01-01139-AMC




                             it                         t-’                                a                                                         a
                        0.   it                    N             ‘a   0      g       a          ‘4      C)    U’        Ut   U       IS 0            a-’   a          o
0                                       3’         a                                       a    •       n     a              a       ‘  3       5    pa    a;         C
‘a                      Ut              a          ‘    H                   a        a     a            a               a               pa      a          U          J
                        a    o’         4          pa   (0       Ut   .3    3              Ut           0     0         Ut   0       0.14       a    Ut    Ut         ‘.3
o                       a    a          ‘a              ••            •.    a        a     ‘a   ‘       a     Ut        -J   ‘a      a          a’   Z’    •

0                       Ut   ‘a         U          r’             z         a        a                        ‘              a       a    ‘a    a    a
a                       ‘a             ‘a          0             ‘a         ‘S       Ut    ‘a   a       a     a              ‘a      a    a.a   ‘S   ‘a
                        it   ‘a                    <    ‘3       Ut   ‘     a        ‘a    Ut           z     ‘s        w    o       -    a     a    ‘s    w          >‘
                        ‘a              0’         ‘a   U’       U    pa    -        4     ‘a   a       a                    a            ‘a               a          pa
                        a    it         a          a    a        a    a-’   a        ‘a    a    U             a              ‘a      ‘4   z     0    it    it         pa
                        a.   ‘a         a                        a                   Ut    a    pa      C)    Ut        1<   Ut       0   it    it   ‘a    0
                                       U                    s’   a    ‘s    a        ‘a         a       a     a         a    ‘a       a   ‘a         n     s          ri
                                                                 •                                                                        it    Ut
                                                                                                                                                                                          Doc 22814-28




z                       a    a                     Ut                 ‘a             a     0    a       0     Ut        0    0                       a     a          z
o                       a    Ut         0          o    ‘4            C     ri       a     it   a             a                      a    it    U’   Ut               a
a                                       a                a            U’    U’                                a         a            ‘t         a          H
pa                      it   a         pa          Ut    a            Ut    a        0     N    ‘4            a              a       a    ‘a                          ‘a
a                       o     a        pa          U’                 •     Ut       it    0     0      ‘4    U         a    it                      ‘a    a
                        pa    pa       a           a                                                          Ut        a                       a    Ut    a          n
‘4                      pa   ‘4        a                ‘4                           Ut    0        -   ‘a              ‘S   3’      0    Ut    ‘S   U     fl         0
o                       0                               0             ‘a             z’    pa   s       a     H         a    a       Ut   3’    ‘4   a
                             a         a           ‘a   a             ‘a    H        a     ‘a   a                       Ut   ii           ‘a    •-   a     Ut         a
                             E         a           Ut   n                   a              ri           Ut    z         a            Ut   a          a     ‘

‘a                      •.   0                     U                  a              Z     a    0       3’    ‘a        U    r       a               -     a          a
pa                           n         a           a    N                   ri       •          Ut      a     a         a    a            0                           ‘S
a                            U                     a    0                   ‘              a    ‘             ‘              a       a    a     a          a          a
                                                                                                                                                                                          Filed 08/14/09




a                                                                                               a       a               *    a’      o    a     $          Ut
a                            a         ‘a               0             ‘-3   Ut       •     a    n       a     Ut        ‘    a       U    a     a    a     Ut         ‘U
a                            0         Ut          a    fl            U                         i       a     0         a     s      a    •     a    a     o          ii
                             a         U           Ut   •             a     )        C)    Ut   ‘a      a               Ut   a       ‘a         a’   a     ‘S         a
a                            o         a           a                  U     pa       ‘S    o    a       a     a                  -   a          a    .t               a
Ut                           ‘S        a           U                  N     a        a          a       a     a         H    a       a    .i    ‘s         a          a
a                            a,        a           a    .i                  •        a     a’           a     N          -           ‘S   U          E     ‘4         U
Ut                           ‘a                    •    3’            ‘4    as       a     a    ‘a      o     a         0    a                  Ut   a     (I         Ut
a                             U        0                a              o                        U       as                   a       o    a     3’   U
                             ‘a        U                              a     Ut       a     a    a             ‘a        a    a       as   0     a    it    it         a
‘4                                                      ‘a            •     0        U     0    Ut      Ut    a         a    a            U     Ut         0          U
 0                           Ut        0’               pa                           P’                                 .4           0’   (3         Ut    ‘S         a
a                   .        o         a                a                   ‘4                                Ut        ‘a   •       a    ‘a    Z    0
                                                                                                                                                                                          Page 40 of 48




‘S                                     U’               ‘a            ‘4    0              ‘a   a             ‘                           a     ‘a         .-‘-       a
                             pa        a                              a     a              a    Ut            ‘a        ‘a   a            a     pa   Ut    U’         pa
U                            a         pa               Ut            0     .9             a    a             a         .9                as    a    a     a          pa
•                                      a                ‘a                                 as   a             •.                          ‘a    15   pa
                             E
                             -                                                                                                                       pa
a                                                       it                                 a    •                                          U    a
a                                                       at                                 a                                              ‘a    a                                a
‘•               1.




                                   p-a   pa    pa   pa   pa    pa   pa   pa    pa      pa
to    to   to    to     to    to
      5b         to     I-’   0    (0    0     ‘40       Cs    a    ca   to    ha      0     (0    0    0)   Cs    0’    Cd   to    I-
$          Cd


                                                    itO             1%   H     .0      .     .0    )‘   N                tl         0
.0    ‘    it    0)’          Ut   st.0        )‘              )‘
                              b’   0                                o    a                              ‘4
                              0                     0               ‘S                                                   0          P.
           a                  it
                                                                                                        •                I          ‘0
                                                                                                   0                     H          a
           a                                                                                                                        pa
                                          0.        0          a         a             0     0     to
a          ‘      a     a     0                a         a          •          pa                                        C)         1-’
           i-’                a                     a                                                   N
 D    a           z                                  4   it              0                              S
            o                 -J   0     ‘C
      Cd   ‘C     a     a          D      0    0         b’    a    C)                       a     H    H          C)    X    ‘-3   ‘4
‘C                                             Ms              Ms   ‘S   n     o        a          a    m                •     a     o
 o    o           Ms    Ms         a      0              a                                                         N          N      0
 C    Ut
            aa
                  a     ‘S                     ‘S        ‘C    ‘S   0    0     4        0    ‘4    0
                        •          ‘C    ‘                 -                           ‘0                                            ‘S
                                   0     0                ‘S        a    it            .-‘    0    o
‘S         ‘t    ‘4
                                                                                                                                                Case 01-01139-AMC




                                                                               x       o      ‘S                              H     ha
a          ‘S     0                                      a                                                         0          ‘.3:0
      pa   0                        -    0                               Ut    ‘S      ‘C
Ms    (0                           4     0               ‘0                    •       a     a     4               ‘4         Z   a
      w           it               a                      0              0             a     a     a                          N     Ut
‘s                                                                                                                 0          CD
                                                         ‘4              Ut    t’      •     ‘0              0
                                   a     0               Ms                    0             ha    0         H     0          CD
a                                        pa                              ‘4    C             o     a               C          •.    0
                                                                          0    Ms      H     ‘C              N     I                a
‘S         •      ‘a               a     Ms                               0    a             a               n     ‘4               a
                                                         ‘4               -    N       0     ‘S    t’        ‘-3   ••         S
o                 0                                                                          -     Ms
a          a      0                a     m               o               ‘S
           ‘S     ha               0                     0               a                         U         N
                  ha                                                           it      ‘S          U               ‘-3
                                                                                                                                                Doc 22814-28




S          0                                                                   D                             >                0
•.          0    ‘4                a     0               it              a             a           ‘C
           a                       ‘c    ‘S              0                0    0       it                    5     0          0
           •g     ‘S               a     N                               ‘a    it      Ms                    H                a
•                 a                ‘S                    0                ha       -   ‘S          S         S     N
                                         ii              ‘a               o    a       a           0                          Ms
                  it
o                 Ms                     0               ‘0              ‘4            a                                      a
                                                          a              a             •           it        H     0
                                   aMs
‘S                ‘S                     ‘S                                                                                   N
o                 a                                      0               a     o                   0         0     0
                                                                               it                            S     •          0
o                                  0     S               ‘S
a                 o                a     •                               it                        0                          ‘S
                                                         Ms              0     .                                              ha
                  ‘S                                                                               •
o                                  ‘4                                          Ms                                  Q          U
                                         •                               0
                                                                                                                                                Filed 08/14/09




                  ‘S                0
                  a                                      it              it    it                                  0
                  it                 -   0               U               it    a
C                 Ms               4     ‘S              Ms              a                                         a
                  ‘S               a     0               a               u     .t                                  0          0
a                 a                      0                               P.    ‘S                                  ‘4         4
                                   ‘S    a               it                    0                                              Ms
Cd                o                a                     ‘S              it    a                                   0•         0
0                 a                Ut    fl              Ms              U                                         a          w
                                   Ms    ‘S              0               Ms
                  0                ‘S    0               ha              a     Ms                                  a
pa                                 a     a                                     a                                   a
C                 n                a                                     a                                         0
                                                                               Ms                                  it
                                                                                                                                                Page 41 of 48




O                 0                      it              Ms              ‘S
C,)               I-’                    Ms              a               Ms    it                                  a
-                 ha               Ms    0                               0      ‘J                                 a
                                   a     a
                                                                                                                                          C,)
                                                                                                                                          ID
                                                         a....
2




    13    13   14   13   1.)   1)    K’   K’    K’   K’          K’    K’    i      K’   I.’     K’
          a’   Ca   N    I-’   0     ID   0     4    0)          Cli   a’     ca    Pa   i-’     o     iD    w    0)     Cli   •‘    C.)   I’)   I.’
    Cli

    aQ    ‘    lb   sO   .     N     St         4i0              •     ‘-NO              ‘       00          .    K’     6)
                               K’    D’   a     0                      U K’                      .5                      .5
                               I-.   0    •1                                                     a                ‘is    a                 a     *
                               hi’        a                            ,      a                  o                0      0                 a
                                                                       ø                     •   a                n      a                 a
                               •                *                                                                 N            In    (4    0     0
                         .4          a    .t    a    S           H                       .4            .     .4
                                                                                         a       K’          a    a      St    K’    o     a     n
                         a                b’    n    a                                                            St     a           a     a     ‘a
                                                     i-’                                 a             a     a
                         a     W4         a     a                a
                                                                              G’ ta
                                                                                         a                   a    K’           o     St    0
                         a           0               K’          0            a
                                          n     St               D            4     K’           0     U          0       I    a           0      U
                         a     ‘4    a    0     Z’                            a     a    a             a     a    z                  0     ‘1    a
                                                     z           St           ‘iS        K’            4     K’                .4    iC          a
                                          .s    a                                   K’   ‘ii     0     •     .5   0      0     o     a     K’
                         1;
                         •
                                     a ‘d                                           St   •       N                0      .1    0     ‘1    Z     ‘4
                                     K’ 0       0    •           N            0’
                               ‘i    an         0                             a                  a’    ‘4    •                 ‘ii                0
                                                                                                                                                            Case 01-01139-AMC




                               a     a  a       n    o           o                  St           a     0          0      ‘0          Ca    K’     0
                                                                                                                  a      a     ‘is   Cli   ..
                                0       St      ‘0   n           *                               ‘is   0                                   St
                                     a  a       o    a                                                            .5     K’    a                 0’
                               •K’
                                     a’         ‘1   D                        a’    a            0     a’         i      a     St    .4    a     a
                               K’    0    ‘1    0    0                        N                  ‘is   a          K’           K’    a     n     a
                                                                                                                          a’   n     a     a
                                     0    a     St   $                        K’    St                 a
                               St    St   ‘0  a                               St                 0                ‘a     ‘4    a     ‘s    a
                                          ii         a                                                                         H     a     St    K’
                                                                                                                  a                  •     a
                                                                                    St                                    E
                                                                                                 aa
                               a          a   n      a                        a                        ‘a         a
                               St    ‘    a   a      K’                       a                   a     a
                                          at         a                              St           0      K’        0’           St          N     St
                                     •        n                               St    U                   a         a            -           0     U
                               aSt   n    St         ii’.                     0     K’           a                a                              a
                                                                                                                                                            Doc 22814-28




                                              a                                     a            K’    St         St           U           0
    III                         a
                                St
                                a
                                N
                                •
                                     *
                                     a
                                     St
                                          aSt a
                                          K’
                                          4
                                          a
                                              a
                                                ft
                                                a
                                                     K’
                                                     a
                                                                              a
                                                                            ‘i.,.
                                                                              0
                                                                                    K’
                                                                                    a
                                                                                                 N
                                                                                                 K’
                                                                                                 ‘
                                                                                                 a
                                                                                                        0
                                                                                                       ‘a
                                                                                                       K’
                                                                                                                  0
                                                                                                                  0
                                                                                                                  .5
                                                                                                                    ,
                                                                                                                         0
                                                                                                                         ‘ii
                                                                                                                         a
                                                                                                                               a
                                                                                                                               4
                                                                                                                               a
                                                                                                                                           I-’
                                                                                                                                           K’
                                                                                                                                           St
                                                                                                                                           a
                                                                                                                                                 a
                                                                                                                                                 a
                                                                                                                                                 frs
                                                                                                                                                 •c
                                 ,   0          St                            .5    St           .5    4                 a     ‘4                K’
                                                                                                                                                 0
                                                                                                                  ahi’                     0
                               St         *     K’   0                       ‘4     U                  a                        o
                                          a                                         •            St               0      St     0          a     a
                                                                              0                  0     a          St     0                 .5
                                                <‘ua
                               b’    a    a     a                                                                 a            0’          ‘0    0
                               a     St         •                             ‘is   ‘S                 a
                                          0’         K’                             K’           St    ‘0         a      0     a           0     ‘is
                               N     St   a                                   St    .5           U     0                 0     a           .5
                                                                                                 K’    a          a-.    g
                                                                                                                                                            Filed 08/14/09




                               a     D    0     ‘    ‘a                       0     a
                               a     a    a     z                                   St           0     K’          0     ‘0
                                          0     a    a                        a’                 ‘.3   St                K’    a           K’
                                                     St                       a     0                  K’         ‘a     K’    a           a
                               a-a
                                     U    a                                                            a                 a     N
                                     K’0        St                                  a
                                                     aSt                      St    a                             a            a
                                                      a                       n     a                  a          K’     o     a                 a
                                     •    .4    a                                                                 0
                                           o          U                       K’                                         a
                                     a     0    n     a                       a     0                   a’        a      ‘1    a’

                                                a    D                        a     Pb                 ‘4         a            ‘C                0
                                                     St                                                           a      a                       a
                                     a    w     a                             St    St                 Z          a      ‘ia   z
                                          z     a    St                                                •                       •                 0
                                     St   a     o                             0     U
                                                                                                                                                            Page 42 of 48




                                          *                                         K’                                                           ‘1
                                     a               a                        a     a                  •                       •                 K’
                                          N     ‘4   St
                                          o     o                                                                                                St
                                          ‘is
                                                0                                                                                                0
                                                                                                                                                       a’
                                          a
                                                                                                                                                       0
                        C’)   C’)     (‘3   H         H       C.-’           C..I   1-i
\)        r’J     t3                                                                                                                                                         (‘-3    H
                              *i                      0)      b-.)   (7)     (7)    4      C,)    C’)   1-’     0                            0)     01      4       Ci)
(IC               (3    1’3           0     40


                                                              U’                    Cl     AD     :     ‘       0       N     Cf                    0               AD       Dl
          AD                  o       C-    z         AD             O                                                                                                       Cl
                                      (0                                            CD            C-.                   o     o
                                      0)                                                          ft                    :i    0              01
                        Dl                                                                                                                   Cf                              C-.
                        Cf            H                                             Dl            :3-                   o     ?
                                                                                    Cl                                  I-.
                                                                                                        C-i             H     c-C-                          1-4                      H
                        r     Cl)                                            1<     (-tO          Di
          :       <                                                                                                                  I-f,    0)     I-h     :3      :-       U)
                                      I-I   CD        0       0      Z.      CD            o            rt              c-C
CD        S       CD    ‘-    0                                                                                                                                              rt
                                                                                                                Ci)     CD    0      c-C-    U)     Cf              CD
C-.       Cl      (I)   )::                 C-.       Z       o      Di      (I)    CD                                                                      )-               Cl      0)
                                                              0      Cf      -                    0)                                 CD             CD              :3
C.-.                    CD    C-ti                                                                                                           1<             10               Ci)
                                            -         C-.                           Cf            U.    Dl               C)   O      Cl             Cl
-         Cf                  Cl      CD                                                                                                                                     c-C     CD
                                                                             U)     -•     CD     0     U)               0                   0                      Cl
                  U)          0       H               0                                                                                             1<      1...)   I-j.     C—’-
          CD      C-                  C—.   H         :3      Cf     Di      C-..          Cl     Cl            CD       I    CU     H
                                                                                    H                   H       U)      ‘ti   F              Cl     o               Cl       0       Cii
1<                                    CD              10      Di     CD      Cl            CD
                              H                                                     U)            C-                     0)   rt     (C)                                     :3
                                                                     1<                                         c-C-     1    CD      ‘1     I-ti                                    0)
Cf                            (0      (V    CD        Cl      Cf                                  :3                          Cl                                    0        C—ti    Cii
                                                                                    Cf                  c-                            0)     C--’   (0
                                                                                                                                                                                            Case 01-01139-AMC




                                            C-        C-.     •      0                                                                                                               C)
                                                                                    :3-    Cl     Cii   J       CD            U)      Cl     Cl      Cl
Cf        CU                  03            Cl        Cl                                                                                            Cd                       0
                                      Cf                             Cl             Dl     CD     C)    CD                                   U)
H         Cf                                                                                                                                 ‘-I    Cl              0                CD
                              Cf            C-t                                     Cf     04     0                           0      Ci)
CD                                                                                                                                   i-f                            0                H
                              0                       0              C-..                         0             Ci)
                                                                                                         I      ft                   CD      LJ      Dl             Ct       c-C-    0
Dl        0                           Dl    CD        g:             :3             C)                                                                                        J
                                                                                           1<     :3                          (0     Cl      0       i-C-           Cii              ‘I
Cf        (I)                 H       Ci)                            C-.            0                                                                Cl)
                                                                                                  Cf    C-      ‘1                           0                      C-’-      CD
          C-..                (0            Iti       :3             -t.            ‘1                                                                                               0
                                                                                    Cl     N            Cf      CD            CU     C-ti    -‘3     Cl
Cf        Cf                  0-I           o         0                                                                                                                              I-ti
          H                   H             U)        H              Di             CD     o                                  Cl     ‘1
                                                                                                  (Q            0                    0               I-h             ft       :3
cu        0                                 I—.       Cl             H              C)                                                                                        C-’-
                                                                                           o             Dl     Mi            Dl                     Cl              3.
Cf                                          Cf                                                                                                                       Dl       <      Cl
                                            C-.       c-C-           U.                                  In                   Cf                     o
                                                                                                                                                                     it       CD     i-C-
                                                                                                                                                                                            Doc 22814-28




                                                      :3-            0                     1-.-                               CD     Cf
Cf         Cl                  0            o                                                                                                                                 Cl
           C-s.                                        Di                                  Cf            H      0
I-..                           C::          :3                                                                                                       Cf              Cl.      U)     U)
                                                       Cf                                   CD                                       CD
           Cl                                                                                                                  0                                     CD       I-
 CD                                          0                        rt                                        Cl
                                                                                                                               Cl                    CD             (C)       Cf     C)
          1<                   0             I-ti     ‘tJ                                                                                                            ‘1              (14
 1-i.      0                   C-_C                    Di             ‘-C.                                      (0
                                                                      H                                  U)      Cl           -       C-                             CD              CO
                                             Di        Cl                                                                                                            CD       0       Cl
                               CD            C)        c-C.           CD                    Cf           H       Dl
                                                                                                                 Cl            Dl     CD             I-..            ---.1    C-h     CD
 C-I                           Cl               C)     C-s
                                                       0                                    CD           CD                           Cl                                              CD
 (0        Di                                   o                                                        CD      Ci)           Cl     U)
                               Di                                                                                                     C--            Cl                       0      1--
                               U)                      H                                    Ci)          U)      c-C-
    I-.    CD                                                                                                                         Cf             U)                       :3
                                                rt     Ci)                                  O                    CD            Cf
           —I                                                                                                                                                                 c-C-
                                                                                                                                                                                            Filed 08/14/09




                                                                                                                                     1<              C--
                               CU               Dl     Cl                                   C)           Ci)
                                                                                            o            Cl      E             Cl)                   Cf                       II)    tJ
    Dl                                                                                                                                0             1<                               Ii
    U)                                          Cf    ‘Ti                                                        0
                                                                                                         C-.     Cl                   C--h                                           U)
                               CU                      0                                    :3
                                                       U)                                   Cf           :3      .             H                     0
    Dl                         C)                                                                                                                    C-b                             :3
                               C)                                                           C-.          C-.     •J
    U)                                          :i                                                                                    0                                              CD
    U)                         0                Cf     Cf                                                U)
                                                C-.    C-.                                 CO            c-C-                  Dl     :3                                             U)
    H                                                                                                                                                                                U)
                                                C-     0                                                                       Ci)    Cf             0
    U)                                                                                                                                               :3
    ft                         Cf                                                                        Ci)
                                                H                                                        Cf                                          Cf
    Dl                         Ci)                                                                                                                   0)
                                                (0                                                       C--                   H      Dl
                               c-C                                                                       0                     Cl                    :3
                                                                                                                                                                                            Page 43 of 48




    Cf                                                                                                                         CD                    Dl
                                                                                                                               Cl     H
    rt
    0                          C--
                               U)                                                                                              0
                                                                                                                              1<
                                                                             l—     )-    -‘     ,_
)     tJ    M      )      r\)   1J          i-         l-           F-
                   1\.)         o      D    a          a      cxi                                0     (0    cn            cr    ui        .       c
o


                                                                             aQ     <      1>    rt    0            ,      0     Q         Ci      hI      hI     it
                                            ft   AD           0     N
                                                              Mi    0               Ct)                                    Mi              0       CD      CD     D
                                            CD                                      U)           CD    CD                  Mi                      (1)     U)     CL)
            CD                                                                                                                             ft             ‘Ci
            c                               ft                ri    0               •                                                             ‘ti
                                                                    )-                                 CD                  C)               f      0       0
            CD
                          i            w    o          <      ty    i-•      to           ‘I     a     ft    1-4    -1     CD    I         CD      :i             CU
<     -<           -<                                                                                                                              U)     U)      3
0     Ct)   C)     0                        0    i     CD     CJ    rt       0            0      C           U)                  hI
      (I)   CU     ç      0     Cl               Cl    (I)          CD                    ‘1     tS    0                   1—’   0                                Cl)
C1                                                                                                                                                               (C)
                                       1                       •             Mi                  ft    3     it     it     0               Cli     cr     CT
                                                 ft                 0        0            ft     Cl)   C))           y     C)              LI.     l-’    I-”     Cl)
C)          i—s    ç            J      0    CD
                                       CD   C)   3     (Cl    .                                              CD     (P     Cl)   I         0                      ‘1
CD    (Cl   (P     1       I    0
                                       Cl   ft   CD    i-’•   U)                          CD     I     i—                  ft    (0        hI      I-”
            Cl     0       I    Z                                                                                                                  it      ft
      t(                                    “3   ft                          ft                  •,J   0            it     CD
                                Mi                     •      rt    •                                  C)     CD    o      Cl    CD        tI             ‘<      Ci)
CD    •     rt     -      W
                          CD    Cl)                                          CD                        Ci)    Cii                           Ci)    CD
ft
                                                                                                                                                                         Case 01-01139-AMC




                                                              Ci)   tj                    C)’          rt     Cl                 ft         hI     U)     Mi
CD          CD     X      ft    M      (0        CD
1                                      U)        C))          ft    •        Ct)          C)’          CD    ,0                  0          ft            0
                                                                                                       Cl    Ci     o                                     hI      ft
Cl          <      CD     CD     I
                   $      CD                     (11          C)    C)       ft                              Ci)    Mi           i’        0
            CD                                                                                                                                            ft      CD
CD                                               C)’          0     ‘-        -.           0           I-.   hI                  (0        Mi
ft          rt     i-i                           0                  CI)                   ‘ti                it     C-I
                          (1)   0                             ‘-    C)       CD            CD                CD                            ft      Cl     CD      Ci
ft          )1     (C)    CD                     ft           Cl)   CD                                 it    hI     0.           -                               Iti
                          <                                   0     -        ‘ti          CD                 C’)                           CD      i-’.    Ci)
            (P      0                                                                                                                                      C)     i
CD                        CD    Mi                            ft              CD          ft           CD                        CD                i
                                                 t)           •)    it                                       Mi     -            Li)       i)              C)     )
                   ft     5     Cl)
                                                                    r        i-i.         0            it    0                             C)      I-’     0      ft
<           0      0.
                                                                    CD       0                         0     hI     0            Cl)       0       (0      (C     I-’.
CD          it            Ci)
                                                                                                                                                                         Doc 22814-28




 Z          CD     t      i     CD                                           Cl           U)                                     Z         0       CD
ft                              C))              )-                                       -                   N     ft                     Ii              ft
                          Cl                                                                                                                                      ft
Ci          •      Cf                            CD                 CD       0                                0                  CD        I
M                  CT     i     rt               (I)                ())      Mi           )—.          0                         C)        ft      Ci)     i      Y
                                T                                   Cl                    ft                  0     o            C)                 1     (C)     Cl)
CD                 <      -,
                                CD               Cl)                Q                                         I-,   Mi           0          :i                    ft
                   -                                                                                                             i         (C)            ‘CC
            CD            Cl)                                       Ci       0                                I-”                                  CD
                                                 CI)                CD       si           CD                  ft    C-’                            C)      )-     ft
0           <       (Cl         0
ft          CD      0           ‘1                                  ‘1                    U)           C)’    CD    I-.’         ft                C)      Ci
II)                             0                                   ft                                 C)’          U’           Cl)        0      0       U)
l-          <      CD     )-                     Mi                 CD       (C)          1-”                 0     0.                      hI     Ci             CD
                   rt     CD                                        11                                        hI                 it                Z        I
            0                                                                                                                                      ft       I
                   i-’•   U)    Mi               0                  (1)      ‘Ci                       CU
                                                                                                                                                                         Filed 08/14/09




CD          Ci                                                                                                                                                    i-i
                                                                                          ft           C))                                         CD
:i                        •     I-’
Cl          CD     CD           I-i’                                         0                                                                     ::i    ‘Ci
                                                                                                                                                   it      I-’     j
            <      C))          CD               ft                 CI)                   CD            0
U)          CD                  C))                                 U)                                 ‘ti                           CD                    Ci     CD
(1)                             “3               CD                          CD           0                                          hI                    (Cl    Cl
Cl)                                                                     -•                )-•          0                             Cl)           Cl)
                                                                             ft           it           (Cl    C)                                   (Cl     U)     ft
            CT      U)                                              Z
it          CD      ft                                                                                 CD     hI                                           0      T
f           CD      Cl)                                             rt       C)’                       Cl     Ci)                    CD                           CC)
                                                                                          0                   C)                 U)                 -‘     CD
CD                                                                  )‘
ft                                                                  CD                    Mi           rt     CD                                   hI
                                                                                                       0                                           CC)    0
            ft      Cl)                                                                                                                                   +
                                                                                                              U)                     0             Cl
                                                                                                                                                                         Page 44 of 48




                    ft                           )-•                ft
            CD                                   Ci)                0                                  0
                                                                                           C)’                                   ‘1                ft     CD
-‘          hI      C’)
                                                                                           C)’                                                     0      hI
it          CD
CD          ‘-.3
i..




      P3   P3    P3    P3    P3   P3    ,a    I-’   b’   b    I”    I”     I’   I”          I-a
                                                                                            0     (0   CD    4     CD   CA   a.   C’)   P3         ,
      CR   a.    C,)   P3    I’   0     (0    CD    ‘4   01   cs    a.     ca   P3



                                  St    0     >40        >    0     0      >                >0>              z     >    no        >     o          C
      0•   40    >0          >                                Ph                                                        o               ha         0
      a                           o                                                                                     S                          a
      0                                                                         a
      0                           o                           ft                ha                                      ‘O                         z
                                                                                                                                                   -
                                                                                                                        0
                                                                                                                                        a.9
      S                           a                                                               ,.                         0    .4
      a                      m    0     *     0     ‘4   4    a                             ‘4                                    a                ‘C
                             a    a     b     D     0    a                                  a     D                          0
                                              n     n    a    U                 z     0     a     a    ‘S          a    .9        a                 0
      S    a                      a     0                                                   a          ha          a         ‘4   a                 C
      0          m     .t    a          .t    ha              ha                ft
                             ha   0’          ha                                      S           0    I-.
                 o     a     a    a      b’         o    a    ha    0           5     0     a     ft         €     a
      0                                       ,a         ha         a      a    0     a                P3          ha
      C          0     i•’   a           0          *                                                  0
      a                a     •    D     ‘0    W          ‘S   E
                 o                mt                     •          D      >0.4                        ft
      Pt                                                                   • C 0                       U     it                                    a
                                                    0         a     a
                                                                                                                                                                 Case 01-01139-AMC




           w     a     z’            a        e                                                        a
                                                                                a     0
      0
      Ph
      ft
      U
      a
           I-.
           0
           w
           a
           a
                 ‘.5
                 •
                       a
                       a
                       l.a
                       a
                                  )d.
                                  U
                                  0
                                  z
                                  0
                                  C
                                  a
                                     :
                                     a
                                     a
                                     n
                                     b
                                              •

                                                    ‘9        z
                                                                     I

                                                                    ow
                                                                    ha
                                                                       0
                                                                       a
                                                                           W


                                                                           •
                                                                            a
                                                                                ‘.1
                                                                                .9
                                                                                      ‘1

                                                                                      S
                                                                                      S
                                                                                      a
                                                                                                       I-’
                                                                                                       40
                                                                                                       01
                                                                                                       Ca
                                                                                                             II
                                                                                                             0.
                                                                                                             O
                                                                                                             ft
                                                                                                             a
                                                                                                                                              ;.
                                                                                                                                               .
                                                                                                                                                   0

                                                                                                                                                   St
                                                                                                                                                   U
                                                                                                                                                   a
           ha          0          ‘S 0                              a
      ‘0   a           Ph            ft                                               a                                                            a
                       .9                                     Q                       ha                     o
           a                                                                          0                      I’D                                   ha
                                        0                     ‘S    a                                                                                  a
           0                                                  0                       ft
                                                              0                       a                      ft                                        a
           Ph                                                                                                U
                                                                                                                                                                 Doc 22814-28




                                   o    a                     a                       a                      0                                         0
                                  CD    a                           ha
                                                                                      0                      ft                                        ph
                                  •     a                     0
                                  ‘9                          0     ft                ‘0                                                               ft
                                                              .0    0                  a                     0
                                        ‘a                     0    ha                ‘•t                    o                                         U
                                        S                      ha                     4                      0                                         0
                                                               ‘S                     ha                     0                                         St
                                                              a     ft                a                      ha
                                        o                     a                       0                      a                                         S
                                                                    a                 ‘S                     ha                                        0
                                        I-’                   ft                                             ft                                        C
                                         a                                                                   ha
                                                                                                                                                       St
                                                                                                                                                                 Filed 08/14/09




                                                              a
                                                                                      a                      o                                         0
                                                              n
                                                                    aha                                      -3                                        ha
                                         a                          ft
                                         ft                         ha                ‘4
                                                              ‘0    o                  0
                                         a                                            0                                                                H
                                         o                    .4                      0’                                                               a
                                                                                      a
                                         o                    ‘9
                                                                    oI’D
                                                                                      0                                                                ft
                                         S                                            0                                                                U
                                        ‘0                                                                                                             0
                                                                                      S
                                                                    o0
                                                                                                                                                                 Page 45 of 48




                                                                                      a                                                                ft
                                                                    0                                                                                  ft
                                                                    C                                                                                  U
                                         0                          a‘S                                                                                a
                                         ‘S                                                                                                                 a.
                                                                                                                                                            Ca
           I
L




          C’3    t\)   ‘J      )       tJ         F-                                      i-.          I-
                                                                       ui           c     t      i-    0      ø                    0     (31    ,P-   o
    (Il          0)    ts)     f-      0    U)                  o)




                                                                U)     AD           C)                                             0     AD           t     AD
    r     rt           U)      0            0     £D
                                            Mi                                      0     C)                                       Mi
    CD    M      CD                                                                                                                                   CT
    Cl           <     CD                   I-h                 CD                  M     C)
                                                                                    M     0                   Ft                                      CT
          CD           (0
    Ft    Cl           $1                   C)                  Ft                  CD    ç
                                                          I-I                       C)     5                  (I)           <      CT           <     -‘3
                                       ‘<   CD                                                                                           1      CD          I     CD
                       rt-     i       CD   -•    CD            <      i      (1)   rt    i-f          CD            i      CD     CT
    CD    it     3                                                                                                                       Cl     (i)         Cl    U)
          0                    Cl      U)                 Cl    CD     Cl     U)    •-J   i—’•   Cl    U)     CD     Cl     U)
                                            I     i—      C)    ‘1            -                        -      ‘1            -      -‘3          -
    S            CD    t.              •
    o     Cl     11     1      I—’          U)    -        3    <      U)                 U)     Ft           CD
                                                                              U)          -      :3.   U)     Di     0      1))          Ci     Ci)         CD    U)
    (I)   I-a.   CD    (0      :3                          -           0
                                                          rt    i-*           1-•                CD    1-i.                 1-i.         (1)    i—          U)
    Ft    Mi            U)                  Ft
                               Mi                  C)                   d     1           0      Ft    ‘1     C)     IC
          Mi     CD
          CD     M             CD           CD     C            it     tJ                              •      Mi
    Cl                  C                                                                                                                0                  0
    C     M      CD    (0      C)           Ft            5     Ft                                                   (0
                                                                                                                                                                       Case 01-01139-AMC




                                                   Ci)    0     I—                               Cii          CU      M                  Si                 Si
    10    CD                   Ft                                                                                    .                   I-i
    Ft    3      CD                         0     ‘11           CD     i                  0      Ci)          C)
          i-f                               0      CD                  rP                                     0      5
                 x             5-4          M             3     Ft     s-.                                    0      CD                  0                  0
    Cl)   ..             -                                                                                                               Mi                 I-b
          Cl)    I-     5—         -               rt     t$    5--    S—                        3            Si
    (j                                                                                           Ci)                                     Mi                 Mi
          it     CT                         CD            Ci)   S                         U)
                 5--                        0      Ft     Ft    CD                               Ft           i-f
    o     CD                   CD                                                                                                        0                  0
    (0           Ft     Ft                  Ft      3                  U)                                            I-h
                                            -‘3                 0      01                 i                          Si                  CD                 CD
    Si    CT     U)     I-C    (0                  CD
    ‘1    CD                   CD                         <     i      01                 S      0            U)
                                                                       -                  CT     Si                  0                   CD                 Cl)
    CD    Ft      J            CD                  <      CD                                                                                                Ft
                                1                  CD     ‘C    rt                        CD                  (1)    Ft                  (0
                 CD     Ft                                                                                           5--                                    5--
                 I                                 Ci)          3.     5-                                       1
                                                                                                                                                                       Doc 22814-28




          CD            0                                 <                                                                              Ci)
    M     (0     CD            1))                 Ft           CD     Ft                 Cl)    Mi           Cl     0                                      S—i
                                                          —                                      0                                       (1)
    5-.                 Cl     0
                                                                                                              CT                         U)
    (C)                 CD     S                   S            S                                                                        5--                Ci)
          Ft      3.    CU     CD                  Ci)    Ft    0      0                  it     S                   Si
                        S—s                               Ft                              T      CD           U)     (0                  (0                 Ft
    Ft    J      CD                                             Si     Si                                     5-.                        Ft
    “3           I             CD                  0            :i     I—’                CS)    I—i
          CD                                                                                                                             CD                 Ft
                 (V                                I-     CD    Ft     Cl                 Ft                         Si
                        i-i-                       s-i-         CD                               CD           (0     i
                 ‘<     Ft     5--                 Ft     Ft    s-i-   CT                 (0     Cl           Ci)    Ft                  Ft                 CD
          CD                                                                                                         5i                                     Ft
          ‘C     0             CT                         5--    3     CD                 0      Si           U)
                               5--                        5     --                        ‘1     C)           -      s-                  S
                 Si                                                                              CU                                       CU                Ft
          o             .      Ft                  0      CD           I-h                Ft
                                                                                                 Ft           s-i-   i-f-                                   5-.
                                                                                                                                                                       Filed 08/14/09




          Si     Mi     Ft     (I)                              s-i-   CD                                                                 Cii
                                                                (1)    5--                0      5--          (I)                                           S
          U)     0                                                                                                   Ci)                 (C)                CD
                 I-.    5--     J                         S                               Mi     0
          Li.                  CD                  0      CD    Ft                                            Ft     Ft                   CD
                         3                                                                                                                11                5-.
          o      U)                                Si     Cl)    T     i-f-               Ft
          CT            CU     CC)                 ‘1     i     Cl)    0                         -            Ci)    Ft
          U)     Cl)           -                          (0    it                        -      1            Ft     5--                 5--
                                                                                                                     5                                      Ft
                 it    (C)                         it     •            U)
          CD            Cl)    Ci)                 5--          0      Ci)                (C)    0            Ft     CC)
                                                          Ci)   0      -<                 -•                  I-C                        Ft                 CD
          Ci)    Ft     :3                         5
                                                   CD     5--   ‘1                                            Si      J
                 :3’    CD     Cl                                                                                                        CC)                Ft
          Ft     (1)    M                                       M      Ft                 .      CD           CD     CD
                                                          .     Cl)    3.                 U)     Cl           .j     Cl                                     0
          0             (1)    Ft                  I--.
                                                                                                                                         Ft
                                                                                                                                                                       Page 46 of 48




                 S      5i     0                                C)     0)
                 5--                                            Ft     Ft                 Ft                         CT                  0
                                                   it           --‘3                      :3•                        CT)
                                                                                          CU                         CD                    3                0
           0      CD                                                                                                                                        Mi
                                                   CD                  0                  Ft
                                                                       Si
f                                                     1..




    N     P.)   P3      N      P.)   N     ‘a   ‘a          Ia   pa    ‘a    pa    pa    pa    ‘a   3-I
    CS    Lb.   CO      N      pa    0     (0   0           ‘4   0)    CS    •     CO    P.)   ‘a   0     (0     0         0)    CS      .   (ø)   N    pa




          ‘     a       .0     ft     0    ct>              ‘4   .0    >     a’    C     ‘     C’   S     ‘a     .0        a     ‘     S     ‘a
    aO                                                                                         ia   0      p.a             ‘a          a’    a
                o              a’    ‘a    fl               0                0                                    C
                a              a     a     a                                                   a’   C     a      a         a           a     a
                •              ft    fl    a                1*                                 0’   I-’   4’)    tI                    fl    a
                ft                   a     a                                 P-a            ‘4      p.    a      n         w           a     .t
    1-4         $a      II     0     ft         3-4         ‘a                     ‘     ‘4.9                    pa        Paz                     S
          ‘4                               a’                                                                                I”                    0
    a     a             a      a     Ia                     0                            a          ft    I”     0                     ‘4    0.
                                                            Lb   0     ft    m     a     a          a’                     ‘0    ‘0     0    C     ‘a   —
          •
                aa                   0     0                                                              a                                  (0    ‘a
                                                            pa         pa
                                                                                                                 a•              a’     0
    I-’         Lb      ft     •           Ph   I-’              t                                  0
    ID                  a’     ft               10          ft         I-’   P.    5                      “            -   0     ft          ft    P.
    ‘4                  a      fl    5     ft   ‘4          pa                     a’    a                a’               Ph           5               a
          aM.                                   ‘a                     ‘a          •     pa         a’    a      C)              a-i         a     ‘4   pa
    ‘a          a              a     a’    a’               0                                                                          oIt              Is
    •     1j    Ph      tI     0     pa    •    •           a    ‘a    ID                ‘1         a            0         ft            )C        0
          •     a       I-’.   if    i-a                    •    ‘a    ‘4.4              •                C)     0         a’    0     WV          C
    ‘4          Is      a      •     a     o    ft               a     pa o        ‘4               ft    0      P.        •     a     Lb    0
                                                                                                                                                                   Case 01-01139-AMC




    0           n       a                  ‘s   a’                     •     o     0                a’     a                     w     a     a     a
                                                                                                    a     ‘a     ‘a         C’
                                                                 aa
                a                    ft    a    a                                  0                                                   pa    Pg
                        0                  a    ‘I               a           a’                            0     0          i”   5                 Pg
                a                    a’                                                                                                            a
    a’                  is           a     a    a                            0     a’               0      a•’a             a’   a’    a     a
                                                                 Pa          ‘a    a                      ‘4  a             a’   a                 a
                                           0                     a           an                     Ph           ft        ‘4    a     ft    Pa
                                                                                                    pa     ft    •                     a.
                                           ip                    ‘a          ft                     a      a’              0     ‘4    a           pa
    a           a       a            a          a
    ‘a          a                    e1     a                                a’    a                a      a               ‘a    o           ft    ft
                                     a     a    0                .4          0                             ft    ‘         a     0     ft    a’    a’
    a           C       0                  pa                    pa          ft    a                I            a         ‘s          o     a
    0           a                    a’    N    0                                  0                a’     a’              0     a                 S
                                                                                                                 ft        ft    a           z     a
                                                                                                                                                                   Doc 22814-28




                                     e     a    a                            ‘a    a                 a     a               pa
                a       ..           ‘a     t   a                a’          0                      at     a     0               4           a’
                        a            ‘a    pa                    a                 soa               a                     0           0     0     ft
                                                                                                                 ft                s   Ph    ‘a    a’
                   pa
                                                                             aaa                           ft              a
    a’          a                    a.    0    a’               ft                 a
    a           g  a                       a    n                            ft    at               ‘4     a’    a’        -9    ft          a     S
    a           ‘a                   a          0                ‘5          pa                      o     a     a               a’    C’          ft
    a           pa5                  q           C               a           o     0                0                            a     a”    a
                ft a’                      0    so               a           a     ‘s                      ‘a     0                           0    ft
    a           a       a            a           a’              C           .9                     5      a     ‘a              5      a’    S    a’
    I”                  ‘I                 a’   ft               ‘a                ft               0             a              a’    ‘4    ‘a    a
                                                                 ft                a’               at            ‘1             0     -4    a
                                                                                                           aa
    a           z       a            aa    a                                                        w                            ‘a          a     ‘a
    a           0                          a                     a                 a                             aft                               ‘a
    a                                S     a    a                a                                  a                            a           ‘4
                                                                                                                 pa
                                                                                                                                                                   Filed 08/14/09




    0
                                                                                    0
                                                                                                    a      C     0                            5
                                                                                                                                                   aa
    a           ft      a            a     C    ‘4
                                                                                    a               ia                                       a      a
                                                                                                                                 ao
    a                                a”    ‘a   n                a                                         a                                 a
                                                                                                                 aa              a
                                     I-’        0                                  ‘a               a      ft
                 aa-.
    a                   ‘a           i-    ft   a                ‘4                                                              ‘a                ft
    a           a..a    a                  a’                     0
                                                                                   ft
                                                                                   p                ft     a     pa                          ft    a’
                                                                                   ‘4               a’    ,                                  a’    0
                                                                                                                 a                aa
     a                  a            aa    a    aa               ois                                a                            ‘4          a     ft
    a’                  pa            a    C’   0                                  pa                      0     C’
                        a                  I.   ft               a                 a                ft     (4    Ia                S         0     a’
    a4                               so    a’   a’               a’                                 0            a’                          at    a
    a-’                 ‘a            a    a’   a                a                 pa               *      s      a’             a                 a
                                      ft        ej                                                  a      a     ‘4                          pa
    a                                      ‘4                     a
                                                                                                                                                                   Page 47 of 48




    ‘0                               ft                          so                Cs                     •      •               a           a     ft
                        oa
                         a           ia                          pa                Cs               a                                        a     a’
                                     a                           a                 •                Ph           ft              ‘4                Lb
                         a           so                          C                                               a’               0
                        a                                                                                        a                C                          Lb.
                                                                                                                                                             CS
t.                  U            £         L




N        N    N     N     N          N     ‘a    ‘a   ‘a    ‘a    ‘a     ‘a      ‘a    ‘a      ‘a   ‘a
         fl   6)    N     ‘a         Q     j     0    .4    Q)    (      i       (     fi)     ‘a   Q    tO    CD      0)   Di          Ca     N       ‘a



00>                 It    00(4                   U    It    ‘     ‘a     ‘a 5          >       It   S    SO            0>         ‘dO          >       (4
‘1                  Do    ‘S               ‘0    a    Do          to     ‘a      z             Do   (4   ‘a                       ‘a                   a
                    a                      a     0’   a     a     a      .t      a             a    a    .t                       a                    U
a                         ‘4                     a                       at It                 It        Do                       aII                  a
0                   C)    0                It         It    (4    a0)    ‘a                         a                                                  a
U        >    .4    0                LU          ‘S   ‘a    ‘S           11,4          S       It   ‘a   It    >            ‘4    0)    0      Z       It
                          Ii               It    ‘    It    at    H              0     II           0)   Do    U            a      -‘   ‘a             0
IS       U    a     U                0
                                     It    ‘a    a    i-.   a            U       0     ‘a                              a    a           a      a0      a
                    ‘g                                                   ‘a            ‘a                                   %     Di                   ‘a
a                         It               U    tO    a     ‘I    S                            IS   U                  U
a        a                ‘a         H     a                      0      It      (4    —       -o   0    0                        ‘a    ‘4     (4      (4
         ‘a                                                 H                    a                  a 0        It                 a      0     ‘a
                                                 aa                      •
o             a‘a   ‘4    U                           o           n,I•                                             -
                                                                                                                            a‘a   a            ‘i
         a          a     a          It    0     U    it                         (4    H            a (4                                a
                                           ,,    .t         o      a             U                                          ‘1    (4           a       0
                                     ‘a                                                                                     •     (4    ‘a
                                                                                                    at(4
 It      ‘4   •     a     S                                 a      a     ‘4            (4                                                      It
                                           It    It                      0       U                             It                 a                     1
                                                      a0                                                                                z
Do       0          0     a                                 (4
                                                                                                                                                                 Case 01-01139-AMC




‘a                                               n     o    a            ‘s      ‘4    a             a   ‘4    n                               Do      a
                                                 ‘a                                    It                                         ‘a    it     a.      a
                                                                   aIt
 U                                         0           0                                             a         a
to       Do         It    a          ‘4    Itt         a    It           a       0                       a                        U            It      ‘a
                                                                                                                                                   -
                                                                                                                                        afl            ‘S
         a          o     ‘          o           a          o     at     ‘a      i-.       a         a   ‘     a0
 ‘S      4          5     a          0      0         It          Do     X       ‘a        I        ‘U                            It    It     a
 n       a                                 ‘0    It   a           a                                  a   a     ‘a                 Do
                                     ta.                                         0     H                 U                        a     Do     U       ‘a
 0                        It               a     0    U
                                                            z0           U                          U          a
 p       a           t’                    n          at    n     p      0       it                 It   It                                    0       II
                                                                                                         ‘a    ‘a                 a            It
                                                                                                                                        ac
                     ‘a   ‘a                     It               ‘a     U             p
         a
                                     aa    a                fl
‘4       ‘S          U    U          It    It    Do   0           U      It       U    a            a    ‘a    It                 0     a              It
 0       0           U                     ‘a    a    U           a              ‘4    a            It                            ‘S           It      Do
 a       a          ‘4    It         It    0          0’                               It                It    U                  ‘a    a      n       a
         ‘S         a.                                                   a       It                 It   Do    0                        a      a       It
                                                                                                                                                                 Doc 22814-28




                          Do         a           (4
                                     a           ‘a   ‘a    ‘a    ‘S             ‘a    a            Do   a     It                              a
                                           z•
         ‘4               a                                                                                                             to     •       It
 I-’                ‘a               It          U          to    ‘a     a       p     a            a    It    a
                                                 ‘a         *            ‘U                                                       tO    a
                                     ‘a
                                                      aIt
 a       It         a     0                                       U                    ‘4
         0                it         it                                  ‘a                         0    It    It                 ..a   ‘g
                                                                                 a•
 U                                                                a                                 It   ‘a
                    It    It         ‘a                                  ‘S            It                                         o     ‘4
                                                                                                                                                       aa
                                                                  ‘S                                           Do
to
                                                      a‘S   •a
 a       n          Do    ‘a         a                            ‘a     0             Do           it
                                                                                                                                        1%
                                                                                                                                  a-J
                                                                                 H                  ‘a
         a          a     0          0,          a    a     0     ‘a     x‘a           0
                                                                                                         aa    aIt
 ‘a      N          It    a                           (4          *4              -    It           0                                   0
         0                           It          0’                      (4      a     -            a    It    4                        ‘S
         4          It    0          Do               a     a     a      aIt                             Do    ‘a
 It      a          ‘1    It         0                            a              ‘a    0            ‘a   a     ‘s                       aCt)
                                     It          ‘a         t             a      ‘a    to                It    It
                                                                                                                                                                 Filed 08/14/09




                                                 ‘a
                          It
                                                      a‘a
 a       ‘U                                                       a      ‘a            a
                                                                                       ‘a
                                                            a‘a
         ‘a                                      ‘a
                    a9                                                                              0.   ‘4                             aU
                                     It               (4                 ‘4
                                                                                                               aa
                          Do                                             a
                                                                                 a
 a       a                a          Do          ‘a   It    ‘a    It                   U            0    0     ‘a                        a
 a                                   a                a      i    n              It    a            *          ‘a                       It
                                                            It                                                                          0
 Is
         an               a                     to    U                  ‘a      0                  U
                                                                                                         a‘S   ‘4
 ‘a                                                         ‘a                         H            It                                  a
                                                                  a0
          a               ait        4                It
‘4       ‘a                          a           0          P                    a                  0    ‘a    a‘a                       a
                          a          a          ‘a    p     a            ‘a      X     0’           5                                   ‘S
     -   It               a          It          a                p.     to      ‘U    0            U          ‘a                       a
 ‘4      Do               It                     ‘S                                                      to                             ‘a
 o       ‘a                          a           a                 !.            ‘                             ‘4                       aIt
                                     a           It   to                     I   ‘a    It           ‘a   Di    0
                                     ta.         ‘a                                                 U    ‘a                             a
 a-a     aW               ‘a‘a                        a     a‘a   ca             U
                                                                                                                                                                 Page 48 of 48




                                     0          .0    ‘                                             U                                   a
         a                a                                                                              aa    a‘s
         U                0          ‘S          U                               a
         ‘a               a          ‘a                                                             a.   (4    It
          U                          It          0    H     ‘a                         S                 (4    ‘a
         to               ‘a         ‘4          U          It                                      ‘a   a     P
                          U                      0’                                                 a          a                                            a
                                                                                                                                                            a)
